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            MISSISSIPPI
        BOARD OF TRUSTEES
             OF STATE
 INSTITUTIONS OF HIGHER LEARNING




               FINAL BOARD BOOK
                  June 19, 2014
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                       FINAL BOARD BOOK OUTLINE

                                                 IHL Board Meeting
                                                June 19, 2014 9:00 a.m.
                                           IHL Boardroom Universities Center



                                                    CALL TO ORDER


                                                             PRAYER
                                                    Trustee Robin Robinson



                                        INTRODUCTION OF GUESTS


                                                            MINUTES
                                     May 15, 2014 Regular Board Meeting
                                June 12, 2014 Health Affairs Committee Meeting



                                                CONSENT AGENDAS
                                                   Trustee Aubrey Patterson

FINANCE

  1. ASU – Mississippi Information Technology Services Agreement with Blackboard, Inc. ..1
  2. DSU – Mississippi Information Technology Services Agreement with Ellucian Company,
     L.P. .......................................................................................................................................2


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    3. MSU – Approval of Contractual Service Agreements
            a. United Healthcare Insurance Company ...................................................................3
            b. Sirsi Corporation d/b/a SirsiDynix...........................................................................4
    4. MSU – Approval of Budget Escalation – Mississippi Alcohol Safety Education
        Program ................................................................................................................................6
    5. MUW – Approval of Budget Escalation – Auxiliary Enterprises .......................................7
    6. UM – Permission to Execute Insurance Binder with Aetna Student Health .......................8
    7. UM – Permission to Enter into a Fire Protection Agreement and Related Lease
        Agreement with the City of Oxford ...................................................................................10
    8. UM – Approval to Engage BKD, LLP Auditing Firm to Conduct Annual Audit .............11
    9. UMMC – Approval of Contractual Service Agreements
            a. Abbott Laboratories, Inc. .......................................................................................12
            b. Gambro Renal Products, Inc. .................................................................................14
            c. Infor, Inc. formerly Lawson Software Americas, Inc. ...........................................15
            d. NxStage Medical, Inc.............................................................................................18
            e. TheraDoc, Inc. .......................................................................................................19
            f. Truven Health Analytics, Inc. ................................................................................21
            g. Valley Services, Inc. ..............................................................................................23
            h. Viracor – IBT Laboratories, Inc.............................................................................26
            i. Grenada Diagnostic Radiology, LLC ....................................................................28
            j. Insight Health Corporation ....................................................................................29
            k. Physicians Realty L.P. dba DOC-GRENADA MOB, LLC ..................................33
    10. USM – Approval of Contractual Service Agreement with Southern Diversified Products,
        LLC ....................................................................................................................................34
    11. SYSTEM - Approval of Contractual Service Agreement with Berkley Southeast
        Insurance Group and American Empire Surplus Lines Insurance Company ....................36

REAL ESTATE

Approval of Initiations of Projects/Appointments of Professionals

IHL Projects
   1. UM – IHL 207-385 – Manning Center – Football Practice Fields Enlargement, Design
      Professional – TBD through RFQ Method ..........................................................................3
   2. UM – IHL 207-383 – Gillom Sports Center – New Additions and Renovations, Design
      Professional – TBD through RFQ Method ..........................................................................4




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Approval of Budget Increases/Changes of Scope/Funding Source(s)

Bureau of Building Projects
   3. JSU – GS 103-267 – Alexander Center Renovation Phase I, Design Professional – Foil-
      Wyatt Architects & Planners, PLLC. ...................................................................................5

Approval of Other Real Estate Requests

    4. ASU – Award of Timber Sales – Loessal Bluff Hardwood Harvest ...................................7
    5. MSU – Approval of Exterior Design of the Meat Science Laboratory ...............................8
    6. MSU – Delete from Inventory and Demolish Building #2183 (Intramural Sports Office
       and Maintenance Building) ..................................................................................................9
    7. UM – Naming of Basketball Practice Facility as “Tuohy Basketball Center” ....................9
    8. UMMC – IHL 209-550 – Wiser Women’s Urgent Care Renovation – Sole Source HVAC
       Control, Design Professional – The McCarty Company .................................................10
    9. USM – Delete from Inventory and Demolish Building #636 (Metal Warehouse at
       Women’s Softball Complex) .............................................................................................12

LEGAL

    1. ASU - Approval to Contract with Wilkerson & Crawford, LLP as Outside Counsel ........1
    2. UM – Approval to Renew Contract with Armstrong Teasdale LLP as Outside Counsel ...1
    3. UM – Approval to Renew Contract with Hershkovitz & Associates, LLC as Outside
       Counsel ................................................................................................................................2
    4. UM – Approval to Renew Contract with Stites & Harbison as Outside Counsel ...............2
    5. UM – Approval to Renew Contract with Evans Petree as Outside Counsel .......................3
    6. UM – Approval to Renew Contract with Butler, Snow, O’Mara, Stevens and Cannada,
       PLLC as Outside Counsel ....................................................................................................3
    7. USM – Approval to Contract with Butler, Snow, O’Mara, Stevens & Cannada PLLC as
       Outside Counsel ...................................................................................................................4

PERSONNEL

    1.   Employment (JSU, MUW) ..................................................................................................1
    2.   Change of Status (ASU, Executive Office, JSU, MUW, USM) ..........................................1
    3.   Tenure (JSU, MVSU, USM)................................................................................................2
    4.   Sabbatical (USM).................................................................................................................3
    5.   Emeritus Status (UMMC) ....................................................................................................3



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                                             REGULAR AGENDAS


                                                ACADEMIC AFFAIRS
                                                  Trustee Ford Dye

  1. BELHAVEN UNIVERSITY – Approval of Stage II – Qualify for Initial Accreditation of
     a Professional Nursing Program (Permission to Admit Students) .......................................1


                                                       FINANCE
                                                    Trustee Alan Perry

  1. SYSTEM – Approval of Contractual Service Agreement with Sightlines, LLC ................1
  2. SYSTEM – Approval of FY 2015 Operating Budgets .......................................................3
  3. SYSTEM – Approval of FY 2016 Proposed Funding Priorities .........................................4
  4. SYSTEM – Final Approval of New Board Policy 707.03 Approval of Prepayment for
     Goods or Services ................................................................................................................4
  5. SYSTEM – Approval to Waive the Requirement for First Reading of Proposed
     Amendment to Board Policy 704.01 Athletic Revenues and Expenditures, and to Grant
     Final Approval of Same .......................................................................................................6
  6. MUW – Approval of the Residency and Out-of-State Tuition Waiver Policy ....................7
  7. MVSU – Approval to Enter into a Lease Agreement for Temporary Student Housing ......8


                                                         LEGAL
                                                   Trustee Doug Rouse

  1. USM- Approval to Settle IHL Self-Insured Workers’ Compensation Claims No. 55-
     34859 and 55-34237-1 .........................................................................................................1



                                             INFORMATION AGENDAS
                                                   Commissioner Hank Bounds

FINANCE

  1. JSU – Selection of Professional Services for Proposed Educational Building Corporation
     Student Housing Project ......................................................................................................1




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REAL ESTATE

SYSTEM – Real Estate Items Approved Subsequent to the May 15, 2014 Board Meeting
     Alcorn State University........................................................................................................2
     Jackson State University ......................................................................................................2
     Mississippi State University ................................................................................................4
     University of Mississippi .....................................................................................................6
     University of Mississippi Medical Center ...........................................................................9

LEGAL

     1. SYSTEM – Report of Payments to Outside Counsel ..........................................................1
     2. UMMC – Request for Official Opinion from the Attorney General ...................................3

ADMINISTRATION/POLICY

          1. SYSTEM – Commissioner’s Notification of Approval .................................................1



                      ADDITIONAL AGENDA ITEMS IF NECESSARY


                              OTHER BUSINESS/ANNOUNCEMENTS


                EXECUTIVE SESSION IF DETERMINED NECESSARY


                                                  ADJOURNMENT




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            MISSISSIPPI
        BOARD OF TRUSTEES
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                       MINUTES FOR:

     May 15, 2014 Regular Board Meeting
June 12, 2014 Health Affairs Committee Meeting
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                         MINUTES OF THE BOARD OF TRUSTEES OF
                        STATE INSTITUTIONS OF HIGHER LEARNING
                                      May 15, 2014


BE IT REMEMBERED, That the Mississippi Board of Trustees of State Institutions of Higher
Learning of the State of Mississippi met in a regular session at the Board Office in Jackson, Mississippi,
at 9 a.m., and pursuant to notice in writing mailed by certified letter with return receipt requested on
November 26, 2013, to each and every member of said Board, said date being at least five days prior to
this May 15, 2014 meeting. At the above-named place there were present the following members to wit:
Mr. H. Ed Blakeslee, Mrs. Karen L. Cummins, Dr. Ford Dye, Mr. Shane Hooper, Mr. Bob Owens, Mr.
Hal Parker, Mr. Aubrey B. Patterson, Mr. Alan Perry, Ms. Christine Pickering, Dr. Douglas Rouse, and
Mr. C.D. Smith. Ms. Robin J. Robinson was absent. The meeting was called to order by Mr. Aubrey
Patterson, President, and opened with prayer by Bishop Clay Lee.

                                INTRODUCTION OF GUESTS

      President Patterson welcomed the Student Government Association Officers: Zackeus Johnson,
       SGA President for Alcorn State University; Keonte Turner, SGA President for Jackson State
       University; Brett Harris, SGA President for Mississippi State University; Sade’ Meeks, SGA
       President for Mississippi University for Women; Derrick Jones, SGA President for Mississippi
       Valley State University; and Jeffrey George, SGA President for University of Southern
       Mississippi.
      Dr. William Bynum, President of Mississippi Valley State University, introduced Dr. Constance
       Bland, the new Vice President of Academic Affairs.

                               APPROVAL OF THE MINUTES

On motion by Trustee Blakeslee, seconded by Trustee Pickering, with Trustee Robinson absent and not
voting, all Trustees legally present and participating voted unanimously to approve the Minutes of the
Board meeting held on April 24, 2014.

                                       CONSENT AGENDA

On motion by Trustee Smith, seconded by Trustee Rouse, with Trustee Robinson absent and not voting,
all Trustees legally present and participating voted unanimously to approve the following Consent
Agenda.

FINANCE
   1. MSU – Pending receipt, review, and approval of the final agreement by the Attorney General’s
      Office, the Board approved the request to lease approximately 6,146 square feet of space to the
      United States Postal Service (USPS) for a full-service, on-campus postal facility for an initial
      five-year term and any renewal terms provided there are no increases in leased space or

                                                    1
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   decreases in rental payments in any subsequent terms. USPS can renew the agreement for two
   additional five-year terms. The agreement requires MSU to renovate the leased space prior to
   occupancy by USPS. Therefore, the start date and the end date of the agreement are dependent
   on completion of renovations to the leased space and occupancy of the leased space by USPS.
   USPS will pay MSU $20,448 per year in equal monthly payments of $1,704 for the term of the
   agreement. For a fifteen-year agreement, the revenue generated by the agreement will be
   $306,720.
2. MSU – Exhibit 1 attached hereto represents approval by the Mississippi Information Technology
   Services (MS-ITS) Board of the continuation of a contractual agreement with Mythics, Inc. for
   the provision of Oracle software licenses and related support services for MSU. The Attorney
   General’s staff assigned to the MS-ITS will review the agreement prior to its execution. The
   agreement is between Mythics, Inc. and MS-ITS on behalf of MSU. (See Exhibit 1.)
3. MSU – Approved the request to escalate the FY 2014 MSU On-Campus budget from
   $259,815,785 to $264,103,284. The increase of $4,287,499 is primarily from non-resident tuition
   revenue realized above the original budget and is applied to instructional salaries and
   scholarships.
                                           Original FY 2014   Revisions/         Revised FY 2014
                   Categories              Operating Budget   Escalations       Operating Budgets


      Salaries, Wages, & Fringe Benefits   $    174,109,369   $    2,363,869      $   176,473,238
      Travel & Subsistence                          902,451           59,967              962,418
      Contractual Services                       72,570,619       (2,072,417)          70,498,202
      Commodities                                 2,740,031          652,223            3,392,254
      Capital Outlay:
          Other Than Equipment                    2,198,522           (2,286)           2,196,236
          Equipment                               1,082,799        1,845,852            2,928,651
      Transfers:
          Mandatory                                  54,435           30,489               84,924
          Non-Mandatory                           6,157,559        1,409,802            7,567,361
      Increase in Fund Balance
      TOTAL                                $    259,815,785   $    4,287,499      $   264,103,284
4. UM – Approved the request to rent twenty-seven copiers from Robert J. Young Company, Inc.
   d/b/a RJ Young Co, Inc. for use by the Athletics Department. The term of the agreement is sixty
   months starting on the date the agreement is signed by both parties. There are no automatic
   renewals and no options to purchase. The cost of the sixty-month agreement is $497,442. UM
   will pay a rental payment of $8,290.70 per month. This payment will include 188,000 black-and-
   white copies/prints per month. Black-and-white copies/prints in excess of 180,000 will be billed
   quarterly at .008 each. All color copies/prints will be billed quarterly at .0459 each. Due to
   increased purchasing power with Canon, this agreement will decrease the current cost per month
                                              2
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   by $1,628.27. A copy of the agreement which has been reviewed and approved by the Attorney
   General’s Office is on file at the Board Office.
5. UMMC – Approved the request to modify the total expenditure amount applicable to its reagent
   rental agreement with Hologic, Inc. to purchase supplies and lease equipment for use in genetic
   serology screening for patients at risk for thrombosis. The rental cost for the equipment is
   included in the cost of the reagents. The term of the agreement remains at three (3) years –
   August 2, 2013 through August 1, 2016. The modified total estimated cost for the contract
   period is $192,057.74 which is $148,146.61 over the originally approved total. The originally
   approved cost was $43,911.13. The request to spend additional funds is due to a rise in the
   volume of testing being performed. The agreement will be funded by patient revenues. A copy
   of the original agreement was reviewed and approved by the Attorney General’s Office. No
   additional approval by the AG’s Office is needed for the modification. The modified agreement
   is on file at the Board Office.
6. UMMC – Approved the request to enter into an agreement with Mississippi Blood Services,
   Inc., a non-profit organization, for the provision of blood and blood related products to patients
   at UMMC Grenada who require human blood and/or blood product transfusions. The term of the
   agreement is for five (5) years beginning on or about June 1, 2014 through May 31, 2019. The
   total estimated contract cost for the five (5) year contract term is $1,802,807.97. Based on
   historical data, UMMC Grenada estimates spending $23,000 per month for the first year of the
   agreement. Beginning in Year 2 of the agreement and each year thereafter, there is the potential
   for a monthly price increase based on increases in patient need and in the cost of blood
   processing fees. A breakdown of costs is included in the bound May 15, 2014 Board Working
   File. The agreement will be funded by patient revenues. A copy of the agreement which has
   been reviewed and approved by the Attorney General’s Office is on file at the Board Office.
7. UMMC – Approved the request to enter into a reagent rental agreement with Werfen USA,
   LLC. d/b/a Instrumentation Laboratory (IL) for blood gas testing equipment and supplies for the
   UMMC Hospital Clinical Laboratory. The contract term remains at five (5) years, beginning on
   or about June 1, 2014 through May 31, 2019. The total five (5) year cost is estimated to be
   $2,378,767.89 for the cartridges and supplies that UMMC commits to purchase. Beginning June
   1, 2017 and each June 1st thereafter for the term of the agreement, and upon thirty (30) days
   written notice, there may be an annual rate adjustment in an amount not to exceed the increase in
   the Consumer Price Index for All Urban Consumers, U.S. City Average, as released by the U.S.
   Labor Department, Bureau of Labor Statistics. UMMC estimates a maximum rate adjustment of
   4% yearly in the event IL opts to impose a price adjustment on UMMC. A breakdown of the
   annual estimated costs including a potential 4% rate adjustment are included in the bound May
   15, 2014 Board Working File. The agreement will be funded by patient revenues. A copy of the
   agreement which has been reviewed and approved by the Attorney General’s Office is on file at
   the Board Office.


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   8. UMMC – Approved the request for the Friends of Children’s Hospital, an affiliated entity of the
       University of Mississippi Medical Center, to engage the Haddox, Reid, Eubank, Betts, LLP firm
       to conduct its annual audit for fiscal year 2014 as required by Board Policy 301.0806 University
       Foundation/Affiliated Entity Activities, D. General Requirements of Affiliation Agreements
       Subsection 9.
   9. UMMC – Exhibit 2 attached hereto represents the agenda item submission prepared by the
       Mississippi Information Technology Services’ (MS-ITS) executive staff for its April 17, 2014
       Board meeting. The Attorney General’s staff assigned to the MS-ITS will review the agreement
       prior to its execution. The agreement for Clinical Dialysis EHR software and billing services
       will be between Infian and MS-ITS on behalf of UMMC. (See Exhibit 2.)
   10. USM – Exhibit 3 attached hereto represents approval by the Mississippi Information Technology
       Services (MS-ITS) Board of the continuation of a contractual agreement with Blackboard, Inc.
       for the acquisition of licensing, hosting and services related to the Blackboard Learning
       Management System for USM. The Attorney General’s staff assigned to the MS-ITS will
       review the agreement prior to its execution. The resulting agreement will be between
       Blackboard, Inc. and MS-ITS on behalf of USM. (See Exhibit 3.)
   11. USM – Approved the request to renew a contract with United Healthcare Insurance Company for
       health insurance plans for graduate assistants, residence assistants, and international students.
       The contract is for one (1) year, August 15, 2014, through August 14, 2015, with options for
       mutually agreed upon annual renewals. The total premiums paid are dependent on the actual
       number of student participants. USM calculated a cost estimate based on prior participation rates
       and projected FY2015 enrollment in the program. It is estimated that the total cost for the one (1)
       year period will be approximately $1,167,320 based on an enrollment of 770 students at a
       premium rate of $1,516 per student. USM anticipates paying approximately $576,000 toward
       the estimated total cost. The insurance program will be funded by several sources: institutional
       funds, direct billing of student accounts, and funds received on behalf of students from externally
       funded grants and contracts. Graduate assistant premiums are funded from a combination of all
       of the available sources and resident assistants are funded through auxiliary accounts, while
       premiums for international students are completely covered by direct billing to student accounts.
       A copy of the agreement which has been reviewed and approved by the Attorney General’s
       Office is on file at the Board Office.

REAL ESTATE
  12. MVSU – Approved the initiation of GS 106-253, College Hall I Renovations, and the
      appointment of the design professional using the “Request for Qualifications” method. College
      Hall I is a two story, 33,400 square foot building that was constructed in 1964. In mid-2004, the
      building suffered fire damage has not been occupied since that time. The proposed renovation
      project will consist of abatement and demolition of existing finishes, replacement of all building
      systems with energy efficient equipment, installation of an elevator, back-up generator,
                                                   4
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    replacement of interior finishes, signage, furniture and installation of equipment. The project
    will also include the installation of new sidewalks, exterior lighting, signage and seating areas
    outside the residence hall. The proposed project budget is $4,750,000. Funds are available from
    H.B. 787, Laws of 2014 ($4,500,000) and Bureau of Building Discretionary Funds ($250,000).
13. MSU – Approved the initiation of IHL 205-276, New Residence Halls North, to construct two
    new residence halls on the north side of campus and the appointment of The McCarty Company
    Design Group, P.A. as the design professional. The Board also granted permission to demolish
    the existing Evans Hall to allow for the site of the new residence halls and the Sonny
    Montgomery Center for America’s Veterans. Each of the residence halls will consist of
    approximately 122,000 sq. ft. and provide approximately 356 beds. The project will also include
    an additional 10,000 sq. ft. facility to house the Sonny Montgomery Center for America’s
    Veterans which will either be incorporated in to the residence hall facility or stand alone on the
    residence hall site. The proposed project budget is $60,500,000. Funds are available from MSU
    EBC Bonds/Commercial Paper ($58,000,000) and MSU Foundation Funds ($2,500,000).
14. MSU – Approved the request to increase the project budget for IHL 205-231, MSU South
    Entrance Road, from $5,000,000 to $ 18,700,000, an increase of $13,700,000. The Board also
    approved the request to add funding sources: $15,200,000 of MDOT funds and $3,500,000 of
    MSU Designated Funds. The project is currently in the design phase. This is the first budget
    escalation for the project by the university. The escalation in the project budget is required based
    on the design professional’s latest estimate of cost. The current budget was an estimate of
    project costs that was established in 2009 once the design professional was appointed and has
    since been updated to reflect more accurate market costs. The project will construct a new
    entrance road along the east boundary of the South Farm connecting Poorhouse Road to Stone
    Blvd. Funds are available from MDOT ($15,200,000) and MSU Designated Funds ($3,500,000).
15. MSU – Approval by the Attorney General’s Office is contingent upon MSU providing the
    Research and Technology Corporation with notice of the binding successor doctrine prior to the
    execution of the Agreement, the Board approved the request to enter into a Master Option to
    Lease and Ground Lease Agreement with MSU’s affiliated Research Corporation, the
    Mississippi State University Research and Technology Corporation (MSU-RTC), for the
    development of Phase II of the Thad Cochran Research, Technology and Economic
    Development Park. Through the Option and Lease Agreement, MSU will grant MSU-RTC an
    option to lease any portion of the land consisting of Phase II of the Research Park. When
    research and economic opportunities arise, MSU-RTC will exercise the option or “takedown”
    portions of the premises that are needed for a particular project by providing a Notice of Exercise
    to MSU. The Notice of Exercise will include the parcel size and description, the annual rental
    amount, the terms of the lease, and other conditions. Upon submission of a Notice to Exercise,
    the portion of Phase II covered by the Notice will be deemed leased and available for sublease to
    a third party. MSU will receive all net revenues generated by MSU-RTC’s subleases of the land.
    MSU-RTC will retain a five (5) percent management fee from rent proceeds. Upon execution of
                                                 5
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    the Option and Lease Agreement, two appraisals will be obtained to establish the fair market
    rental value of the property. The average of the two appraisals will set the base rental amount for
    any sublease of the property. The base rental amount will increase based on CPI index formula
    each year. The property will be reappraised every ten (10) years to re-establish the base rent.
    The Option and Lease Agreement will be between MSU and MSU-RTC. The Option and Lease
    Agreement is needed so that MSU can have a legal framework in place to effectively and
    efficiently capitalize on opportunities for growth in Phase II of the Research Park. The leased
    premises will consist of Phase II of the Research Park, which is approximately 41 acres. The
    start date of the agreement will be upon execution. MSU will have the right to terminate the
    Option and Lease Agreement upon 120 days’ notice for any portions of the property in which
    MSU-RTC has not previously exercised the option and entered into a sublease with a third party.
    For those portions of the premises in which MSU-RTC has already exercised its option and
    entered into a sublease, the total term of sublease cannot exceed 99 years (including any renewal
    terms.) The Attorney General’s Office has reviewed and approved this item contingent upon
    MSU providing the RTC with notice of the binding successor doctrine prior to the execution of
    the Agreement.
16. USM – Approved the request to grant a grading and slope easement to Lake Forgetful of
    Mississippi, LLC. Lake Forgetful of Mississippi, LLC is planning to develop property adjacent
    to the university’s forty (40) acre tract of land located approximately three (3) miles from the
    university’s main campus. The easement shall not exceed 0.94 acres of that portion of Grantor’s
    property which is located on or within the areas labeled “Grading and Slope Easement Area”.
    The slope and grading improvements have been designed and engineered to such elevations and
    at such rates of slope as determined by a Professional Engineer and selected and paid by the
    Grantee or its successors and assigns to design and determine adequate performance, integrity
    and stability of the easement and proposed retaining wall area. Grantee shall submit the
    construction plans and specifications of the Grading and Slope Easement Area for review and
    written approval of the Grantor. Should Grantor not submit in writing any objections to said
    plans and specifications within fifteen (15) days after submittal by Grantee to Grantor, the plans
    and specifications shall be deemed approved by the Grantor. Should Grantor object in writing to
    said plans or specifications, the parties agree to use all commercially reasonable efforts to
    resolve any issues within thirty (30) days after written notice by Grantor. Should the parties not
    reach an agreement within said thirty (30) day period, either party may terminate this Grading
    and Slope Easement by written notice. The Attorney General’s Office has reviewed and
    approved this item.
17. USM – Approved the request to delete Buildings #233 and #234 from inventory and demolish
    them. Building #233 is located at 3701 Pearl Street and is a recently purchased residence.
    Building #234 is located at 3703 Pearl Street and is an efficiency apartment. These buildings are
    located next to each other on the same lot and are in a state of disrepair. The buildings do not
    serve the mission of the university and will allow for a more visually appealing entrance to
                                                6
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                         MINUTES OF THE BOARD OF TRUSTEES OF
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       campus from the West as well as allow for future expansion. The approval letter has been
       received from the Mississippi Department of Archives and History. All legal documentation will
       be kept on file in the IHL Office of Real Estate and Facilities.
   18. USM – GCRL – Approved the request to delete from inventory and demolish Building #33,
       Gulf Coast Geospatial Center Modular Unit, located on the Halstead Road site at the Gulf Coast
       Research Lab. The modular unit was purchased in 2003 and initially housed the Gulf Coast
       Geospatial Center. Due to the condition of the unit, it was abandoned in October 2013 and has
       no further use to the university. The approval letter has been received from the Mississippi
       Department of Archives and History. All legal documentation will be kept on file in the IHL
       Office of Real Estate and Facilities.
   19. USM – Approved the request to amend the terms under which the university would propose to
       sell the remaining forty-one (41) residential properties out of the original forty-seven (47)
       residential properties approved for sale under the Neighborhood Stabilization Program (NSP).
       The amendment will allow the university to sell the remaining homes under the NSP for the
       lesser of the contract price (as set by the university’s appraisal), Lender’s appraised value or the
       university’s total development costs of the property. The Board also granted retroactive approval
       for the sale of 4755 Satinwood Road and 2935 Marwood Drive at the contract sales price. These
       properties were sold for the contract sales price per the requirements of Mississippi Development
       Authority (MDA) instead of the higher lender appraised price as approved by the Board in June
       2013 and January 2014. Currently, the university has sold six homes and is actively marketing
       the remaining forty-one (41) homes. As long as the homes are sold for the lesser of the total
       development costs, or the appraised value, the sale will meet the requirements of the NSP
       program. The university was authorized by the legislature to sell these homes under the terms
       and conditions as provided by the NSP subgrant from MDA. MDA requires the university to sell
       the homes for the lower of the two appraisals. As long as the homes are sold for no more than
       the cost of the home plus the renovation costs incurred in rehabbing the homes, the sale will meet
       the requirements of the NSP program.

LEGAL
  20. MSU – Approved the request to modify/renew a contract with Julie W. Brown as outside counsel
      to provide services necessary in assisting the university with real estate matters. Modification #2
      will extend the term of the contract for one (1) year or until May 16, 2015. The hourly rate to be
      paid will be $165, which is the same rate agreed to in the prior contract with this firm. The
      maximum amount payable under the contract will be $10,000. All other provisions of the
      Agreement for Legal Services dated May 17, 2012 shall remain in effect. The Attorney General
      has approved this request.
  21. UMMC – Approved the request to renew the contract with David Ware and Associates as
      outside counsel to provide services as needed in preparing labor certification applications on
      behalf of the university for its employees who seek permanent residence status. This contractual
                                                    7
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    agreement is necessary due to amendments by the U.S. Department of Labor to the permanent
    labor certification regulations, specifically: employers are required to pay the cost of preparing,
    filing and obtaining certification, and are prohibited from transferring those costs to the
    beneficiary. This includes a prohibition on the alien paying the employer’s attorney fees. The
    term of this contract will be June 1, 2014 through May 31, 2015. The maximum amount payable
    under this contract is $50,000. The fees payable under the contract would be as follows: $2,000
    – special handling labor certification, no re-advertisement required; $2,500 – special handling
    labor certification, re-advertisement required; and $3,000 – non-teaching labor certification.
    Advertisement for special handling will be about $500; for regular about $1000. EB1 is $4,500
    for the petition plus $475 filing fee. Adjustment of status is $1,500 for the principal and $750 for
    each dependent. Exclusive of filing and fees and medical which for one adult would be
    approximately $1,485 plus $150. The Attorney General has approved this request.
22. UMMC – Approved the request to hire Barry J. Walker of Walker & Ungo Immigration Law
    Firm as outside counsel to provide services as needed in preparing labor certification
    applications on behalf of the university for its employees who seek permanent residence status.
    This contractual agreement is necessary due to amendments by the U.S. Department of Labor to
    the permanent labor certification regulations, specifically: employers are required to pay the cost
    of preparing, filing and obtaining certification, and are prohibited from transferring those costs to
    the beneficiary. This includes a prohibition on the alien paying the employer’s attorney fees.
    The term of this contract will be June 1, 2014 through May 31, 2015. The maximum amount
    payable under this contract is $50,000. The fees payable under the contract would be as follows:
   PERM
   Initial Fee:                                         $2500
   I-140:                                               $2000
   I-485:                                               $2000
   Family members:                                      $500 per family member

   EB-1 (Outstanding professor/researcher, extraordinary ability) and Special Handling Labor Certification
   Initial Fee:                                         $2000
   On approval of I-140 or special handing:             $2000
   I-485:                                               $2000
   Family members:                             $500 per family member
    The Attorney General has approved this request.
23. UMMC – Approved the request to contract with Kitchens, Hardwick & Whitfield, PLLC as
    outside counsel to provide legal services related to personnel matters. The term of the contract
    will be July 1, 2014 through June 30, 2015. The rate of pay is $165 per hour with a do not
    exceed amount of $50,000. The Attorney General has approved this request.
24. UMMC – Approved the request to contract with William Smith, III of the firm Watkins and
    Eager, PLLC to provide legal services as real estate counsel. The term of the contract will be
    from July 1, 2014 through June 30, 2015. The rate of pay is $165 per hour with a do not exceed
    amount of $200,000. The Attorney General has approved this request.
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   25. USM – Approved the request to increase the total amount payable under the previously approved
       contract with Butler, Snow, O’Mara, Stevens and Cannada, LLP to $95,000. The Board
       previously approved a contract with Butler, Snow, O’Mara, Stevens and Cannada, LLP as
       outside counsel to assist the university in various legal matters. The approval was for a term of
       one year from July 1, 2013, through June 30, 2014, with a total amount payable under the
       arrangement not to exceed $60,000 for attorneys’ fees. Due to several decisions by the Office of
       Inspector General and FEMA following approval of the original employment agreement relating
       to Katrina damage at Gulf Coast properties, the university is involved in appeals opposing those
       decisions. The university also requested and received legal opinions on matters originating after
       the approval of the current contract. As a result, amounts which are expected to be billed will
       exceed $60,000. The Attorney General has approved this request.

   26. PERSONNEL REPORT

EMPLOYMENT

Mississippi Valley State University
    Rita Myers; Dean of University College; salary of $75,000, per annum, pro rata; Title III funds
       and E&G funds effective April 1, 2014

University of Mississippi
(Also reported in the Tenure section below.)
     Fazlul Sarkar; Professor of Pharmacology, Research Professor for Research Institute of
        Pharmaceutical Sciences, Associate Director of Translational Research for the National Center
        for Natural Products Research; salary of $350,000 per annum, pro rata; E&G funds; hired with
        tenure; twelve-month contract; effective July 1, 2014

CHANGE OF STATUS

Mississippi University for Women
    Tom Richardson, from Dean of Arts and Sciences; salary of $127,120 per annum, pro rata; E&G
       funds; to Interim Provost and Vice President of Academic Affairs and Dean of Arts and
       Sciences; salary of $177,000 prorated; E&G funds; effective May 12, 2014
    Dan Heimmermann, from Provost and Vice President of Academic Affairs; salary of $165,000
       per annum, pro rata: E&G funds; to Special Assistant to the President; no salary change;
       effective May 12, 2014




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SEPARATION OF EMPLOYMENT

Mississippi University for Women
    Dan Heimmermann; Special Assistant to the President; effective June 2, 2014, resignation

TENURE
(Promotions where noted.)

Alcorn State University
(Nine – month contracts effective August 19, 2014 and twelve-month contract effective July 1, 2014. All
are nine-month contracts unless otherwise noted.)
     John Adjaye, promotion to Associate Professor, Department of Advanced Technologies
     Robert Carr, promotion to Professor, School of Education and Psychology (twelve-month
       contract)
     Robin Christian, promotion to Associate Professor, Department of Graduate Nursing (twelve-
       month contract)
     Akash Dania, promotion to Associate Professor, School of Business
     Jyotirmay Gadewadikar, promotion to Associate Professor, Department of Advanced
       Technologies
     Gayle Hathcox, Assistant Professor, Department of Baccalaureate Nursing
     Erol Sarigul, promotion to Associate Professor, Department of Advanced Technologies

Delta State University
(All on nine-month contracts effective August 18, 2014.)
     Nathaniel Hein, Associate Professor, Department of Art
     Dr. Deborah Myers, Associate Professor, Division of Health, Physical Education and Recreation

Jackson State University
(Nine – month contracts effective August 14, 2014 and twelve-month contract effective July 1, 2014. All
are nine-month contracts unless otherwise noted.)
     Wayne Nix, promotion to Associate Professor, Department of Accounting
     Stephanie Davidson, promotion to Associate Professor, Department of Elementary and Early
       Childhood Education
     Evornia Kincaid, promotion to Associate Professor, Department of Elementary and Early
       Childhood Education
     Lakita Johnson, promotion to Associate Professor, Department of School, Community and
       Rehabilitation Counseling
     Ingrad Smith, promotion to Professor, Department of Educational Leadership (twelve-month
       contract)
     Thomas Kersen, promotion to Associate Professor, Department of Criminal Justice and
       Sociology
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       Everett Neasman, promotion to Associate Professor, Department of English and Modern Foreign
        Languages
       Kenyatta Stewart, promotion to Associate Professor, Department of Art
       Evandro Santos, promotion to Associate Professor, Department of Urban and Regional Planning
       Julie Schroeder, promotion to Professor, School of Social Work – Master of Social Work
        Program
       Hingmanshu Das, promotion to Associate Professor, Department of Civil and Environmental
        Engineering
       Dr. Serguei Goupalov, promotion to Associate Professor, Department of Physics, Atmospheric
        Science and Geosciences

Mississippi University for Women
(All on nine-month contracts effective August 18, 2014.)
     Dr. Nora Corrigan, promotion to Associate Professor of English, College of Arts and Sciences
     Dr. Joshua Hanes, promotion to Associate Professor of Mathematics, College of Arts and
        Sciences
     Dr. Ghanshyam Heda, promotion to Associate Professor of Biology, College of Arts and
        Sciences
     Dr. Erin Kempker, promotion to Associate Professor of History, College of Arts and Sciences
     Dr. R. Andrew Luccasen, promotion to Associate Professor of Finance and Economics, College
        of Business and Professional Studies
     Dr. Deborah Miranda, promotion to Professor of Nursing, BSN, College of Nursing and Speech-
        Language Pathology

University of Mississippi
(Nine -month contracts effective and twelve-month contracts effective August 20, 2014. All are nine-
month contracts unless otherwise noted.)
    Emanuele Berti, promotion to Associate Professor of Physics and Astronomy, College of Liberal
       Arts
    Lauren Smythe Bloodworth, promotion to Clinical Associate Professor of Pharmacy Practice,
       School of Pharmacy (twelve-month contract)
    Kendall Owen Bowlin, promotion to Associate Professor of Accountancy Instruction, School of
       Accountancy
    Hank R. Buchanan, promotion to Research and Development Engineer I, NCPA (twelve-month
       contract)
    Mercer E. Bullard, promotion to Professor of Law and Mississippi Defense Lawyers Association
       Distinguished Lecturer, School of Law
    Wayne O. Carpenter Jr., promotion to Senior Research and Development Engineer, NCPA
       (twelve-month)
    Suman Chandra, promotion to Senior Research Scientist, NCNPR (twelve-month contract)
    James V. Cizdziel, promotion to Associate Professor of Chemistry and Biochemistry, College of
       Liberal Arts

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    Alakabha Datta, promotion to Associate Professor of Physics and Astronomy, College of Liberal
     Arts
    Erwin Mina Diaz, promotion to Associate Professor of Mathematics, College of Liberal Arts
    Mark Vincent Frezzo, promotion to Associate Professor of Sociology, College of Liberal Arts
    Thomas A. Garrett, Associate Professor of Economics, College of Liberal Arts
    Kerry P. Holmes, promotion to Professor of Elementary Education, School of Education
    Erin Renee Holmes, promotion to Associate Professor of Pharmacy Administration and Research
     Associate Professor in the Research Institute of Pharmaceutical Sciences, School of Pharmacy
     (twelve-month contract)
    Robert M. Holt, promotion to Professor of Geology and Geological Engineering, School of
     Engineering
    Amanda Jane Johnston, promotion to Associate Professor of Music, College of Liberal Arts
    Steven Justice, Professor of Medieval History, College of Liberal Arts
    Daniel E. Kleinert Jr., promotion to Senior Research and Development Engineer, NCPA (twelve-
     month contract)
    Rory Ledbetter, promotion to Associate Professor of Theatre Arts, College of Liberal Arts
    Gregory J. Love, promotion to Associate Professor of Political Science, College of Liberal Arts
    Walter J. Mayer, promotion to Professor of Economics, College of Liberal Arts
    Katie S. McClendon, promotion to Clinical Associate Professor of Pharmacy Practice, School of
     Pharmacy (twelve-month contract)
    Micah Baruch Milinovich, promotion to Associate Professor of Mathematics, College of Liberal
     Arts
    Ann Elizabeth Monroe, promotion to Associate Professor of Education & Coordinator of
     Elementary Education, School of Education
    Brice Noonan, promotion to Associate Professor of Biology, College of Liberal Arts
    Timothy W. Nordstrom, promotion to Professor of Political Science, College of Liberal Arts
    Clifford A. Ochs, promotion to Professor of Biology, College of Liberal Arts
    Scott G. Owens, promotion to Professor of Health, Exercise Science and Recreation
     Management, School of Applied Sciences
    Patrick F. Pace, promotion to Senior Research Scientist in the Research Institute of
     Pharmaceutical Sciences and Associate Professor of Pharmacy Administration, School of
     Pharmacy (twelve-month contract)
    E. Farish Percy, promotion to Professor of Law and Mississippi Defense Lawyers Association
     Distinguished Lecturer, School of Law
    Corina Liliana Petrescu, promotion to Associate Professor of Modern Languages, College of
     Liberal Arts
    Jarod Heath Roll, Associate Professor of History, College of Liberal Arts
    Michael T. Rowlett, promotion to Associate Professor of Music, College of Liberal Arts
    Lisa Shaw Roy, promotion to Professor of Law, School of Law
    Amala Dass Antony Samy, promotion to Associate Professor of Chemistry and Biochemistry,
     College of Liberal Arts



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       Fazlul Sarkar; Professor of Pharmacology, Research Professor for Research Institute of
        Pharmaceutical Sciences, Associate Director of Translational Research for the National Center
        for Natural Products Research; hired with tenure; twelve-month contract; effective July 1, 2014
       Bradley E. Schultz, promotion to Professor of Journalism, Meek School of Journalism and New
        Media
       Christian Sellar, promotion to Associate Professor of Public Policy Leadership, College of
        Liberal Arts
       Todd A. Smitherman, promotion to Associate Professor of Psychology, College of Liberal Arts
       Jason David Solinger, promotion to Associate Professor of English, College of Liberal Arts
       Alex Phillip Watson, promotion to Reference Librarian and Associate Professor, General Library
        (twelve-month contract)
       Desiree Stepteau Watson, promotion to Associate Professor of Social Work, School of Applied
        Sciences
       Roger M. Waxler, promotion to Senior Research Scientist II and Research Associate Professor of
        Physics and Astronomy, NCPA (twelve-month contract)
       Bing Wei, promotion to Professor of Mathematics, College of Liberal Arts
       Noell Rebecca-Howell Wilson, promotion to Croft Associate Professor of History and
        International Studies, College of Liberal Arts
       Henrietta Shu-Fen Yang, Croft Associate Professor of Chinese and Co-Director of the Chinese
        Language Flagship Program, College of Liberal Arts
       John N. Young, promotion to Associate Professor of Psychology, College of Liberal Arts

University of Mississippi Medical Center
(All on twelve-month contracts effective July 1, 2014.)
School of Medicine
     Istvan Arany, Professor of Pediatrics
     Bettina Beech, Professor of Family Medicine
     Kim L. Gratz, promotion to Professor of Psychiatry and Human Behavior
     Edward D. Green, Associate Professor of Radiology
     Jonathan S. Jones, Associate Professor of Radiology
     Luis Juncos, Professor of Medicine
     Majid A. Khan, Associate Professor of Radiology
     John T. Lam, Associate Professor of Pathology
     Birdie B. Lamarca, Associate Professor of Pharmacology and Toxicology
     Gustavo D. Luzardo, Associate Professor of Neurosurgery
     Yin-Yuan Mo, Professor of Pharmacology and Toxicology
     Damien Romero, promotion to Associate Professor of Biochemistry
     Bruce N. Schlakman, Associate Professor of Radiology
     Matthew Tull, Associate Professor of Psychiatry and Human Behavior
     Kounosuke Watabe, Professor of Microbiology
School of Health Related Professions
     Stacy Vance, Associate Professor of Health Related Professions
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School of Nursing
    Mary Stewart, promotion to Professor of Nursing

University of Southern Mississippi
(Nine-month contracts effective August 18, 2014, and twelve-month contracts effective July 1, 2014. All
are nine-month contracts unless otherwise noted.)
     Carmen Carracelas-Juncal, promotion to Associate Professor, Department of Foreign Languages
       and Literatures
     Monika Gehlawat, promotion to Associate Professor, Department of English
     Cheryl D. Jenkins, promotion to Associate Professor, Department of Mass Communication and
       Journalism
     Kelly Ferris Lester, promotion to Associate Professor, Department of Dance
     Julie A. Reid, promotion to Associate Professor, Department of Anthropology and Sociology
     Amy Slagle, promotion to Associate Professor, Department of Philosophy and Religion
     Heather Marie Stur, Associate Professor, Department of History
     Kenneth Swope, Professor, Department of History
     Brian Collins, promotion to Associate Professor, Department of Management and International
       Business
     Barry Cumbie, promotion to Associate Professor, Department of Management and International
       Business
     SherRhonda Gibbs, promotion to Associate Professor, Department of Management and
       International Business
     Kimberly Goodwin, promotion to Associate Professor, Department of Finance, Real Estate and
       Business Law
     Paula Parker, promotion to Associate Professor, School of Accountancy
     Marco Wolf, promotion to Associate Professor, Department of Marketing and Merchandising
     Alan Hajnal, promotion to Associate Professor, Department of Psychology
     Michael Mong, promotion to Associate Professor, Department of Psychology
     Kenji Noguchi, promotion to Associate Professor, Department of Psychology
     Stacy R. Reeves, Associate Professor, Department of Curriculum, Instruction and Special
       Education
     Edward Goshorn, Associate Professor, Department of Speech and Hearing Sciences
     Bill Holcomb, Associate Professor, Department of Human Performance and Recreation
     Melissa Murray, promotion to Associate Professor, Department of Human Performance and
       Recreation
     Christina Perigoe, Associate Professor, Department of Speech and Hearing Sciences
     Rowena Elliott, Associate Professor, Nursing/Advanced Practice
     Melanie Gilmore, promotion to Associate Professor, Nursing/Advanced Practice
     Greg Carter, Associate Professor, Department of Geography and Geology
     Amer Dawoud, Associate Professor, Department of Computing
     Joe Griffitt, promotion to Associate Professor, Department of Coastal Sciences
     Bandana Kar, promotion to Associate Professor, Department of Geography and Geology
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       Jeremy Lyle, promotion to Associate Professor, Department of Mathematics
       Derek Patton, promotion to Associate Professor, School of Polymers and High Performance
        Materials
       Vijay Rangachari, promotion to Associate Professor, Department of Chemistry
       Eric Saillant, promotion to Associate Professor, Department of Coastal Sciences
       Daniel Savin, promotion to Associate Professor, School of Polymers and High Performance
        Materials
       Nan Wang, promotion to Associate Professor, Department of Computing
       Jorge E. Brown, promotion to Associate Professor, University Libraries (twelve-month contract)
       Peter R. Dean, promotion to Associate Professor, University Libraries (twelve-month contract)

EMERITUS STATUS

Alcorn State University
    Alpha Morris, Professor of Social Sciences

RETROACTIVE APPROVAL GRANTED TO THE FOLLOWING ITEMS

EMPLOYMENT
University of Mississippi Medical Center
    Janice Lage, M.D.; Chair and Professor of Pathology; salary of $585,000, per annum, pro rata;
      E&G funds; hired with tenure; effective February 3, 2013 (Also reported in the Tenure section
      below.)

TENURE
University of Mississippi Medical Center
    Janice Lage, M.D.; Chair and Professor of Pathology; salary of $585,000, per annum, pro rata;
      E&G funds; hired with tenure; effective February 3, 2013

ADMINISTRATION/POLICY
  27. ASU – Approved the request to bestow one honorary degree at its May 2014 commencement
      ceremony. Supporting documents are on file at the Board Office.
  28. System – Approved the amendments to the Strengthening Mississippi Academic Research
      Through Business Act (SMART Business Act) Guidelines. The amended SMART Business Act
      guidelines will be submitted to the Mississippi Secretary of State’s Office in accordance with the
      Administrative Procedures Act. (See Exhibit 4.)




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                                              ACADEMIC AFFAIRS
                                           Presented by Trustee Ford Dye, Chair

On motion by Trustee Perry, seconded by Trustee Pickering, with Trustee Robinson absent and not
voting, all Trustees legally present and participating voted unanimously to approve agenda item #1 as
submitted on the Academic Affairs Agenda.
    1. State - Pursuant to Miss. Code Ann. §37-129-1, based on the evaluation of annual reports
        documenting compliance with the state nursing accreditation standards, the Board approved the
        accreditation of the Mississippi Nursing Degree Programs as shown below.
                                                        PROGRAM                        ACCREDITATION
                SCHOOL OF NURSING                         TYPE                            STATUS
      Alcorn State University                               ADN            Continuing Accreditation with Conditions1
                                                            BSN            Continuing Accreditation
                                                            MSN            Continuing Accreditations with Conditions1
                                                           School          Continuing Accreditations with Conditions1
      Coahoma Community College                             ADN            Initial Accreditation
      Copiah-Lincoln Community College                      ADN            Continuing Accreditation
      Delta State University                                BSN            Continuing Accreditation
                                                            MSN            Continuing Accreditation
                                                            DNP            Initial Accreditation
      East Central Community College                        ADN            Continuing Accreditation
      East Mississippi Community College                    ADN            Continuing Accreditation
      Hinds Community College                               ADN            Continuing Accreditation
      Holmes Community College                              ADN            Continuing Accreditation
      Itawamba Community College                            ADN            Continuing Accreditation with Conditions2
      Jones County Junior College                           ADN            Continuing Accreditation
      Meridian Community College                            ADN            Continuing Accreditation
      Mississippi College                                   BSN            Continuing Accreditation
      Mississippi Delta Community College                   ADN            Continuing Accreditation with Conditions3
      Mississippi Educational Consortium for                MSN            Full Accreditation
      Specialized Advanced Practice Nursing           Gerontological &
      (MECSAPN) - ASU, DSU, MUW, UMMC, &              Psychiatric Mental
      USM                                               Health Nurse
                                                         Practitioner
      Mississippi Gulf Coast Community College              ADN            Continuing Accreditation with Conditions4
      Mississippi University for Women                      ADN            Continuing Accreditation
                                                            BSN            Continuing Accreditation
                                                            MSN            Continuing Accreditation
                                                            DNP            Initial Accreditation
      Northeast Mississippi Community College               ADN            Continuing Accreditation
      Northwest Mississippi Community College               ADN            Continuing Accreditation
      Pearl River Community College                         ADN            Continuing Accreditation
      Southwest Mississippi Community College               ADN            Continuing Accreditation with Conditions5
      University of Mississippi Medical Center              BSN            Continuing Accreditation
                                                            MSN            Continuing Accreditation
                                                            DNP            Full Accreditation
      University of Southern Mississippi                    BSN            Continuing Accreditation

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                                                      MSN          Continuing Accreditation
                                                      DNP          Full Accreditation
       William Carey University                       BSN          Continuing Accreditation
                                                      MSN          Continuing Accreditation
1
  Alcorn State University
      REASON: ADN program non-compliant with IHL Standard VI. Outcomes. State Specific Requirements 2.
          a. NCLEX-RN® Pass Rate 80% or above required; ADN program pass rate 78.59%
      CONDITION: must satisfactorily address the area(s) of concern/deficiency through the development
          of a performance improvement plan by 6/30/14
      REASON: MSN program non-compliant with one out of six ACEN Accreditation Standards: Standard 4.
          Curriculum
      CONDITION: must submit a follow-up report to ACEN in spring 2015
          REASON: School non-compliant with IHL Standard I. Mission and Administrative Organization. State
          Specific Requirements 2. b. unencumbered current license to practice in Mississippi
      CONDITION: must satisfactorily address the area(s) of concern/deficiency through the development
          of a performance improvement plan by 6/30/14
2
  Itawamba Community College
      REASON: program non-compliant with one out of six ACEN Accreditation Standards: Standard 6. Outcomes
      CONDITION: must submit a follow-up report to ACEN in fall 2014
3
  Mississippi Delta Community College
      REASON: program non-compliant with one out of six ACEN Accreditation Standards: Standard 6. Outcomes
      CONDITION: must submit a follow-up report to ACEN in fall 2015
4
  Mississippi Gulf Coast Community College
      REASON: program non-compliant with IHL Standard II. Faculty and Staff. State Specific Requirements
          2.a. master’s degree with a major in nursing
      CONDITION: must satisfactorily address the area(s) of concern/deficiency through the development of a
          performance improvement plan by 6/30/14
5
  Southwest Mississippi Community College
      REASON: program non-compliant with two out of six ACEN Accreditation Standards: Standard 4. Curriculum and
          Standard 6. Outcomes
      CONDITION: must submit a follow-up report to ACEN in fall 2014



                                          FINANCE AGENDA
                                   Presented by Trustee Alan Perry, Chair

On motion by Trustee Perry, seconded by Trustee Pickering, with Trustee Robinson absent and not
voting, all Trustees legally present and participating voted unanimously to approve agenda item #1 as
submitted on the Finance Agenda. Agenda item #2 was removed from the agenda for further review.
On motion by Trustee Perry, seconded by Trustee Smith, with Trustee Robinson absent and not voting,
all Trustees legally present and participating voted unanimously to approve agenda item #3 as amended.
On motion by Trustee Perry, seconded by Trustee Cummins, with Trustee Robinson absent and not
voting, all Trustees legally present and participating voted unanimously to approve agenda item #4. On
motion by Trustee Perry, seconded by Trustee Hooper, with Trustee Robinson absent and not voting, all
Trustees legally present and participating voted unanimously to approve agenda item #5. On motion by


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Trustee Perry, seconded by Trustee Dye, with Trustee Robinson absent and not voting, all Trustees
legally present and participating voted unanimously to approve agenda item #6.
    1. System – Approved the request to renew its property insurance coverage with Affiliated FM
        Insurance Company and Axis Surplus Insurance Company. In 2009, the Board approved a
        system-wide approach to insuring the system’s buildings. Since 2012, all campus buildings have
        been covered through this program. Affiliated FM Insurance Company has provided the primary
        property coverage and Axis Surplus Insurance Company has provided necessary Wind and Flood
        coverage. Due to a reduction in the average premium rate, this renewal will cover approximately
        five percent more property value while costing approximately three percent more in premium.
        The contract is a one-year insurance policy beginning May 31, 2014, and terminating May 31,
        2015. The premium is approximately $6,555,886, subject to increase or decrease through the
        term of the policy as universities add or decrease coverage. Each university and the Board
        Office will pay its respective share of the premium which is billed and paid directly between the
        insurance company and the insured.
    2. System – Request approval of FY 2016 Proposed Funding Priorities as required for the 2015
        Legislative Budget Request. (THIS ITEM WAS PULLED FROM THE AGENDA.)
    3. System – Approved new Board Policy 707.03 Approval of Prepayment for Goods or Services
        for first reading as amended to include the provision that this policy is subject to the
        requirements as set forth in Board Policy 707.01 Land, Property, and Service Contracts.
       707.03 APPROVAL OF PREPAYMENT FOR GOODS OR SERVICES
       Pursuant to Miss. Code Ann. § 7-7-27 (1972), as amended, the Board of Trustees of State Institutions of Higher
       Learning (IHL) may permit prepayment for goods or services not yet received. The procedures regarding such
       waivers applicable to the IHL Executive Office and the various state universities are:
       1) The Commissioner is delegated the authority to approve such prepayment/waivers on behalf of the Board.
       2) Written permission from the Commissioner must be obtained prior to making prepayment or contracting to
           make prepayment of goods or services before such goods or services are received.
       3) The requestor must submit a written request to the Commissioner explaining the circumstances or reasons why
           the waiver is being sought. A copy of the invoice or contract showing the prepayment terms must be attached
           to the request.
       4) Registration fees for conventions and conferences and deposits for hotel fees may be paid in advance and do not
           require permission/waiver by the Commissioner
       5) If federal funds are to be used to prepay multi-year services or licensing, the requestor must ensure that the
           prepayment conforms to the federal grant regulations and requirements. The requestor must provide
           documentation to the Commissioner, as part of the written request for a waiver, indicating that the prepayment
           conforms to the federal grant regulations and requirements.
       6) A waiver from the Commissioner is not required in order to pre-pay a single payment within a fiscal year for the
           rental of a post office box, membership dues, subscriptions and software maintenance fees.
       7) A waiver from the Commissioner is not required in order to pre-pay up to twelve monthly payments in a fiscal
           year for rent (i.e., land, buildings, office space, office equipment, etc.), maintenance fees, operating fees, (i.e.,
           application service provider [ASP] fees) and leases (i.e., vehicle or equipment).
       8) All multi-year prepayments require a waiver granted by the Commissioner.
   4. DSU – Approved the request to restate and extend the existing contract with Aramark
      Educational Services, LLC, for the food service management agreement. The purpose of this
      amendment is to maintain uninterrupted food services on DSU’s Cleveland campus, while
      obtaining additional financial commitments from Aramark in the form of capital investments,
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   scholarships, catering credits, meal allowances, etc. The contract extension is for five (5) years,
   beginning July 1, 2014, and ending June 30, 2019. This is a revenue producing contract for
   DSU. It is estimated that the university could receive $5.3 million in revenue benefits over the
   course of the 5-year extension. A copy of the agreement which has been reviewed and approved
   by the Attorney General’s Office is on file at the Board Office.
5. UMMC – Approved the request to amend the current lease agreement with Hertz Jackson Two,
   LLC (Hertz), successor to Parkway Joint Venture, LLC. The amendment is intended to increase
   the amount of leased space from 2,765 square feet to 5,796 square feet to accommodate the
   increase in the telehealth services (eICU, emergency telehealth and etc.) UMMC is providing to
   hospitals across the state and to exercise an opportunity to extend the general lease an additional
   five years. This amendment will start on June 1, 2014 through May 31, 2019. This will bring
   the total term of the agreement since inception (September 2009) to approximately ten (10)
   years. The estimated cost of the amendment will be $557,575.20. The breakdown of cost is
   included in the bound May 15, 2014 Board Working File. The contract will be funded by patient
   revenue. A copy of the agreement which has been reviewed and approved by the Attorney
   General’s Office is on file at the Board Office.
6. UMMC – Approved the request to enter into a ground lease with The Meridian at Fondren, LLC
   (“The Meridian”) for the development of a mixed use development, including residential
   apartments, retail, and office space. This is a new ground lease for the property known as “North
   Lakeland.” Currently, the property consists of seven (7) buildings containing UMMC clinics and
   department offices on approximately 4.4 acres. Under UMMC’s Master Plan, these buildings
   would be replaced by a mixed use development. In June of 2012, UMMC began the process of
   selecting a developer for the mixed use development. SKD Development was chosen and
   consists primarily of Stewart Speed, Kassinger Development Group, State Street Group, Niles
   Bolton Associates, and Neel-Schaffer. SKD Development created the entity The Meridian at
   Fondren, LLC, to move forward with the project. The Meridian, UMMC, and the adjacent
   neighborhood have communicated and resolved all issues related to covenants or concerns. Due
   to concerns regarding the length of the total lease term, the Legislature passed Senate Bill No.
   2803, 2014 Regular Session, which authorizes the Board to lease the property for a forty-year
   term with two optional twenty-year renewal periods. The first renewal period is at the option of
   the Lessee and the second renewal period is at the option of the Lessor. The bill was effective
   upon passage and was approved by the Governor. The total estimated revenue to be earned
   under the ground lease agreement is approximately $9,480,140.00 before any deductions for
   credits for environmental hazards and geotechnical testing of an amount up to $57,500. A
   breakdown of the costs is included in the bound May 15, 2014 Board Working File. A
   corresponding agenda item related to The Meridian at Fondren is on the Real Estate Regular
   Agenda. A copy of the agreement which has been reviewed and approved by the Attorney
   General’s Office is on file at the Board Office.


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                                   REAL ESTATE AGENDA
                                Presented by Trustee C.D. Smith, Chair

On motion by Trustee Smith, seconded by Trustee Dye, with Trustee Robinson absent and not voting,
all Trustees legally present and participating voted unanimously to approve agenda items #1 and #2 as
submitted on the Real Estate Agenda.
    1. UMMC – Approved the request to delete Buildings LJ (768 Lakeland), LG, LE, LF (802
        Lakeland), LC (828 Lakeland), LD (826 Lakeland), and LH (838R Lakeland) from inventory and
        demolish them. The seven existing buildings are located along the north side of Lakeland drive
        as part of the Meridian at Fondren Development Package. The development project will provide
        for the demolition of these buildings. The approval letter has been received from the Mississippi
        Department of Archives and History. All legal documentation will be kept on file in the IHL
        Office of Real Estate and Facilities. A corresponding agenda item related to The Meridian at
        Fondren is on the Finance Regular Agenda.
    2. UMMC – Approved the exterior design of “The Meridian” project. The project is currently in
        the design phase. By a separate agenda item on the Finance Regular Agenda, it was approved
        for UMMC to enter into a ground lease with the Meridian at Fondren, LLC for the development
        of a mixed use development on the property north of Lakeland Drive. A copy of the rendering is
        included in the bound May 15, 2014 Board Working File.

                                        LEGAL AGENDA
                                Presented by Trustee Doug Rouse, Chair

On motion by Trustee Rouse, with Trustees Robinson absent and not voting, all Trustees legally present
and participating voted unanimously to accept the recommendation of the Legal Committee to move
agenda items #1 and #2 to the Executive Session Agenda.
   1. UMMC – Settlement of Tort Claim No. 1947. (THIS ITEM WAS TAKEN UP DURING
       EXECUTIVE SESSION.)
   2. UMMC – Settlement of Tort Claims No. 1596 and 1596A. (THIS ITEM WAS TAKEN UP
       DURING EXECUTIVE SESSION.)

                                  INFORMATION AGENDA
                             Presented by Commissioner Hank M. Bounds

REAL ESTATE
  1. System – The Board received the Real Estate items that were approved by the Board staff
     subsequent to the April 24, 2014 Board meeting in accordance with Board Policy 904 Board
     Approval. (See Exhibit 5.)

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LEGAL
  2. System – The Board received a report of the payment of legal fees to outside counsel. (See
     Exhibit 6.)

ADMINISTRATION/POLICY
  3. System – The following items have been approved by the Commissioner on behalf of the Board
     and are available for inspection at the Board Office.
        a. MSU - In accordance with Board Policy 707.01 Land, Property, and Service Contracts,
            “The Commissioner is authorized and empowered to approve non-oil, gas and mineral
            leases in an amount equal to or less than $100,000.” On April 22, 2014, the
            Commissioner granted retroactive approval to amend a lease agreement with the United
            States of America (USA) acting by and through the Agricultural Research Service. MSU
            has stated that a period of staff transition in the department which originated the
            agreement caused the delay in submission of the agreement to IHL. This agreement is for
            the lease of approximately 30.7 acres of land on the McNeill sub-unit of MSU’s South
            Mississippi Branch Experiment Station, Coastal Research and Extension Center in Pearl
            River County, MS. The acreage will be used by the USA for the cultivation and research
            of small fruits, vegetables and ornamental vegetation. The annual lease renewal term will
            potentially run for a period of ten (10) years, October 1, 2013 through September 30,
            2023. Annual renewal is available at the option of the USA/Lessee upon thirty (30) days
            notice to MSU and subsequent approval by the Commissioner. The USA will pay MSU a
            nominal rent fee of $1 yearly and will maintain the cultivated acreage. The Executive
            Office legal staff have reviewed and approved the contract documents.
        b. MSU - In accordance with Board Policy 707.01 Land, Property, and Service Contracts,
            “The Commissioner is authorized and empowered to approve non-oil, gas and mineral
            leases in an amount equal to or less than $100,000.” On April 24, 2014, the
            Commissioner approved the request by MSU on behalf of its Delta Research and
            Extension Center (DREC) to enter into a lease agreement with Rex Livingston (Lessor).
            The agreement is for the lease of approximately 22 acres of land in Washington County,
            MS. The land, which is located adjacent to DREC, will be used to conduct row crop
            research. The primary lease term will commence upon execution by both parties and run
            through March 31, 2015. Upon mutual agreement of the parties, the lease will be
            renewed for a maximum of four (4) one year terms or through March 31, 2019. MSU
            will pay $4,400 annually for the lease of the acreage. The total cost for the five (5) year
            lease term is $22,000. In addition to rent costs, MSU will return the acreage to its prior
            condition at the conclusion of the lease term. This agreement is funded by Section 32
            Funds. The Executive Office legal staff have reviewed and approved the contract
            documents.
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           c. SYSTEM - On April 24, 2014, the Commissioner reviewed and approved the Quarterly
              Employment Reports which lists all hires and all separations for the period beginning
              January 1, 2014 and ending March 31, 2014. These reports are required by Board Policies
              401.0102 Delegation of Authority and 801.09 Resignations. The Executive Office
              financial staff has reviewed and approved the institutions’ submissions. A copy of these
              reports will be maintained in the IHL Department of Finance and Administration.

                                     ANNOUNCEMENTS

       President Patterson noted the next Board meeting was originally scheduled to take place at
        Alcorn State University in Lorman, MS. The Board will now meet in Jackson on June 19 and at
        Alcorn on November 20. The Health Affairs Committee will meeting immediately following the
        Board meeting.

                    ACADEMIC AFFAIRS COMMITTEE REPORT
                                            May 15, 2014

The Committee was brought to order by Chairman Ford Dye at 8:30 a.m. The following items were
discussed:
    1. On motion by Trustee Blakeslee, seconded by Trustee Smith, with Trustee Robinson absent and
       not voting, all Committee members legally present and participating voted unanimously to
       authorize the planning of the following new degree programs:
           a. ASU – Bachelor of Arts in Music degree (CIP 50.0901)
           b. DSU – Bachelor of Business Administration in Health Care Administration degree (CIP
              51.0701)
           c. DSU – Bachelor of Business Administration in Applied Business degree (CIP 52.0201)
           d. MSU – Doctor of Philosophy in Kinesiology degree (CIP 31.0505)
           e. MUW – Master of Fine Arts in Creative Writing degree (CIP 23.0501)
           f. MVSU – Bachelor of Arts in General Studies degree (CIP 24.0102)
           g. UM – Bachelor of Business Administration in General Business degree (CIP 52.0101)
           h. UM – Bachelor of Arts in Arabic degree (CIP 16.1101)
           i. UM – Bachelor of Arts in Sports Management and Recreation Administration
              (BASMRA) degree (CIP 31.0504)
           j. UM – Doctor of Philosophy in Nutrition and Hospitality Management degree (CIP
              52.0901)
    2. On motion by Trustee Hooper, seconded by Trustee Blakeslee, with Trustee Robinson absent
       and not voting, all Committee members legally present and participating voted unanimously to
       adjourn.

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The following Committee members were present: Dr. Ford Dye (Chair), Mr. Ed Blakeslee, Mr. Shane
Hooper and Mr. C. D. Smith. Committee member Robin Robinson was absent. Other Board members
attending the meeting were Mrs. Karen Cummins and Mr. Aubrey Patterson.



                                 FIRST EXECUTIVE SESSION

On motion by Trustee Perry, seconded by Trustee Hooper, with Trustee Robinson absent and not voting,
all Trustees legally present and participating voted unanimously to close the meeting to determine
whether or not is should declare an Executive Session. On motion by Trustee Perry, seconded by
Trustee Parker, with Trustee Hooper and Robinson absent and not voting, all Trustees legally present
and participating voted unanimously to go into Executive Session for the reasons reported to the public
and stated in these minutes, as follows:

Discussion of three state university litigations matters and
Discussion of one state university personnel matter.

During Executive Session, the following matters were discussed and/or voted upon:

On motion by Trustee Dye, seconded by Trustee Perry, with Trustee Robinson absent and not voting, all
Trustees legally present and participating voted unanimously to approve the settlement of Tort Claims
No. 1596 and 1596A styled as Alicia Small and Kenyotta Johnson vs. UMMC et al., as recommended by
counsel.

On motion by Trustee Hooper, seconded by Trustee Dye, with Trustee Robinson absent and not voting,
all Trustees legally present and participating voted unanimously to approve the settlement of Tort Claim
No. 1947 styled as Nellie Taylor vs. UMMC, et al., as recommended by counsel.

On motion by Trustee Perry, seconded by Trustee Hooper, with Trustee Robinson absent and not
voting, all Trustees legally present and participating voted unanimously to return to Open Session.

On motion by Trustee Perry, seconded by Trustee Pickering, with Trustee Robinson absent and not
voting, all Trustees legally present and participating voted unanimously to recess the Board meeting at
11:22 a.m. to conduct the Health Affairs Committee meeting.




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                       HEALTH AFFAIRS COMMITTEE REPORT
                                              May 15, 2014

The Committee was brought to order by Chairman Aubrey Patterson. The following items were
discussed.
    1. The Committee discussed the organizational chart and reporting structure of the University of
       Mississippi Medical Center. No action was taken.
    2. The Committee discussed hospital records. No action was taken.
    3. On motion by Trustee Dye, seconded by Trustee Smith, all Committee Members legally present
       and participating voted unanimously to approve the committee minutes for the meeting held on
       April 24, 2014.
    4. On motion by Trustee Dye, seconded by Trustee Blakeslee, all Committee Members legally
       present and participating voted unanimously to adjourn.
The following Committee members were in attendance: Aubrey Patterson (Chair), Ed Blakeslee, Dr.
Ford Dye, Shane Hooper, Alan Perry, and Dr. Doug Rouse. Other Trustees attending were Karen
Cummins, Bob Owens, Hal Parker, Christy Pickering, and C.D. Smith.

AT 12:19 P.M. THE BOARD MEETING RECONVENED.



                               SECOND EXECUTIVE SESSION

On motion by Trustee Perry, seconded by Trustee Blakeslee, with Trustee Robinson absent and not
voting, all Trustees legally present and participating voted unanimously to close the meeting to
determine whether or not is should declare an Executive Session. On motion by Trustee Perry, seconded
by Trustee Hooper, with Trustee Robinson absent and not voting, all Trustees legally present and
participating voted unanimously to go into Executive Session for the reason reported to the public and
stated in these minutes, as follows:

Discussion of a state university personnel matter.

During Executive Session, the following matter was discussed:

The Board discussed a state university personnel matter. No action was taken.

On motion by Trustee Perry, seconded by Trustee Hooper, with Trustee Robinson absent and not
voting, all Trustees legally present and participating voted unanimously to return to Open Session.


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                                      ADJOURNMENT

There being no further business to come before the Board, on motion by Trustee Perry, seconded by
Trustee Hooper, with Trustee Robinson absent and not voting, all Trustees legally present and
participating voted unanimously to adjourn the meeting.


             _____________________________________________________________
                President, Board of Trustees of State Institutions of Higher Learning


             _____________________________________________________________
              Commissioner, Board of Trustees of State Institutions of Higher Learning




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                                    EXHIBITS

 Exhibit 1   Memo representing approval by the Mississippi Information Technology Services
             Board of the continuation of a contractual agreement with Mythics, Inc. and
             MSU.

 Exhibit 2   Agenda item submission for an agreement on behalf of UMMC and prepared by
             the Mississippi Information Technology Services’ executive staff for its April 17,
             2014 Board meeting.

 Exhibit 3   Memo representing approval by the Mississippi Information Technology Services
             Board of the continuation of a contractual agreement with Blackboard, Inc. for the
             acquisition of licensing, hosting and services related to the Blackboard Learning
             Management System for USM.

 Exhibit 4   Amendments to the Strengthening Mississippi Academic Research Through
             Business Act (SMART Business Act) Guidelines.

 Exhibit 5   Real Estate items that were approved by the IHL Board staff subsequent to the
             April 24, 2014 Board meeting.

 Exhibit 6   Report of the payment of legal fees to outside counsel.




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EXHIBIT 4
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SYSTEM – APPROVAL OF AMENDMENTS TO THE STRENGTHENING
MISSISSIPPI ACADEMIC RESEARCH THROUGH BUSINESS ACT (SMART
BUSINESS ACT) GUIDELINES.

Section 1. Funding Opportunity Title
Strengthening Mississippi Academic Research Through Business Act (SMART Business Act)
Rebate Applications

Section 2. Funding Opportunity Purpose/Description
The Strengthening Mississippi Academic Research Through Business Act (SMART Business
Act), as established by Mississippi law, is intended to meet the following goals: stimulate private
investment in research and development through partnerships with Mississippi public
colleges/universities; increase the competitiveness of Mississippi companies; and improve the
economy of the State of Mississippi.

Section 3. Eligibility Requirements
Any natural person, partnership, limited liability company, association, corporation, business
trust or other business entity not formed for the specific purpose of acquiring the rebate offered,
and which is subject to Mississippi income or franchise tax is eligible to apply (the “Applicant”).

Section 4. Application and Submission Information
   1. Requesting an Application Package
       Application information is available online at the Mississippi Institutions of Higher
       Learning’s (IHL) website (www.ihl.state.ms.us).

    2. Content and Form of Application Submission
       Application packages will be accepted online at www.ihl.state.ms.us and will at a
       minimum include the items listed below.
            Name, address and tax ID number for the Applicant (to document eligibility of
               the Applicant/Investor).
            A copy of a Research Agreement between the Applicant and a College or
               Research Corporation stating their intent to enter into a Research Agreement for
               Qualified Research with an attached research plan and budget approved by the
               College or Research corporation. The research agreement must also include an
               estimated date of completion.
            A statement/assurance that funds from the Applicant/Investor do not originate
               from any grant, contract or otherwise by another person or governmental entity.
            A letter from the Mississippi Department of Revenue stating that the applicant is
               subject to Mississippi income tax or franchise tax.

   3. Submission Dates and Times
      Applications may be submitted during one of two 60-day open enrollment periods that
      will be publicly announced on an annual basis. Additional open enrollment periods may
      be announced based on availability of funding.



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Section 5. Application Review Information
Applications will be reviewed for compliance with the legislation Miss. Code Ann. § 37-148-1
through 37-148-9 and IHL Board Policy by the Office of the Commissioner of Higher Education
or his designee.

Section 6. Award Information
   1. Funding Instrument
       Rebate: An Investor (Applicant) incurring qualified research costs subject to a research
       agreement approved under this act is eligible for a rebate equal to twenty-five percent
       (25%) of the investor’s qualified research costs.

   2. Funds Available and Anticipated Number of Awards
      The total funding support from the State of Mississippi is $5,000,000 per fiscal year.
      Each investor incurring research costs approved under this act is limited to a rebate of
      twenty-five percent (25%) of the investor’s qualified research costs not to exceed
      $1,000,000 during any fiscal year.

Section 7. Award Administration Information
A formal notification in the form of a SMART Business Certificate (SBC) will be issued by the
IHL to awarded/approved investors within 60 days of the expiration of an open enrollment
period. receipt of an application. If approval is denied, formal notification including reason(s) for
such action will be sent to an investor within the same 60 day period.

Section 8. Rebate Redemption
To claim a rebate, the investor must submit a rebate allocation claim to the Mississippi
Department of Revenue. The rebate allocation claim must include, at a minimum, the SMART
Business certificate issued by the Mississippi Institutions of Higher Learning and proof of
payment to the college or research corporation for qualified research conducted according to the
research agreement. The IHL may set an expiration date for redemption of rebates with the
Mississippi Department of Revenue.

Section 9. Definitions
“College" means the state institutions of higher learning in Mississippi which are accredited by
the Southern Association of Colleges and Schools.

"Investor" means a natural person, partnership, Limited Liability Company, association,
corporation, business trust or other business entity, not formed for the specific purpose of
acquiring the rebate offered, which is subject to Mississippi income tax or franchise tax.

"Qualified research" means the systematic investigative process that is undertaken for the
purpose of discovering information. The term "qualified research" does not include research
conducted outside the State of Mississippi or research to the extent funded by any grant, contract
or otherwise by another person or governmental entity.




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"Research agreement" means a new written contract, grant or cooperative agreement entered
into between a person and a college or research corporation for the performance of qualified
research; however, all qualified research costs generating a rebate must be spent by the college or
research corporation on qualified research undertaken according to a research agreement.

"Research corporation" means any research corporation formed under Section 37-147-15 if the
corporation is wholly owned by a college and all income and profits of the corporation inure to
the benefit of the college.

"Qualified research costs" means costs paid or incurred by an investor to a college or research
corporation for qualified research undertaken according to a research agreement.

"State" means the State of Mississippi or a governmental entity of the State of Mississippi.

"IHL" means the Board of Trustees of State Institutions of Higher Learning in Mississippi.

"SMART Business Act" means Strengthening Mississippi Academic Research Through
Business Act.




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EXHIBIT 5
May 15, 2014

SYSTEM: REAL ESTATE ITEMS APPROVED SUBSEQUENT TO THE
April 24, 2014 BOARD MEETING SUBMISSION DEADLINE

NOTE: THE FOLLOWING ITEMS WERE APPROVED BY THE BOARD'S REAL
ESTATE AND FACILITIES STAFF ACCORDING TO BOARD POLICY §904 (A)
BOARD APPROVAL .

Change Order Approval Note: No change orders approved by Board staff, as reflected
within any of the following informational agenda items, increase the Board approved total
project budget. The total project budget as approved by the Board provides for a
contingency fund, which allows for an increase in the construction budget of between five
and ten percent. Any increase in the total project budget caused by a change order, would
require Board approval and could not be approved by Board staff.

   1. ASU– GS 101-294 – Fire Sprinkler
      Staff Approval #1: In accordance with Board Policy §904 (A) Board Approval, Board
      staff approved Contract Documents as submitted by Atherton Engineers, design
      professional. Approval is requested from the Bureau of Building, Grounds, and Real
      Property.
      Staff Approval #2: In accordance with Board Policy §904 (A) Board Approval, Board
      staff approved request to advertise for receipt of bids. Approval is requested from the
      Bureau of Building, Grounds, and Real Property.
      Staff Approval Date: April 9, 2014
      Project Initiation Date: March 21, 2013
      Design Professional: Atherton Engineers
      General Contractor: TBD
      Project Budget: $2,292,079.00

   2. MSU– GS 105-345 (GC002) – MSU Classroom Building with Parking (Mechanical)
      Staff Approval: In accordance with Board Policy §904 (A) Board Approval, Board staff
      approved Change Order #1 in the amount of $5,205.34 and eighty-five (85) additional
      days to the contract of Upchurch Plumbing, Inc. Approval is requested from the Bureau
      of Building, Grounds, and Real Property.
      Staff Approval Date: April 1, 2014
      Change Order Justification: Change Order #1 is necessary to install flowable fill in
      the former diesel tunnel from the building to the end of the tunnel & waterproof, time
      extension for delayed HVAC submittals concerning the ice storage tanks, credit for
      eliminating backflow preventer, credit for eliminating piping no longer needed as part of
      the modified system and modification of hilti anchors needed for the support of the
      interior mezzanine.
      Total Project Change Orders and Amount: One (1) change order for a total amount
      of $5,205.34.
      Project Initiation Date: August 19, 2010
      Design Professional: Belinda Stewart Architects, P.A.
      General Contractor: Upchurch Plumbing, Inc.


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      Project Budget: $41,314,339.00

   3. MSU– GS 105-348 – EMC Implementation
      Staff Approval #1: In accordance with Board Policy §904 (A) Board Approval, Board
      staff approved Schematic Design Documents as submitted by Atwell & Gent, P.A.
      Approval is requested from the Bureau of Building, Grounds, and Real Property.
      Staff Approval #2: In accordance with Board Policy §904 (A) Board Approval, Board
      staff approved a waiver of Design Development Documents. Approval is requested from
      the Bureau of Building, Grounds, and Real Property.
      Staff Approval Date: April 16, 2014
      Project Initiation Date: October 18, 2012
      Design Professional: Atwell & Gent, P.A.
      General Contractor: TBD
      Project Budget: $1,525,000.00

   4. MSU– IHL 205-272 (Phase One Base Building) – Campus Services Shop Building
      Staff Approval #1: In accordance with Board Policy §904 (A) Board Approval, Board
      staff approved Contract Documents as submitted by Michael T. Muzzi, AIA, AUA,
      design professional.
      Staff Approval #2: In accordance with Board Policy §904 (A) Board Approval, Board
      staff approved request to advertise for receipt of bids.
      Staff Approval Date: April 16, 2014
      Project Initiation Date: October 17, 2013
      Design Professional: Michael T. Muzzi, AIA, AUA
      General Contractor: TBD
      Project Budget: $2,000,000.00

   5. MUW– GS 104-178 – Fant Library Renovation, Phase I
      Staff Approval: In accord8nce with Board Policy §904 (A) Board Approval, Board staff
      approved Change Order #8 in the amount of $17,282.83 and thirty-one (31) additional
      days to the contract of West Brothers Construction, Inc. Approval is requested from the
      Bureau of Building, Grounds, and Real Property.
      Staff Approval Date: April 11, 2014
      Change Order Justification: Change Order #8 is necessary to repair two HVAC units
      to be used for temporary air during the Phase 2 project, re-circuit & control the existing
      light pole at the NW corner of the site that was disrupted by revisions to the site drainage
      due to latent conditions, to compensate the steel supplier for additional detailing costs,
      and to add 15 days to the contract time due to weather delays.
      Total Project Change Orders and Amount: Eight (8) change orders for a total amount
      of $111,587.60.
      Project Initiation Date: October 20, 2011
      Design Professional: Burris/Wagnon Architects, P.A.
      General Contractor: West Brothers Construction, Inc.
      Project Budget: $6,800,000.00



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   6. MVSU– GS 106-237 – Harrison Renovation
      Staff Approval: In accordance with Board Policy §904 (A) Board Approval, Board staff
      approved Change Order #1 in the amount of $67,782.20 and zero (0) additional days to
      the contract of Evan Johnson & Sons Construction, Inc. Approval is requested from the
      Bureau of Building, Grounds, and Real Property.
      Staff Approval Date: April 7, 2014
      Change Order Justification: Change Order #1 is necessary to switch from TPO to a
      modified bitumen roof and to switch from prefinished metal to masonry.
      Total Project Change Orders and Amount: One (1) change order for a total amount
      of $67,782.20.
      Project Initiation Date: January 20, 2011
      Design Professional: Pryor & Morrow Architects and Engineers, P.A.
      General Contractor: Evan Johnson & Sons Construction, Inc.
      Project Budget: $17,775,000.00

   7. UM – GS 107-308 – Union Addition & Renovation
      Staff Approval: In accordance with Board Policy §904 (A) Board Approval, Board
      staff approved Design Development Documents as submitted by Eley Guild Hardy
      Architects. Approval is requested from the Bureau of Building, Grounds, and Real
      Property.
      Staff Approval Date: April 14, 2014
      Project Initiation Date: August 186, 2011
      Design Professional: Eley Guild Hardy Architects
      General Contractor: TBD
      Project Budget: $50,000,000.00

   8. UM– IHL 207-361 – Lamar Hall Phase IIB
      Staff Approval: In accordance with Board Policy §904 (A) Board Approval, Board staff
      approved Change Order #4 in the amount of $192,488.58 and thirty-nine (39) additional
      days to the contract of D. Carroll Construction, LLC.
      Staff Approval Date: April 14, 2014
      Change Order Justification: Change Order #4 is necessary to repair the existing fire
      rated partitions that were not properly built/sealed during the original building
      construction, change carpet to match the existing finishes from the Phase I construction,
      additional sprinkler heads at the existing stairwells & abandoned elevator shafts per code,
      to extend the boiler stack above the existing stairwell walls per code, installing recessed
      can lights in the central monumental stair, install door & hardware between offices 253 &
      252, and adding additional power/data to multiple locations, additional fire dampers at
      the Writing Center not shown on drawings, demolition of doors & walls at Suite B and at
      the third floor not show on drawings, additional data & power at classroom tech #368,
      relocation of VAV boxes from the corridor to rooms 205 & 275.
      Total Project Change Orders and Amount: Four (4) change orders for a total amount
      of $544,261.93.
      Project Initiation Date: August 16, 2012
      Design Professional: Barlow Eddy Jenkins Architects, P.A.


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      General Contractor: D. Carroll Construction, LLC
      Project Budget: $7,800,000.00

   9. UMMC – IHL 209-544 – Translational Research Center
      Staff Approval: In accordance with Board Policy §904 (A) Board Approval, Board
      staff approved Schematic Design Documents as submitted by Foil Wyatt Architects and
      Planners.
      Staff Approval Date: April 2, 2014
      Project Initiation Date: November 17, 2011
      Design Professional: Foil Wyatt Architects and Planners
      General Contractor: TBD
      Project Budget: $43,032,000.00

   10. UMMC – IHL 209-544A – Contract I – Site Work/Equipment Procurement –
       Translational Research Center
       Staff Approval #1: In accordance with Board Policy §904 (A) Board Approval, Board
       staff approved Waiver of Design Development Documents as submitted by Foil Wyatt
       Architects and Planners.
       Staff Approval #2: In accordance with Board Policy §904 (A) Board Approval, Board
       staff approved Contract Documents as submitted by Foil Wyatt Architects and Planners,
       design professional.
       Staff Approval #3: In accordance with Board Policy §904 (A) Board Approval, Board
       staff approved request to advertise for receipt of bids.
       Staff Approval Date: April 2, 2014
       Project Initiation Date: November 17, 2011
       Design Professional: Foil Wyatt Architects and Planners
       General Contractor: TBD
       Project Budget: $43,032,000.00

   11. UMMC– IHL 209-548 – School of Medicine - Utilities
       Staff Approval #1: In accordance with Board Policy §904 (A) Board Approval, Board
       staff approved Change Order #2 in the amount of $6,082.00 and zero (0) additional days
       to the contract of Cooke Douglass Farr Lemons – Eley Guild Hardy – A Joint Venture.
       Staff Approval #2: In accordance with Board Policy §904 (A) Board Approval, Board
       staff approved Change Order #3 in the amount of $4,551.00 and zero (0) additional days
       to the contract of Cooke Douglass Farr Lemons – Eley Guild Hardy – A Joint Venture.
       Staff Approval Date: April 11, 2014
       Change Order Justification: Change Order #2 is necessary to change material for
       approximately 270 linear feet of underground, double-wall fuel oil piping to eliminate
       steel outer cladding, and to utilize the reinforced fiberglass for outer cladding material.
       Change Order #3 is necessary to change material for all 3-in header piping, 2-in branch
       piping, valves, fittings, and specialties that are part of the water softener skid. The skid
       supports, hangers, and configuration will be modified to accommodate PVC piping.
       Total Project Change Orders and Amount: Three (3) change orders for a total amount
       of $19,405.00.


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      Project Initiation Date: August 15, 2013
      Design Professional: Cooke Douglass Farr Lemons – Eley Guild Hardy – A Joint
      Venture
      General Contractor: Fountain Construction Company, Inc.
      Project Budget: $10,000,000.00

   12. UMMC– IHL 209-550 – Wiser Women’s Urgent Care Renovation
       Staff Approval: In accordance with Board Policy §904 (A) Board Approval, Board
       staff approved Design Development Documents as submitted by The McCarty
       Company Design Group, P.A.
       Staff Approval Date: April 16, 2014
       Project Initiation Date: January 16, 2014
       Design Professional: The McCarty Company Design Group, P.A.
       General Contractor: TBD
       Project Budget: $1,682,000.00

   13. USM– GS 108-261 – School of Nursing Building
       Staff Approval: In accordance with Board Policy §904 (A) Board Approval, Board staff
       approved the award of contract to Hanco Corporation. Approval is requested from the
       Bureau of Building, Grounds, and Real Property.
       Staff Approval Date: April 11, 2014
       Project Initiation Date: September 17, 2009
       Design Professional: Studio South/Eley Guild Hardy Architects
       General Contractor: Hanco Corporation
       Project Budget: $30,000,000.00

   14. USM– GS 108-267 – College of Business Building
       Staff Approval: In accordance with Board Policy §904 (A) Board Approval, Board staff
       approved Change Order #12 in the amount of $315,939.79 and ten (10) additional days
       to the contract of Hanco Corporation. Approval is requested from the Bureau of
       Building, Grounds, and Real Property.
       Staff Approval Date: April 1, 2014
       Change Order Justification: Change Order #12 is necessary to change the cement
       terrazzo to epoxy terrazzo on the first floor, changing two marker boards to tempered
       glass visual display boards, electrical changes to the elevators that are required, providing
       additional steel to support architectural precast concrete at the west porch and electrical
       circuit changes that are required.
       Total Project Change Orders and Amount: Twelve (12) change orders for a total
       amount of $841,700.55.
       Project Initiation Date: March 2, 2005
       Design Professional: Studio South/Eley Guild Hardy Architects
       General Contractor: Hanco Corporation
       Project Budget: $34,000,000.00




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EXHIBIT 6
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SYSTEM - REPORT OF PAYMENTS TO OUTSIDE COUNSEL

Legal fees approved for payment to outside counsel in relation to litigation and other
matters:

Payment of legal fees for professional services rendered by Shulman, Rogers, Gandal, Pordy &
Ecker (statement dated 3/24/14) from the funds of Mississippi State University. (This statement,
in the amount of $422.24, represents services and expenses in connection with the
Nextel/Spring Rebanding Project.)

       TOTAL DUE……………………………….…….………………$                                           422.24

Payment of legal fees for professional services rendered by Ware/Gasparian (statements dated
4/1/14 and 4/3/14) from the funds of Mississippi State University. (These statements, in the
amounts of $93.00 and $2,000.00, respectively, represent services and expenses in connection
with labor certifications.)

       TOTAL DUE……………………………….…….………………$                                         2,093.00

Payment of legal fees for professional services rendered by Butler, Snow, O’Mara, Stevens &
Cannada (statement dated 3/20/14) from the funds of the University of Mississippi Medical
Center. (This statement in the amount of $7,640.00, represents services and expenses in
connection with general legal advice.)

       TOTAL DUE……………………………….…….………………$                                         7,640.00

Payment of legal fees for professional services rendered by Jones Walker (statements dated
3/3/14 and 3/21/14) from the funds of the University of Mississippi Medical Center. (These
statements in the amounts of $143.50 and $266.50, respectively, represent services and expenses
in connection with general legal advice.)

       TOTAL DUE……………………………….…….………………$                                           410.00

Payment of legal fees for professional services rendered by Kitchens, Hardwick & Ray
(statements dated 4/5/14, 4/5/14, 4/5/14, 4/5/14, 4/7/14 and 4/7/14) from the funds of the
University of Mississippi Medical Center. (These statements in the amounts of $1,699.50,
$6,022.50, $891.00, $660.00, $1,105.50 and $445.50, respectively, represent services and
expenses in connection with general legal advice.)

       TOTAL DUE……………………………….…….………………$                                       10,824.00.




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Payment of legal fees for professional services rendered by Butler, Snow, O’Mara, Stevens &
Cannada (statements dated 3/24/14) from the funds of the University of Southern Mississippi.
(These statements, in the amounts of $15,670.88, $1,206.60 and $96.00, represent services and
expenses in connection with legal advice.)

       TOTAL DUE……………………………….…….………………$                                        16,973.48

Payment of legal fees for professional services rendered by Mayo Mallette (statement dated
4/8/14) from the funds of the University of Southern Mississippi. (This statement, in the
amount of $16.50, represents services and expenses in connection with legal advice.)

       TOTAL DUE……………………………….…….………………$                                            16.50

Legal fees approved for payment to outside counsel in relation to patent and other
matters:

Payment of legal fees for professional services rendered by Stites & Harbison (statements dated
7/15/13, 11/15/13, 12/18/13, 1/14/14, 2/18/14, 2/18/14, 2/18/14, 2/18/14, 2/18/14, 3/17/14,
3/17/14, 3/17/14, 3/17/14 and 3/17/14) from the funds of the University of Mississippi Medical
Center. (These statements, in the amounts of $2,615.00, $5,956.00, $3,729.50, $50.00, $435.00,
$560.50, $3,017.50, $303.00, $570.00, $543.00, $28.50, $74.00, $38.00 and $36.00,
respectively, represent services and expenses in connection with intellectual property patents.)

       TOTAL DUE……………………………….…….………………$                                        17,956.00

Payment of legal fees for professional services rendered by Butler, Snow, O’Mara, Stevens &
Cannada (statement dated 3/24/14) from the funds of the University of Southern Mississippi.
(This statement represents services and expenses in connection with the following patent:
“Trademark Application for the Centennial Anniversary” - $1,200.00.)

       TOTAL DUE……………………………….…….………………$                                         1,200.00




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                  MINUTES OF THE HEALTH AFFAIRS COMMITTEE
                          THE BOARD OF TRUSTEES OF
                   STATE INSTITUTIONS OF HIGHER LEARNING
                                  June 12, 2014


BE IT REMEMBERED, That the Health Affairs Committee for the Mississippi Board of
Trustees of State Institutions of Higher Learning of the State of Mississippi met at the Walker’s
Drive-In in Jackson, Mississippi, at 5:30 p.m., and pursuant to notice in writing, to each and
every member of said Committee, said date being at least five days prior to this June 12, 2014
meeting. At the above-named place there were present the following members to wit: Aubrey
Patterson (Chair), Ed Blakeslee, and Shane Hooper. Committee Members Dr. Ford Dye, Alan
Perry and Dr. Doug Rouse were absent. Mr. Bob Owens also attended the meeting. The
Committee was called to order by Chairman Aubrey Patterson.


The Committee received a presentation from the Kurt Salmon group, a global management
consulting firm, regarding the institutional strategic plan for the University of Mississippi
Medical Center. No action was taken.



                                     ADJOURNMENT

There being no further business to come before the Committee, on motion by Trustee Hooper,
seconded by Trustee Blakeslee, all Committee Members legally present and participating voted
unanimously to adjourn the meeting.




              President, Board of Trustees of State Institutions of Higher Learning




           Commissioner, Board of Trustees of State Institutions of Higher Learning
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          CONSENT
          AGENDAS
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1. ASU-MISSISSIPPI INFORMATION TECHNOLOGY SERVICES AGREEMENT
   WITH BLACKBOARD, INC.

  The following document represents the approval of the MS-ITS Board of the
  continuation of a contractual agreement with Blackboard, Inc. for the acquisition of
  software and services for a learning management system hosted by Blackboard for
  Alcorn State University (ASU). The Attorney General’s staff assigned to the MS-ITS
  will review the agreement prior to its execution. The resulting agreement will be
  between Blackboard, Inc. and MS-ITS on behalf of ASU.

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2. DSU-MISSISSIPPI INFORMATION TECHNOLOGY SERVICES AGREEMENT
   WITH ELLUCIAN COMPANY, L.P.

  The following document represents the approval of the MS-ITS Board of the
  continuation of a contractual agreement with Ellucian, L.P. for technology management
  services for the Delta State University (DSU) through June 30, 2015, in an amount not
  to exceed $1,700,000.00. The current contract included a provision that requires written
  notice of a party’s intent to terminate the agreement at least twelve months prior to the
  date of expiration of the existing term. Without proper written notice, the agreement
  will automatically extend for one additional year, with all the same terms and conditions
  then in effect. DSU plans to notify Ellucian prior to June 30, 2014 that the agreement
  will terminate and that DSU will issue a request for proposals during the next year.

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3. MSU-REQUESTS FOR APPROVAL OF CONTRACTUAL SERVICE
   AGREEMENTS

 a. Agenda Item Request: Mississippi State University (MSU) requests approval to
    contract with United Healthcare Insurance Company to provide a group health
    insurance option for graduate assistants, international students and undergraduate
    students for the 2014-2015period.

    Contractor’s Legal Name: United Healthcare Insurance Company (United HC),
    with Holland Insurance Company serving as agent.

    History of Contract: This is a new contract. While MSU has contracted with this
    same firm for several years, each agreement stands on its own as a one year
    agreement. MSU continues to monitor costs and feels that the prices being proposed
    are competitive in the current market. This agreement is in compliance with The
    Affordable Care Act requirements.

    Specific Type of Contract: Group Health Insurance

    Purpose: The purpose of the program is to ensure that students have access to
    acceptable health insurance and reasonable rates. The group rate will be at a new
    premium of $1,305.00 plus the federal tax of $116.00 for a total of $1,421.00, which
    will be the premium charged per student. This is lower than pricing charged for
    individual plans “for the same type coverage”. This is an increase of about $165 per
    year over last year’s agreement.

    The international students are required by MSU to have health insurance as a
    condition of being enrolled. International students may opt out by showing evidence
    of comparable insurance. Domestic student enrollment is voluntary and provided as a
    service to the students needing this type of coverage.

    Scope of Work: United HC will contract with MSU to provide health insurance at
    group rates to graduate students and international students. Under the agreement,
    United HC will provide group insurance coverage, to include standard medical and
    pharmaceuticals. MSU will assist in transmitting rosters of student participants to
    United HC and for collecting student premium payments.

    MSU estimates the program will provide insurance to approximately 100 domestic
    graduate assistants and approximately 530 international students (both graduate and
    undergraduate) during the coming year.
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    Term of Contract: The contract is for one (1) year, August 1, 2014, through July 31,
    2015.

    Termination Options: MSU will be able to terminate the agreement at the end of
    each year. Premium rates are locked in place by a signed application on an annual
    basis.

    Contract Amount: MSU anticipates total premium costs to be approximately
    $895,000 for FY 2015; however, this amount will be dependent on the number of
    student participants. MSU anticipates paying approximately $183,000 toward the
    estimated total cost.

    Funding Source of Contract: Funding for this insurance program comes from
    student payments in the form of charges to student accounts. MSU does reimburse
    Graduate Assistants for a portion of the insurance premium as part of their graduate
    assistant stipend.

    Contractor Selection Process: MSU has been using this firm for several years and
    is very satisfied with the service and believes the rates are very competitive in the
    current market. This contract was last bid out two years ago and the current carrier
    clearly was the best plan for the students.

    Staff Recommendation: Based on Board Policy 707.01, Land, Property and
    Service Contracts, Board approval is required prior to execution of the contract for
    all other land, personal property, and service contracts that require an aggregate
    total expenditure of more than $250,000. The agreement has been reviewed and
    approved by the Attorney General’s Office. Board staff recommends approval of
    this item.

 b. MSU – PERMISSION TO ENTER INTO A MASTER AGREEMENT

   Agenda Item Request: Mississippi State University (MSU) requests permission to
   enter into an agreement with Sirsi Corporation d/b/a SirsiDynix for software for
   members of the Mississippi Library Partnership. In addition, MSU requests permission
   to make revisions to items covered by the agreement provided such revisions do not
   increase any annual expenditure by more than 10%.

   This agreement is pending approval by the Mississippi Department of Information
   Technology Services Board.

   Contractor’s Legal Name: Sirsi Corporation d/b/a SirsiDynix
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    History of Contract: In 1993, MSU issued a bid for a library automation system and
    selected Data Research Associates as the vendor. In 2001, Sirsi Corporation
    purchased Data Research Associates. In 2003, MSU needed either to upgrade to Sirsi
    Corporation’s product line or to issue a bid for a new system. Working with ITS and
    MSU – Procurement and Contracts, MSU received an exemption from ITS to bid
    this product on campus. MSU issued a bid and selected Sirsi Corporation which
    eventually became SirsiDynix. In 2009, MSU entered into a five-year agreement
    with SirsiDynix to lower its annual maintenance fee.

    Specific type of contract: Master Agreement

    Purpose: The purpose of the agreement is to license software used by libraries to
    manage collections to members of the Mississippi Library Partnership. Members
    include: Columbus-Lowndes Public Library; East Mississippi Community College;
    First Regional Library System; Lee-Itawamba Library System; Mid-Mississippi
    Regional Library System; Mississippi State University; Mississippi University for
    Women; Oktibbeha County Public Library; Starkville High School; and Tombigbee
    Regional Library System.

    Scope of Work: SirsiDynix will license the SirsiDynix Library Automation System
    software to members of the Mississippi Library Partnership. In addition, SirsiDynix
    will provide enhancements and maintenance during the term of the agreement.

    Term of contract: The term of the agreement is five years starting on July 1, 2014
    and ending on June 30, 2019.

    Termination Options: Termination options include the following:

          by either party upon default by the other party if such default is not cured
           within thirty days of written notice;
          by MSU for convenience by seven days written notice;
          by MSU in the event of a reduction in funds; and
          by MSU if SirsiDynix fails to comply with applicable e-verify provisions.

    Contract Amount: The total cost of the five-year agreement is $1,079,210.54.

    For the first year of the agreement, MSU will pay SirsiDynix an annual fee of
    $203,681.02. For each subsequent year of the agreement, the annual fee will increase
    by 2.9% over the previous year’s annual fee.

    Funding Source for Contract: Each member of the Mississippi Library Partnership
    will pay MSU for its portion of ongoing partnership costs including the cost of the
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          agreement. Over the term of the agreement, MSU will pay $356,146.49 in
          partnership costs with the remaining portion of partnership costs being paid by other
          members of the partnership.
          Contractor Selection Process: SirsiDynix has consistently provided good service
          and the SirsiDynix Library Automation System software is currently used by the
          members of the Mississippi Library Partnership.

          Staff Recommendation: Based on Board Policy 707.01, Land, Property, and
          Service Contracts, Board approval is required prior to execution of contracts for
          all other land, personal property, and service contracts that require an aggregate
          total expenditure of more than $250,000. This agreement has been reviewed and
          approved by the Attorney General’s Office pending approval by the Mississippi
          Department of Information Technology Services Board and receipt of the
          appropriate CP-1 Form. Board staff recommends approval of this item
          pending approval by the Mississippi Department of Information Technology
          Services Board and receipt of the appropriate CP-1 Form.

   4. MSU-REQUEST FOR APPROVAL OF BUDGET ESCALATION

        Mississippi State University (MSU) requests permission to escalate its FY 2014
        Mississippi Alcohol Safety Education Program Budget from $1,485,371.00 to
        $2,041,076.00 using funds provided by class participants. The escalation will be used
        to meet necessary obligations resulting from greater than anticipated participation in
        the program.


                                          Mississippi State University
                         FY 2014 Mississippi Alcohol Safety Education Program Budget
                                      Original FY                                         Revised FY
                                         2014                                                2014
       Category                                                Revision/Escalation
                                       Operating                                          Operating
                                        Budget                                             Budget
Salaries, Wages, and
                                     $1,089,909.00                    $ 231,866.00        $1,321,775.00
Fringe Benefits
Travel and Subsistence                   69,000.00                       23,726.00           92,726.00
Contractual Services                    182,091.00                     (10,527.00)          171,564.00
Commodities                              48,509.00                       31,681.00           80,190.00
Capital Outlay: Non-
                                         11,000.00                               -           11,000.00
Equipment
Capital Outlay:
                                         44,298.00                        5,336.00           49,634.00
Equipment
Transfers: Mandatory                     40,564.00                               -           40,564.00
Transfers: Non-                                  -                      273,623.00          273,623.00
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      Mandatory
      Increase in Fund Balance                            -                                     -                          -
      Total                                   $1,485,371.00                       $ 555,705.00                 $2,041,076.00
               Staff Recommendation: Based on Board Policy 701.06, Budget Escalations and
               Revisions, all escalations to the annual budgets of the several institutions and to the
               annual budgets of the separately budgeted units must be submitted through the
               Commissioner to the Board of Trustees for approval prior to implementation. Board
               staff recommends approval of this item.

        5. MUW – REQUEST FOR APPROVAL OF BUDGET ESCALATION

              Mississippi University for Women (MUW) requests permission to escalate its FY 2014
              Auxiliary Enterprises Budget from $4,442,028.00 to $4,742,028.00 using fund
              balances not currently authorized for expenditure. The escalation will be used to install
              fire-suppression equipment and to make other enhancements to student housing.

              The increases in Salaries, Wages, and Fringe Benefits and in Travel and Subsistence are
              reclassifications from Contractual Services. The net adjustment to Contractual Services
              is less than Salaries, Wages, and Fringe Benefits and Travel and Subsistence because of
              painting and other Contractual Services associated with enhancements to student
              housing.

                                    Mississippi University for Women
                                   FY 2014 Auxiliary Enterprises Budget
                                           Original FY 2014                                         Revised FY 2014
               Category                                               Revision/Escalation
                                           Operating Budget                                         Operating Budget

Salaries, Wages, and Fringe Benefits   $            499,802.00    $             292,263.00      $            792,065.00

Travel and Subsistence                               10,000.00                   15,100.00                    25,100.00

Contractual Services                              3,077,999.00                 (202,617.00)                2,875,382.00

Commodities                                         189,526.00                   39,100.00                   228,626.00

Capital Outlay: Non-Equipment                                 -                             -                          -

Capital Outlay: Equipment                            66,000.00                  200,000.00                   266,000.00

Transfers: Mandatory                                          -                             -                          -

Transfers: Non-Mandatory                            598,701.00                  256,154.00                   854,855.00
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Increase in Fund Balance                                 -            (300,000.00)           (300,000.00)

Total                               $         4,442,028.00   $         300,000.00    $       4,742,028.00

            Staff Recommendation: Based on Board Policy 701.06, Budget Escalations and
            Revisions, all escalations to the annual budgets of the several institutions and to the
            annual budgets of the separately budgeted units must be submitted through the
            Commissioner to the Board of Trustees for approval prior to implementation. Board
            staff recommends approval of this item.

        6. UM-PERMISSION TO EXECUTE INSURANCE BINDER

            Agenda Item Request: Approval to contract with Aetna Student Health for health
            insurance for graduate assistants and international students.

            Contractor's Legal Name: Aetna Student Health

            History of Contract: This is a new insurance policy, although UM currently provides
            a similar group health insurance policy through Aetna for students who are employed
            as graduate assistants and for international students. The current policy term expires on
            August 14, 2014, and this new policy will have an effective date of August 15, 2014, in
            order to provide continuous coverage. Competitive bids were solicited prior to the current
            policy, and while the current policy allows for renewal, UM is seeking approval of the
            new policy in that some policy terms have been amended to meet requirements of the
            Affordable Care Act.

            Specific Type of Contract: Aetna will partner with UM in providing health insurance
            at group rates to graduate assistants and international students. The former students
            are required by UM to have health insurance as a condition of being employed and the
            latter students are required by federal immigration law to have health and repatriation
            insurance. Either type of student may opt out by showing evidence of comparable
            insurance. Aetna will provide the insurance, to include standard medical coverage and
            pharmaceuticals, and UM assists in transmitting rosters of student participants and
            collecting student payments.

            Purpose: The basic purpose of the program is to assure that students have access to
            health insurance at rates that are lower than individual students could obtain on the
            open market. The group rate (annual premium of approximately $1,710) is substantially
            lower than for an individual insurance plan. Such plans are very common among
            universities with doctoral programs, with approximately 80% of peer institutions
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  having a similar institutionally supported insurance program.

  Scope of Work: We estimate the program will provide insurance to approximately
  700 graduate assistants per year and approximately 350 international students (both graduate
  and undergraduate).

  Term of Contract: The contract will be annual, from August 15, 2014 to August 14,
  2015, with options for mutually agreed upon annual renewals.

  Termination Options: UM will be able to terminate the arrangement at the end of
  each year. Premium rates are locked in place by a signed binder on an annual basis.

  Contract Amount: The total premium paid is dependent on the number of student
  participants. Based on prior year participation rates and projected FY2014
  enrollment forecasts, the estimated FY2014 net premiums paid are expected to be
  approximately $1,9 million. Approximately $1.2 million of this estimate pertains to
  graduate assistants and $750,000 is estimated for international student premiums.

  Funding Source for Contract: Funding for this insurance program is derived from
  several sources: direct bursar billings to students, fringe benefit charges built into
  externally funded contracts and grants, and institutional funds. Graduate assistant
  premiums are funded from a combination of all three of these sources and international
  student premiums are completely covered by direct bursar billings.

  Contractor Selection Process: This vendor was selected following an open bid
  process following state procurement guidelines prior to FY2014 when Aetna was
  selected. Although prior Board approval included policy renewal, this submission is
  made because policy terms are not identical.

  Staff Recommendation: Based on Board Policy 707.01, Land, Property and
  Service Contracts, Board approval is required prior to execution of the contract
  for all other land, personal property, and service contracts that require an
  aggregate total expenditure of more than $250,000. The agreement has been
  reviewed and approved by the Attorney General’s Office. Board staff
  recommends approval of this item.
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7. UM-PERMISSION TO ENTER INTO A FIRE PROTECTION AGREEMENT
   AND RELATED LEASE AGREEMENT

  Agenda Item Request: The University of Mississippi (UM) requests permission to
  enter into a Fire Protection Agreement with The City of Oxford, Mississippi. As part of
  the agreement, UM will lease 1.7 acres to the city to support construction of a new fire
  station on McElroy Drive. Although part of the Fire Protection Agreement, the Lease
  Agreement falls below the threshold requiring Board approval.

  Contractor’s Legal Name: The City of Oxford, Mississippi

  History of Contract: The City of Oxford has provided fire protection services to UM
  since 1986 through a series of agreements. The most recent agreement will expire on
  June 30, 2014.

  Specific type of contract: Fire Protection Agreement and related Lease Agreement

  Purpose: The purpose of the agreement is for UM and The City of Oxford to share fire
  protection services through a single fire department. Both parties have determined that
  sharing such services costs each party less than it would for each party to maintain
  separate fire departments. Further, sharing such services assures consistent, professional
  protection for both parties and assures a better staffed, better trained, and better equipped
  department than either party would be able to maintain separately.

  Scope of Work: The city will provide UM with fire protection services including the
  establishment of a fire protection committee, training, inspections and other fire safety
  measures, fire protection, and other emergency response services. UM will lease to the
  city 1.7 acres to support construction of a new fire station.

  Term of contract: The term of the agreement is four years starting on July 1, 2014 and
  ending on June 30, 2018.

  Termination Options: The agreement will expire on June 30, 2018.

  Contract Amount: The total cost of the four-year agreement is estimated to be
  $2,549,796.86.

  UM will pay The City of Oxford an annual fire protection fee. For the first year of the
  agreement, the annual fire protection fee will be $550,000.00. For each subsequent year
  of the agreement, the annual fire protection fee will be adjusted by the most recent
  annual Consumer Price Index published by the Bureau of Labor Statistics.
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  UM will pay The City of Oxford an annual capital contribution of $75,000.00 to assist
  the city in servicing the bonded indebtedness it incurred to finance construction of the
  new fire station on McElroy Drive. To support construction of the new station, UM will
  lease to the city 1.7 acres adjoining the new station. The city will pay $50.00 per year
  according to the terms of the lease.

                                           Capital            Revenue Lease
               Fire Protection Fee1                                                        Total
                                         Contribution          Agreement
           Y
  Year 1                $550,000.00            $75,000.00                $50.00              $624,950.00
           Y
  Year 2                 558,250.00             75,000.00                 50.00               633,200.00
           Y
  Year 3                 566,623.75             75,000.00                 50.00               641,573.75
           Y
  Year 4                 575,123.11             75,000.00                 50.00               650,073.11
           T
   Total              2,249,996.86            300,000.00                 200.00             2,549,796.86
           1
             In years 2 through 4 of the agreement, the fire protection fee will be adjusted by the most
           recent annual Consumer Price Index published by the Bureau of Labor Statistics. For
           illustrative purposes, UM has used the CPI for 2013 (1.5%).

  Funding Source for Contract: Educational and General Funds

  Contractor Selection Process: The City of Oxford has provided fire protection services
  to UM since 1986 through a series of agreements. The proposed agreement is
  substantially similar to previous agreements. Bids and/or proposals from contractors
  other than the city were not requested as the city is the only contractor with the ability to
  provide such services.

  Staff Recommendation: Based on Board Policy 707.01, Land, Property, and Service
  Contracts, Board approval is required prior to execution of contracts for all other
  land, personal property, and service contracts that require an aggregate total
  expenditure of more than $250,000. This agreement has been reviewed and
  approved by the Attorney General’s Office. Board staff recommends approval of
  this item.

8. UM-REQUEST FOR APPROVAL OF CPA AUDITING FIRM

  Agenda Item Request: The University of Mississippi Research Foundation, an
  affiliated entity of the University of Mississippi requests approval to engage the
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  following CPA firm to conduct its annual audit for fiscal years 2015 and 2016. The IHL
  Board approved a request from the foundation to contract for its FY 2014 audit at the
  March 20th meeting. That March request should have been presented for three full
  years of approval, instead only one year (2014) was actually requested.

  Contractor’s Legal Name: BKD, LLP
  Justification: As per Board Policy 301.0806 D.9., the Certified Public Accounting
  (CPA) firm to be utilized by the Entity must be approved by the IHL Board and all
  requests for approval of the CPA firm must be submitted to the IHL Board for approval
  not later than three months prior to the end of the Entity’s fiscal year for which the audit
  will be conducted.

  Staff Recommendation: Based on Board Policy 301.0806 D.9., University
  Foundation/Affiliated Entity Agreements, the CPA firm to be utilized by the Entity
  must be approved by the IHL Board and all requests for approval of the CPA firm
  must be submitted to the IHL Board for approval not later than three months prior to
  the end of the Entity’s fiscal year for which the audit will be conducted. Board staff
  recommends approval of this item.

9. UMMC-REQUEST FOR APPROVAL OF CONTRACTUAL SERVICE
   AGREEMENTS

  a. Agenda Item Request: The University of Mississippi Medical Center (UMMC)
     requests approval to enter into an agreement with Abbott Laboratories, Inc. for 1)
     the lease of laboratory equipment and, 2) the purchase of equipment maintenance
     and related supplies for diagnostic testing.

     Contractor’s Legal Name: Abbott Laboratories, Inc. (Abbott)

     History of Contract: While this is a new agreement, UMMC currently owns a
     piece of Abbott diagnostic testing equipment and was previously under a contract
     with Abbott for service for the instrument.

     Specific Type of Contract: New Master Agreement with accompanying Price
     Exhibit

     Purpose: The proposed agreement and accompanying price schedule are for the
     lease of testing instruments, the purchase of equipment maintenance, and the
     purchase of related supplies. UMMC will be purchasing supplies for six (6)
     instruments – three (3) Abbott Architect i1000 instruments and three (3) Abbott
     TDx/Flx instruments which are already owned by UMMC.
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     The instruments and associated supplies are used by UMMC transplantation services
     to test for infectious diseases that may be transmitted through blood products and/or
     human organs.

     Scope of Work: Abbott will provide the following:
         the lease of two (2) Architect i1000 instruments,
         maintenance services for one (1) Architect i1000, owned by UMMC
         maintenance services for two (2) Architect i1000, owned by Abbott,
            supplies for use with three (3) Architect i1000 instruments and three (3)
            TDx/Flx instruments, and
         training in the use of the equipment.

     UMMC is responsible for properly operating, maintaining and protecting the
     equipment

     Term of Contract: The term of the agreement is for five (5) years – on or about
     July 1, 2014 through June 30, 2019.

     Termination Options: The agreement may be terminated for the following:

             material breach by either party under the agreement upon sixty (60) days
              written notice of opportunity to cure by the non-breaching party,
             at any time by either party upon ninety (90) days written notice,
             a failure by Abbott to comply with the federal E-Verify program,
             reduction of funds, and
             by Abbott due to UMMC’s unauthorized use of the products.

     Contract Amount: The total estimated cost for the five (5) year contract term is
     $2,853,759, 61. This total includes the following costs:

     1.lease of laboratory equipment - $139,800,
     2.purchase of equipment services for all Architect i1000 instruments - $180,070,
     3.shipping costs - $145,020.28 and,
     4.purchase of supplies in the amount that UMMC anticipates purchasing above the
       minimum amount committed - $2,388,869.33 *commitment of $222,340 over
       term
     Funding Source of Contract: The agreement will be funded by patient revenues.

     Contractor Selection Process: Abbott is an approved vendor contracted with
     Novation, UMMC’s primary group purchasing organization (GPO) pursuant to Miss.
     Code Ann. § 31-7-13(m)(x).
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     Staff Recommendation: Staff Recommendation: Staff Recommendation:
     Based on Board Policy 707.01, Board approval prior to the execution of leases in
     an amount greater than $100,000 is required. The agreement has been reviewed
     and approved by the Attorney General’s Office. Board staff recommends
     approval of this item.

  b. Agenda Request Item: The University of Mississippi Medical Center (UMMC)
     requests approval to enter into an agreement with Gambro Renal Products, Inc. for
     the purchase of solutions for use in Continuous Renal Replacement Therapy.

     Contractor’s Legal Name: Gambro Renal Products, Inc. (Gambro)

     History of Contract: This is a new agreement. UMMC previously purchased the
     solutions through Novation, its Group Purchasing Organization. However, the
     companies through which the solutions were purchased are no longer on GPO.

     Specific Type of Contract: Purchase Agreement

     Purpose: The purpose of this agreement is for the purchase of solutions that are
     used in the treatment of patients who are receiving Continuous Renal Replacement
     Therapy (CRRT).

     CRRT is a type of low dosage hemodialysis that is provided on a continual basis
     over an extended period of time in an ICU setting.

     Scope of Work: Under the agreement, UMMC will purchase the solutions needed
     for CRRT. The solutions are offered at a fixed price for the term of the agreement.

     Term of Contract: The term of the agreement is for three (3) years – July 1, 2014
     through June 30, 2017.

     Termination Options: The agreement may be terminated for the following:

            material breach by Gambro upon thirty (30) days written notice of
             opportunity to cure,
            at any time by UMMC upon thirty (30) days written notice,
            for a failure by UMMC to make timely payment,
            in the event UMMC becomes the subject of insolvency, bankruptcy, or
             receivership,
            for a failure by UMMC to perform any covenant, condition or undertaking of
             the agreement, and
            reduction of funds.
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     Contract Amount: The total estimated cost for the three (3) year contract term is
     $1,827,869.50. The annual estimated costs are as follows and include an annual 3%
     increase in the quantity of boxes purchased:
                            Quantity of              Cost per
                                                                            Total Cost
                            Boxes/Cases              Box/Case

       Year 1               17411                    $33.50                $583,268.50

       Year 2               17934                    $33.50                $600,789.00

       Year 3               18472                    $33.50                $618,812.00

       Shipping if needed                                                  $25,000

        Total                                                              $1,827,869.50




     Funding Source of Contract: The agreement will be funded by patient revenues.

     Contractor Selection Process: UMMC sought proposals through Invitation for Bid
     (IFB) #3556 for the purchase of hemodialysis solutions. Two (2) vendors responded
     to the IFB – Gambro Renal Products, Inc. and NxStage Medical, Inc. Under the IFB,
     UMMC had the option to award the bid to multiple vendors if they met the
     specifications outlined in the bid documents, therefore, UMMC elected to award
     contracts to both of the responding vendors.

     Staff Recommendation: Based on Board Policy 707.01, Land, Property and
     Service Contracts, Board approval is required prior to execution of the contract
     for all other land, personal property, and service contracts that require an
     aggregate total expenditure of more than $250,000. The agreement has been
     reviewed and approved by the Attorney General’s Office. Board staff
     recommends approval of this item.

  c. Agenda Item Request: The University of Mississippi Medical Center (UMMC)
     requests approval to enter into a three (3) year Maintenance Payment Plan
     Agreement with Infor, Inc. This agreement is an addendum to the Master Terms
     between UMMC and Infor, Inc.

     Contractor’s Legal Name: Infor (US), Inc. formerly Lawson Software
     Americas, Inc. (Infor)
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     History of Contract: UMMC originally purchased the Infor Human Resources and
     Payroll System in 2002 and subsequently the Infor Absence Management module in
     2006. With the purchase of this module, UMMC and Infor also negotiated a Master
     Terms and Conditions Agreement to allow for the purchase of future Infor software
     modules without extensive contract negotiation.

     In November 2008, the IHL Board approved UMMC’s purchase of the Infor
     Enterprise Resource Planning (ERP) software suites to be used in the areas of
     financials, procurement, and business intelligence for a total cost of $2,505,800. Of
     this total, software costs were $1,580,800, and maintenance fees were $925,000 with
     a 4% annual increase allowed for maintenance. The approved contract period was
     December 1, 2008 to November 30, 2011.

     The purchase of a Bronze level maintenance plan was approved by the Board in May
     2011 for a three (3) year term (June 1, 2011 through June 30, 2014) at a cost of
     $1,648,021.63. At its June 2012 meeting, the IHL Board approved an upgrade in
     maintenance from the Bronze Maintenance plan to the Silver Maintenance plan
     which provided a dedicated Support Account Manager, priority status regarding
     software issues, and a more rapid response time for repairs. The term of the
     maintenance agreement was for two (2) years, July 1, 2012 through June 30, 2014, at
     a cost of $125,000 which increased the overall maintenance agreement cost to
     $1,773,021.63.

     In October of 2013, the IHL Board approved UMMC’s request to amend its Infor
     Master Terms and Conditions Software End User Agreement to allow for a
     reconciliation of Management and Employee self-serving licensing from a level of
     7,500 users to the current 10,000, adding a cost of $108,500.00 to the current
     agreement. In addition, the Master agreement called for Infor to sublicense to
     UMMC the BSI Software System, which is provided by Business Software, Inc.
     (BSI). The BSI Software System provides the BSI TaxFactory and Server Platform
     from Sun (OS) – Solaris (Oracle). BSI required UMMC to sign a Platform Version
     Change Requirement Agreement, in order to move to a new platform version called
     Server Platform RS6000, operating system AIX, (Oracle). This allowed the
     TaxFactory software to migrate to the upgraded Infor platform change. The cost of
     that amendment was $119,350.00, which brought the total cost of the Infor
     agreement to $1,892,371.63.

     Also in October 2013, the IHL retroactively approved an emergency purchase of
     Micro Focus servers, which were purchased in November 2012. These servers
     allowed for an upgrade to the current operating platform of the Infor System. The
     request included using a MicroFocus Compiler and Runtime license upgrade at a
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     cost of $12,840.00 along with a no cost Platform Change Addendum to the Master
     Agreement.

     Specific Type of Contract: Addendum to the Master Terms and Conditions
     Agreement.

     Purpose: The purpose of the agreement is to purchase three (3) years of software
     maintenance and support with Infor. This addendum will allow UMMC to continue
     using the Infor Financial, Human Resources, Grants, and Supply Chain suites as well
     as download the latest modification to the software. This addendum will also allow
     UMMC to receive technical support from Infor as needed.

     Scope of Work: Under the agreement, Infor will provide support and maintenance
     for the Infor products currently licensed to UMMC, which include the Infor
     Financial, Human Resources, Grants, and Supply Chain suites. Additionally, Infor
     will provide for all necessary upgrades or modifications to the system and supply
     technical support for Infor as required.

     Term of Contract: The term of the agreement is for three (3) years beginning July
     1, 2014 through June 30, 2017.

     Termination Options: The agreement may be terminated in the event of any
     reduction in available funds to UMMC, without penalty to UMMC.

     Contract Amount: The cost of this addendum is $1,782,088.50 over three (3) years.
     This will bring the total cost of the Infor maintenance agreement to $3,674,460.13.
     The breakdown per year for this addendum is below.


                        Support Renewal Period          Annual Support Fees
                   July 1, 2014 through June 30, 2015      $570,889.45
                   July 1, 2015 through June 30, 2016      $593,725.02
                   July 1, 2016 through June 30, 2017      $617,474.03

     Funding Source of Contract: The addendum will be funded by general funds.

     Contractor Selection Process: UMMC is currently contracted with Infor for the
     provision of various Human Resource, Supply Chain and Financial Applications.

     Staff Recommendation: Based on Board Policy 707.01, Land, Property and
     Service Contracts, Board approval is required prior to execution of the contract
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     for all other land, personal property, and service contracts that require an
     aggregate total expenditure of more than $250,000. The agreement has been
     reviewed and approved by the Attorney General’s Office. Board staff
     recommends approval of this item.

  d. Agenda Item Request: The University of Mississippi Medical Center (UMMC)
     requests approval to enter into an agreement with NxStage Medical, Inc. for the
     purchase of solutions for use in Continuous Renal Replacement Therapy.
     Contractor’s Legal Name: NxStage Medical, Inc. (NxStage)
     History of Contract: This is a new agreement; however, UMMC has contracted
     with NxStage for dialysis supplies and equipment since 2008. The Board most
     recently approved an agreement with NxStage in October 2013 for dialysis
     equipment and supplies used by patients in a home setting.

     Specific Type of Contract: Purchase Agreement

     Purpose: The purpose of this agreement is for the purchase of NxStage PureFlow
     solution that is used in the treatment of patients who are receiving Continuous Renal
     Replacement Therapy (CRRT).

     CRRT is a type of low dosage hemodialysis that is provided on a continual basis
     over an extended period of time in an ICU setting.

     Scope of Work: Under the agreement, UMMC will purchase the solution needed
     for CRRT. The PureFlow solution is offered at a fixed price for the term of the
     agreement.

     Term of Contract: The term of the agreement is for three (3) years – July 1, 2014
     through June 30, 2017.

     Termination Options: The agreement may be terminated for the following:

            for a failure by UMMC to make timely payment,
            in the event UMMC becomes the subject of insolvency, bankruptcy, or
             receivership,
            for a failure by NxStage to comply with the federal E-Verify program, and
            reduction of funds.

     Contract Amount: The total estimated cost for the three (3) year contract term is
     $1,827,869.50. The annual estimated costs are as follows and include an annual 3%
     increase in the quantity of boxes purchased:
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                              Quantity of        Cost per Box/Case         Total Cost
                              Boxes/Cases
           Year 1                       17411                $35.54            $618,786.94
           Year 2                       17934                $35.54            $637,374.36
           Year 3                       18472                $35.54            $656,494.88
      Shipping if needed                                                          $25,000
            Total                                                            $1,937,656.18

     Funding Source of Contract: The agreement will be funded by patient revenues.

     Contractor Selection Process: UMMC sought proposals through Invitation for Bid
     (IFB) #3556 for the purchase of hemodialysis solutions. Two (2) vendors responded
     to the IFB – Gambro Renal Products, Inc. and NxStage Medical, Inc. Under the IFB,
     UMMC had the option to award the bid to multiple vendors if they met the
     specifications outlined in the bid documents, therefore, UMMC elected to award
     contracts to both of the responding vendors.

     Staff Recommendation: Based on Board Policy 707.01, Land, Property and
     Service Contracts, Board approval is required prior to execution of the contract
     for all other land, personal property, and service contracts that require an
     aggregate total expenditure of more than $250,000. The agreement has been
     reviewed and approved by the Attorney General’s Office. Board staff
     recommends approval of this item.

  e. Agenda Item Request: The University of Mississippi Medical Center (UMMC)
     requests approval to enter into a five (5) year software license agreement with
     TheraDoc, Inc., to provide a clinical expert software system that continuously
     monitors and analyzes patient data from multiple and disparate sources including
     pharmacy, clinical laboratory, microbiology laboratory, surgery, admissions and
     radiology.
     The software creates almost real time information regarding infection related events
     and alerts UMMC’s Infection Prevention Practitioners (IPPS) of such events. This
     information is used in meeting regulatory and accreditation measures as established
     by agencies such as Centers for Medicare and Medicaid Services (CMS), The Joint
     Commission (TJC), and aids in infection prevention and control practices This
     information also allows UMMC to meet other patient care issues that require prompt
     infection prevention intervention.

     Contractor’s Legal Name: TheraDoc, Inc. (TheraDoc)
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     History of Contract: In July 2004, the Board approved UMMC’s request to enter
     into a five (5) year agreement with TheraDoc, Inc. for the implementation of a
     clinical expert software system in the amount of $2,500,000.00.

     In October 2009, the Board approved the request to enter into a renewal agreement
     with TheraDoc, Inc. for the continued license and support for the clinical expert
     software system. The agreement term was for a period of four (4) years and eight (8)
     months with effective dates of November 1, 2009 through June 30, 2014. The
     approved cost of the agreement was $474,275.00.

     Specific Type of Contract: Software license and support agreement.

     Purpose: The purpose of the agreement is to allow UMMC to utilize this software
     to meet the needs of patients as well as any regulatory and accreditation standards in
     infection prevention.

     Scope of Work: Under the agreement, TheraDoc will provide the following:

      TheraDoc grants to Customer a limited, nonexclusive and non-transferable right
     to use the TheraDoc software application;

      TheraDoc shall provide maintenance and support services; and

      From time-to-time, TheraDoc may develop bug fixes or patches or release to
     UMMC new versions of the TheraDoc product free of charge.

     Term of Contract: The term of the agreement shall be for a period of five (5) years
     beginning on July 1, 2014 and ending June 30, 2019.

     Termination Options: The agreement may be terminated as follows:

      Without cause provided sixty (60) days written notice to the other party is given;

      As a result of a material breach upon not less than thirty (30) days prior written
     notice by the non-breaching party to the breaching party unless such breach is cured
     within the thirty (30) day period;

      Failure by TheraDoc to comply with federal E-Verify Program; and

      In the event of any reduction in available funds to UMMC, the contract may be
     terminated without penalty to UMMC.
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     Contract Amount: The estimated amount of this agreement is $539,000.00 with the
     breakdown of expenditures listed below:

     Year One Software Fee        $ 107,000.00
     Year Two Software Fee        $ 107,000.00
     Year Three Software Fee      $ 107,000.00
     Year Four Software Fee       $ 107,000.00
     Year Five Software Fee       $ 107,000.00
     Travel (if appllicable)      $   4,000.00
            Estimated Total       $ 539,000.00

     Funding Source of Contract: The agreement will be funded by patient revenues.

     Contractor Selection Process: TheraDoc has been the vendor for the clinical
     expert software since 2004.

     Staff Recommendation: Based on Board Policy 707.01, Land, Property and
     Service Contracts, Board approval is required prior to execution of the contract
     for all other land, personal property, and service contracts that require an
     aggregate total expenditure of more than $250,000. The agreement has been
     reviewed and approved by the Attorney General’s Office. Board staff
     recommends approval of this item.

  f. Agenda Item Request: The University of Mississippi Medical Center (UMMC)
     requests permission to enter into a consolidated master agreement with Truven
     Health Analytics, Inc. to access its Micromedex database.

     Contractor’s Legal Name: Truven Health Analytics, Inc. (Truven)

     History of Contract: UMMC has used the Micromedex database for over fifteen
     years. However, the term of each agreement was short and the cost of each
     agreement was less than the threshold requiring Board approval. The most recent
     agreement started on July 1, 2013 and will end on June 30, 2014 and cost
     $124,478.02.

     Specific type of contract: Consolidated Master Agreement

     Purpose: The purpose of the agreement is for Truven to allow UMMC to access its
     Micromedex database, an online, evidence-based database that contains information
     about drugs, toxicology, diseases, acute care, and alternative medicine. It is used by
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    healthcare professionals to make informed clinical diagnoses and treatment
    decisions. Without access to the database, UMMC personnel will lose the ability to
    identify and research medication and its use in therapy.

    Scope of Work: Truven grants UMMC a non-exclusive, non-transferable, revocable,
    limited license to access the Micromedex database. Licensed content will include the
    Micromedex Complete Clinical Evidence Bundle that consists of the following:

          Standard and Expanded Drug Information;
          Standard and Expanded Disease Information;
          Standard and Expanded Toxicology Information;
          Standard and Expanded Alternative Medicine Information;
          Lab Recommendations;
          Medication Instructions;
          Standard NeoFax Drug Information;
          Standard Pediatric Drug Information;
          Integration-Disease Drug and Laboratory;
          Formulary Considerations;
          Reproductive Effects;
          TOMES System;
          Micromedex CareNotes;
          Martindale; and
          Web Hosting.

    Term of contract: The term of the agreement is three years starting on July 1, 2014
    and ending on June 30, 2017.

    Termination Options: Termination options include the following:

          by UMMC upon thirty days written notice prior to the anniversary date of the
           agreement;
          in the event of breach of any material term or condition that is not cured by
           the breaching party within thirty days prior to written notice;
          in the event either party files or is forced into a bankruptcy proceeding;
          by either party upon five days written notice if outside counsel finds it
           necessary to protect its legal liability to third parties, it has reasonable
           evidence of the other party’s fraud or illegal use of the products, or it is
           required by legal or regulatory action;
          by Truven if it no longer has the necessary right from any third party whose
           content or software is included in a product provided under an Order Form or
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             if continuing to provide the product no longer is a commercially reasonable
             option;
            in the event of any reduction in available funds to UMMC, the contract may
             be terminated without penalty to UMMC; and
            failure by Truven to comply with the federal E-Verify Program.

     Contract Amount: The total cost of the three-year agreement is $404,113.39. The
     cost for each year of the agreement is shown in the table below:

                   Year 1                    $       129,457.14
                   Year 2                            134,635.42
                   Year 3                            140,020.83
                   Total                     $       404,113.39

     Funding Source for Contract: Patient Revenues.

     Contractor Selection Process: Sole Source as certified by the Mississippi
     Department of Information Technology Services. Unlike other information system
     vendors, Truven’s Micromedex database has the distinction of maintaining a full-
     time, in-house editorial staff of professionals responsible for preserving the accuracy
     and quality of the easy-to-use database. An international editorial board comprised of
     more than 400 leading specialists contributes to the system's peer-reviewed
     information. The unbiased, full-text documents presented in the database are
     thoroughly researched, evaluated, and referenced based on the world's leading
     medical literature.

     Staff Recommendation: Based on Board Policy 707.01, Land, Property, and
     Service Contracts, Board approval is required prior to execution of contracts for
     all other land, personal property, and service contracts that require an aggregate
     total expenditure of more than $250,000. This agreement has been reviewed and
     approved by the Attorney General’s Office. Board staff recommends approval
     of this item.

  g. Agenda Item Request: The University of Mississippi Medical Center (UMMC)
     requests approval to enter into a one (1) year agreement with Valley to provide food
     services at the UMMC-Grenada facility.

     Contractor’s Legal Name: Valley Services, Inc. (Valley)

     History of Contract: Valley provided the Grenada Lake Medical Center (GLMC)
     this service prior to UMMC leasing the facility. Currently this relationship
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     continues on a month-to-month, purchase order basis. The leadership team at
     UMMC-Grenada would like to continue this service until a thorough financial and
     operational analysis can be performed for providing food services to the facility.

     Specific type of contract: This is a service agreement.

     Purpose: The purpose of the agreement is to provide food services to UMMC at the
     UMMC-Grenada facility.

     Scope of Work: Under this agreement Valley will be responsible for the following:

          The preparation of meals.
          Performing all buying and record keeping functions for perishable food and
           related sundries.
          Training of food service employees.
          Furnishing supervisory personnel to establish and maintain high operational
           standards.
          Instituting reliable food cost control methods.
          Maintaining the production kitchen and equipment (the "Food Preparation
           Facilities") in a sanitary condition and at the termination of the agreement
           surrender the Food Preparation Facilities to UMMC in as good condition as
           tendered, ordinary wear and tear excepted.
          Valley will provide management of the vending services, which may be
           performed through a subcontractor; any related agreement will be by and
           between Valley and the subcontractor.
          Valley will be responsible for ensuring the proper inventory of small wares
           (i.e. silver ware, linens, dishes, etc.) and shall notify UMMC of any inventory
           issues.

     UMMC will be responsible for the following:

          Providing and furnishing the Food Preparation Facilities and food storage
           areas.
          Providing for the proper repair and maintenance of the Food Preparation
           Facilities, including plumbing, wiring, or equipment, through its own
           maintenance staff or by hiring an outside service. UMMC will not be
           responsible for repairs and maintenance to the facilities or equipment if
           damage is caused by Valley.
          Replacing, as necessary, any part of the Food Preparation Facilities.
          Maintenance of the Food Preparation Facilities in accordance with all laws,
           regulations, orders, directives, statutes, and other rules of any federal, state, or
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            local government bureau or department applicable to the Food Preparation
            Facilities.
           Providing and furnishing Valley with a suitable office for the exclusive use of
            Valley and its managers.
           As part of this agreement, UMMC will provide and employ all food service
            employees with the exception of two (2) management-level employees
            provided by Valley. The UMMC employee costs associated with operation
            are not part of this contract.

     Term of contract: The term of this agreement is one (1) year beginning July 1,
     2014 and ending June 30, 2015.

     Termination Options: This agreement may be terminated for the following
     reasons:

           UMMC may terminate this agreement with or without cause provided ninety
            (90) days written notice is given to the vendor;
           Either party may terminate this agreement in the event of uncured event; and
           Failure by Valley to comply with the federal E-Verify Program.

     Contract Amount: The estimated cost of this agreement is $530,788.69 with a
     breakdown of the estimated cost below.


                     Description                   Estimated Cost

     Management Fee                            $           49,700.00
     Labor Fee                                             79,383.02

     Food                                                 561,632.30

      Other                                               155,924.94
      Operating Subsidy from cash revenue
     received by Valley                                  (315,851.56)

                 Total Estimated Costs         $          530,788.70



     UMMC estimated the costs for the following categories: food, labor, and other
     expenses (which includes any cost increases as specified in the agreement) by
     multiplying the historical average cost by fifteen percent (15%).

     Funding Source for Contract: This contract will be funded by patient revenues.
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     Contractor Selection Process: Grenada Lake Medical Center had contracted with
     Valley to provide food services prior to UMMC assuming management of the
     healthcare facility. Due to the service being in place, we are continuing the
     agreement for one year so UMMC-Grenada leadership can develop a long-term
     strategy. UMMC is in the process of developing an RFP for long-term services,
     which could also be written to include outsourcing operations at UMMC’s Holmes
     County (Lexington) Hospital operation.

     Recommendation: Based on Board Policy 707.01, Land, Property, and Service
     Contracts, Board approval is required prior to execution of contracts for all other
     land, personal property, and service contracts that require an aggregate total
     expenditure of more than $250,000. This agreement has been reviewed and
     approved by the Attorney General’s Office. Board staff recommends approval
     of this item.

  h. Agenda Item Request: The University of Mississippi Medical Center (UMMC)
     requests approval for an amendment to the pricing agreement with Viracor – IBT
     Laboratories, Inc. for off-site clinical laboratory testing.

     Contractor’s Legal Name: Viracor – IBT Laboratories, Inc. (V-IBT)

     History of Contract: UMMC is currently under contract with V-IBT. The previous
     agreement was approved by the Board at its April 18, 2013 meeting. The agreement
     was for a term of three years from May 1, 2013 through April 30, 2016, at an
     estimated cost of $1,890,300.00 over the term. This amendment will add a new test
     to the agreement.

     Specific Type of Contract: Clinical Laboratory Services agreement.

     Purpose: The purpose of the agreement is for the provision of referred clinical
     laboratory services for Immunology testing for HIV patients. In addition, UMMC
     will be able to access patient test results online through V-IBT’s website and
     Retriever System. The test results are used by UMMC physicians to identify the
     regimen of medications most effective for a particular patient. This amendment will
     add a new test to the agreement.

     Scope of Work: Under the agreement, V-IBT will perform laboratory testing at its
     lab in Missouri and then provide online access to patient results. UMMC will collect,
     package, and ship to V-IBT all specimens that are to be tested at V-IBT’s lab and
     supply the names of all UMMC laboratory personnel who will need access to the V-
     IBT website and Retriever System for accessing patient results.
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     Term of Contract: The term of the agreement is for three (3) years beginning on or
     about May 1, 2013 through April 30, 2016. The amendment will begin on July 1,
     2014.

     Termination Options: The agreement may be terminated in the event of any
     reduction in available funds to UMMC, without penalty to UMMC.

     Contract Amount: UMMC estimates the cost of the amendment will be
     $3,500,000.00 over the remaining two (2) years of the three (3) year total term, for a
     total contract cost of $4,130,100.00. The estimated cost is based upon historical data
     and increases in patient volume beyond original predictions. The cost breakdown is
     as follows:

                               Year 1       Year 2      Year 3       Total
     Original Estimates    $ 630,100 $ 630,100 $ 630,100 $ 1,890,300
     Amended Estimates $ 630,100 $ 1,750,000 $ 1,750,000 $ 4,130,100
     Amount Increase       $          -   $ 1,119,900 $ 1,119,900 $ 2,239,800
     % increase                0.0%        177.7%       177.7%      118.5%

     Funding Source of Contract: The current agreement will be funded by patient
     revenues.

     Contractor Selection Process: V-IBT is the current provider of lab services for
     UMMC and was chosen based on the available selection of immunology testing and
     its turnaround time with testing results. All of the available labs are in other states
     with V-IBT’s Missouri location being the closest in proximity. As a result, this lab
     can assure UMMC of a 24 hour turnaround time in producing test results.

     Staff Recommendation: Based on Board Policy 707.01, Land, Property and
     Service Contracts, Board approval is required prior to execution of the contract
     for all other land, personal property, and service contracts that require an
     aggregate total expenditure of more than $250,000. The agreement has been
     reviewed and approved by the Attorney General’s Office. Board staff
     recommends approval of this item.
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      UMMC – REQUEST FOR APPROVAL OF 3 RELATED AGREEMENTS FOR
      UMMC-GRENADA

      i. Agenda Item Request: The University of Mississippi Medical Center (UMMC)
         requests approval of an asset purchase agreement with Grenada Diagnostic
         Radiology, LLC.

          Contractor’s Legal Name: Grenada Diagnostic Radiology, LLC

          History of Contract: New Agreement

          Specific type of contract: Asset Purchase Agreement

          Purpose: The asset purchase agreement will allow UMMC to acquire Grenada
          Diagnostic Radiology, LLC, which will allow UMMC to expand radiology
          outpatient services for the citizens of Grenada and to further the resident education
          program in a rural healthcare setting. The acquisition will provide an efficient and
          convenient location for UMMC patients to receive services. The overarching
          purpose of the agreement is to establish an improved system of access to healthcare
          and healthcare information for the citizens of Grenada and the surrounding areas.

          Scope of Work: The University of Mississippi Medical Center agrees to pay
          Grenada Diagnostic Radiology, LLC $481,245.00 for the sale and transfer of all
          assets per the terms and conditions of the Asset Purchase Agreement.

          Term of contract: Assets Purchase with estimated date of ownership July 1, 2014.

          Termination Options: NA

          Contract Amount: $481,245.00 Asset Purchase

                              2014 Projected        2015 Projected        2016 Projected
Purchased FM Assets            $      (201,000)
Purchased FM Clinic Value      $      (280,245)


Net revenues                   $       992,750       $   1,022,533         $   1,053,209


Less: Personnel Expense        $       157,519       $    162,244          $    167,111
     Direct Medical Expense    $       405,429       $    412,803          $    420,388
     Admin. & Operating        $        47,817       $     45,492          $      44,412
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 Project net income             $          (99,259)   $    401,994         $     421,297


Net cash flow                   $          (99,259)   $    401,994         $     421,297


Cumulative net cash flow        $          (99,259)   $    302,735         $     724,032




Profitability Measures
Cost of Capital                 4.00%
Net present value (NPV)         $650,756
Internal rate of return (IRR)   63.33%
Modified IRR (MIRR)             37.55%
Payback (Years)                 1.25
Payback (Months)                15


          Funding Source for Contract: Funding for the project is derived from patient
          revenues generated by the facility. The projected return on investment is 15 months
          with an IRR of 61.41%.

          Contractor Selection Process: NA

          Staff Recommendation: Based on Board Policy 707.01, Land, Property and
          Service Contracts, Board approval is required prior to execution of the contract for
          all other land, personal property, and service contracts that require an aggregate
          total expenditure of more than $250,000. The agreement has been reviewed and
          approved by the Attorney General’s Office. Board staff recommends approval of
          this item.

     j. Agenda Item Request: The University of Mississippi Medical Center (UMMC)
        requests approval to lease a mobile PET/CT Scanner from Insight Health
        Corporation in conjunction with the acquisition of the Grenada Diagnostic
        Radiology, LLC.

          Contractor’s Legal Name: Insight Health Corporation
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   History of Contract: This is a new contract. UMMC Grenada is requesting approval
   to acquire Grenada Diagnostic Radiology, LLC. Grenada Diagnostic Radiology, LLC
   currently holds the Certificate of Need (CON) for mobile Position Emission
   Tomography (PET) Services awarded to them from the Mississippi State Department
   of Health in March 2005. Insight Health Corporation currently holds the CON for PET
   Equipment. Grenada Diagnostic Radiology, LLC has engaged in a partnership with
   Insight Health to provide PET services since 2005.

   Specific type of contract: Lease and Operating Agreement for a mobile Position
   Emission Tomography (PET).

   Purpose: The lease and operating agreement allows UMMC Grenada to expand the
   educational needs for the resident education program in a rural healthcare setting.
   UMMC Grenada currently cannot provide PET services to its patients and this
   agreement will provide opportunity to offer the services. The agreement will assist
   UMMC in addressing the educational needs of our state’s training physicians and to
   provide medical education to referral/teaching physicians that in turn enhance the
   expertise of UMMC. The overarching purpose of the agreement is to establish an
   improved system of access to healthcare and healthcare information for the citizens of
   Grenada, Mississippi and the surrounding areas.

   Scope of Work: Insight Health Corporation agrees to lease a mobile position
   emission tomography (PET) to UMMC per the terms negotiated in the lease and
   operating agreement. The agreement provides UMMC the opportunity to provide PET
   services to its patients.

   Term of contract: The term of the agreement shall be for a period of three (3) years
   beginning July 10, 2014. The term shall be extended automatically for two (2)
   successive periods of one (1) year each unless either party notifies the other in writing
   of its intention not to extend the initial term or any extension thereof at least one
   hundred eighty (180) days prior to expiration of the initial term or any extension
   thereof.

   Termination Options: The termination options are as follows:

          By InSight giving UMMC at least thirty (30) days prior written notice
           specifying the date of termination if any legislative or judicial body,
           governmental agency, or accrediting body makes or interprets a law, rule or
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           regulation which, in the reasonable judgment of InSight, adversely affects
           InSight's ability to perform its obligations under this Agreement.
          In the event of a breach of a material provision of the agreement, the non-
           breaching party shall provide the breaching party with written notice setting
           forth the alleged breach. The breaching party shall cure said breach within
           thirty (30) days of receipt of the written notice, or if such breach cannot
           reasonably be cured within thirty (30) days shall commence to cure said
           breach within thirty (30) days and thereafter diligently pursue curing of such
           breach. If the breaching party fails to cure said breach within the above-
           described time, the non-breaching party may terminate the agreement upon at
           least ten (10) days prior written notice to the breaching party.
          By InSight upon ten (10) days prior written notice to UMMC if UMMC's
           account for amounts due pursuant to the agreement is more than forty-five
           (45) days past due and such amount is not paid in full within five (5) days of
           receipt of written notice.
          By InSight, at its sole discretion, immediately upon written notice to UMMC
           in the event a state agency suspends, rescinds or modifies a required CON for
           the provision of PET services hereunder that adversely affects InSight’s
           ability to fulfill its obligations under the agreement.
          By InSight immediately upon written notice to UMMC in the event UMMC's
           license is suspended, revoked or cancelled or UMMC becomes debarred,
           suspended, excluded or otherwise ineligible to participate in any federal or
           state health program.
          By either party upon written notice to the other party in the event either party
           is the subject of any state or federal bankruptcy, insolvency, receivership or
           liquidation proceedings and such proceedings remain undismissed after ninety
           (90) days from the date of filing.
          By either party upon one hundred and eighty (180) days written notice to the
           other party without cause.

   Contract Amount: Since UMMC’s total Medicare reimbursement per procedure (i.e.
   the reimbursement for the radiopharmaceutical and the scan itself) has been reduced,
   UMMC shall be charged $5,600, plus any applicable sales tax, per day for the lease
   and operation of the mobile PET Scanner (such rate does not include the cost of
   radiopharmaceuticals). In the event UMMC schedules patients beyond the Daily
   Operating Period, UMMC shall be charged an additional fee of $150 for each fifteen
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   (15) minute increment (or any portion thereof) in excess of the Daily Operating
   Period.

   The parties further agree that in the event UMMC’s Medicare reimbursement per
   procedure is increased in the future, both parties shall renegotiate in good faith a new
   fee structure to adjust rates accordingly.

   The mobile PET Scanner and operations will be provided at UMMC’s designated site
   every other week starting on the Service Commitment Date and not to exceed twenty-
   six (26) operating days a year (“Operating Days”).

                          Lease Cost per Operating                    Total Annual Rent
     Year
                          Day
                                                                     $             145,600.00
     1                     $                5,600.00
                                                                     $             145,600.00
     2                     $                5,600.00
                                                                     $             145,600.00
     3                     $                5,600.00
                                                                     $             145,600.00
     4                     $                5,600.00
                                                                     $             145,600.00
     5                     $                5,600.00


                                                                     $             436,800.00
     Total Cost For Initial Lease
                                                                     $             728,000.00
     Total Cost For Lease Including Extensions


    Funding Source for Contract: This contract will be funded by general funds.
    Contractor Selection Process: Contractor is the established partner of the medical
    practice being acquired and the contractor owns the CON for PET Equipment.

    Staff Recommendation: Staff Recommendation: Staff Recommendation: Based
    on Board Policy 707.01, Board approval prior to the execution of leases in an
    amount greater than $100,000 is required. The agreement has been reviewed and
    approved by the Attorney General’s Office. Board staff recommends approval of
    this item.
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  k. Agenda Item Request: The University of Mississippi Medical Center (UMMC
     Grenada) requests approval to lease 3000 square feet of space located in Suite U of
     the Grenada Medical Complex, located at 1300 Sunset Drive, Grenada, MS.

    Contractor’s Legal Name: Physicians Realty L.P. dba DOC-GRENADA MOB,
    LLC

    History of Contract: This is a new contract. This lease is a part of the UMMC
    Grenada request to purchase Grenada Diagnostic Radiology, LLC, which currently
    uses the space to conduct business. Grenada Diagnostic Radiology, LLC has
    conducted operations from this location since December 1, 2001.

    Specific type of contract: Lease Agreement for Clinical Space

    Purpose: The purpose of this agreement is to address the educational needs of our
    state’s training physicians and to provide medical education to referral/teaching
    physicians that in turn enhance the expertise of UMMC Grenada. The space allows
    UMMC Grenada to expand the educational needs for the resident education program
    in a rural healthcare setting. The overarching purpose of the agreement is to establish
    an improved system of access to healthcare and healthcare information for the
    citizens of Grenada, Mississippi and the surrounding areas.

    Scope of Work: DOC-Grenada MOB, LLC agrees to lease 3000 square feet of
    medical office space to the UMMC Grenada per the terms negotiated in the lease
    agreement. This agreement provides UMMC the opportunity to provide convenient
    outpatient radiological services to the citizens of Grenada, Mississippi and the
    surrounding areas.

    Term of contract: The term of the lease shall be for a period of sixty (60) months
    beginning July 1, 2014.

    Termination Options: Either party can terminate this agreement with 180 day notice
    to the other party.

    Contract Amount: The total cost for lease agreement amount is $441,846.98. The
    initial base year cost is $28.02 per square foot or $84,060.00 for the first year. Each
    year thereafter, the rent rate will escalate 2.5% as shown below:
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                                       Rent Rate per              Total Annual
                     Year
                                       Square Foot                Rent
                        1                   $   28.02              $   84,060.00
                        2                   $   28.72              $   86,161.50
                        3                   $   29.44              $   88,315.54
                        4                   $   30.17              $   90,523.43
                        5                   $   30.93              $   92,786.51

                     Total Cost For Lease                         $ 441,846.98


    Funding Source for Contract: This contract will be funded by general funds.

    Contractor Selection Process: Established location of the medical practice being
    acquired.

    Staff Recommendation: Staff Recommendation: Staff Recommendation: Based
    on Board Policy 707.01, Board approval prior to the execution of leases in an
    amount greater than $100,000 is required. The agreement has been reviewed and
    approved by the Attorney General’s Office. Board staff recommends approval of
    this item.

10. USM-REQUESTS FOR APPROVAL OF CONTRACTUAL SERVICE
    AGREEMENT

  Agenda Item Request: The University of Southern Mississippi (USM) requests
  approval to enter into a lease agreement with Southern Diversified Products, LLC for
  approximately 1,785 square feet of office and laboratory space in USM’s Accelerator
  Building located on the Hattiesburg campus.

  Contractor’s Legal Name: Southern Diversified Products, LLC (SDP)

  History of Contract: New Agreement

  Specific Type of Contract: Revenue lease agreement

  Purpose: The purpose of the agreement is to lease spaces 174, 205, 206 and 207 in
  USM’s Accelerator Building to SDP for use by the company’s scientists and
  professional support personnel. SDP proposes to use the office and laboratory spaces for
  the research and production of architectural coatings.
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  Scope of Work: Under the agreement, USM, as Lessor, will provide utilities, janitorial
  services and, routine maintenance and repair.

  SDP is responsible for the timely payment of rent, for using the premises only for its
  intended purpose, for the provision of telephone and internet service, and for
  maintaining an approved laboratory management plan for safety purposes.

  Term of Contract: The total lease term is for a five (5) year period, July 1, 2014
  through June 30, 2019. The term includes an initial one-year period and four (4) one-
  year automatic renewal periods.

  In addition, a “transitional period” will begin on June 20, 2014 and end on June 30, 2014
  in order for SDP to install equipment and related infrastructure into the leased premises.

  Termination Options: The agreement may be terminated for the following:

           by either party upon sixty (60) days written notice prior to the expiration of
            the then current lease term,

           by either party upon an uncured default under the terms of the lease,

           by SDP upon sixty (60) days written notice should the premises be rendered
            untenable and USM fail to restore the premises within sixty (60) days, or

           failure by SDP to comply with the federal E-Verify Program.

  Contract Amount: The total revenue generated by the agreement will be $212,425.
  USM will receive an annual rental payment of $42,375 and a one-time payment of $550
  for the “transitional period”.

  Funding Source of Contract: This is a revenue generating agreement

  Contractor Selection Process: N/A. This is a revenue generating agreement.

  Staff Recommendation: Based on Board Policy 707.01, Personal Property and
  Service Contracts, Board approval is required prior to execution of leases in an
  amount greater than $100,000. However, Board approval is required prior to
  execution of all oil, gas and mineral leases, regardless of amount. The agreement has
  been reviewed and approved by the Attorney General’s Office. Board staff
  recommends approval of this item.
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11. SYSTEM-REQUESTS FOR APPROVAL OF CONTRACTUAL SERVICE
    AGREEMENT

  Agenda Item Request: The Mississippi Institutions of Higher Learning’s Executive
  Office (IHL) requests approval to renew its auto liability insurance coverage for the
  system.

  Contractor’s Legal Name: Berkley Southeast Insurance Group and American
  Empire Surplus Lines Insurance Company.

  History of Contract: The IHL Self-Insured Tort Plan insures against third party tort
  claims as outlined in the Mississippi Tort Claims Act (§11-46-1, et seq.), which includes
  automobile liability coverage. To limit its exposure, the IHL Self-Insured Tort Plan
  currently purchases liability insurance coverage in the amount of $500,000 for in-state
  coverage and $5,000,000 for out-of-state coverage through Berkley Southeast Insurance
  Group and American Empire Surplus Lines Insurance Company. Following a
  competitive RFQ process, this agenda item seeks renewal of our current policies, at the
  same coverage limits, which will insure against auto liability for accidents occurring in
  connection with the business of any university as well as the Executive Office. The
  insurance covers approximately 1810 owned vehicles, but it also extends to borrowed
  and leased vehicles.

  Specific type of contract: This is an auto liability insurance policy and an auto liability
  surplus insurance policy.

  Purpose: The purpose of the contracts is to insure the system automobile liability
  exposure in the most cost effective method.

  Scope of Work: The insurers provide liability insurance coverage in exchange for
  payment of the premium.

  Term of contract: July 1, 2014 to July 1, 2017.

  Termination Options: IHL may cancel the policy at any time by providing written
  notice before the effective termination date. The insurers may cancel upon 30-days
  advance notice, or upon 10 days advance notice if the reason for termination is the non-
  payment of premium.

  Contract Amount: The total annual premium for both insurance policies is $695,076,
  with the premium amount for Berkley Southeast being $561,100 and the premium for
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  American Empire Surplus Lines Insurance Company being $133,976. IHL receives a
  three-year rate guarantee, subject to an Annual Loss Ratio of 40% or less. The 2013-
  2014 policies had a total annual premium of $666,676 based upon 1810 vehicles, or
  $368 per vehicle. These policies work out to approximately $384 per vehicle, or a 4%
  increase over the prior rate which was negotiated in 2011. The total annual premium
  may vary in proportion to an increase or decrease in vehicles.

  Funding Source for Contract: The universities are billed directly for their share of the
  premium. There is a deductible of $10,000 per occurrence, and deductible amounts are
  paid from the IHL Self-Insured Tort Claims Fund.

  Contractor Selection Process: On March 10 and March 17, 2014, advertisements
  announcing the release of the RFQ on IHL’s website appeared in The Clarion-Ledger.
  On March 19, 2014, a letter was sent to 19 agents advising them that the RFQ was going
  to be available on IHL’s website on or around March 24, 2014. On March 24, 2014, the
  RFQ was available on IHL’s website. By April 7, 2014, IHL received notification from
  5 agents of their intentions to quote. On May 6, 2014, a proposal was received from an
  agent representing the two insurance companies named above. No other quotes were
  received.

  Staff Recommendation: Board staff recommends approval of this item.
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Note: Project numbers beginning with the prefix "GS" designate projects that the Bureau
of Building provides management oversight for and are funded partially or wholly with
state Bureau of Building bond revenues. Project numbers beginning with the prefix "IHL"
designate projects that are funded from university self-generated sources including but not
limited to donations, fees, and grants.

Board Policy §902, Initiation of Construction Projects

The Board must approve the initiation of a project for the construction of new facilities,
repairs and renovations to existing facilities and requests for a capital outlay with a total
project budget exceeding $1,000,000 regardless of how the projects are financed. It is the
intent of the Board that its appropriate staff under the direction of the Commissioner shall be
involved in all phases of building projects requiring approval by the Board. All construction,
repairs, and renovation projects with a total budget of $1,000,000 or less may be approved by
the Institutional Executive Officer. However, all projects utilizing any state bond funds,
including Ayers funds, must be initiated with STAFF approval from the Office of Real Estate
and Facilities. No further approvals are required by IHL staff for projects of $1,000,000 or
less unless the budget changes. All budget changes for these projects must be reported to the
Office of Real Estate and Facilities.

Board Policy §904(A), Board Approval

When funding has been secured from whatever source, each institution shall bring all new
projects to the Board for the approval of the project initiation and the appointment of a design
professional, as required in Board Policy §902, Initiation of Construction Projects. This
request shall include a detailed description of the work to be accomplished, the total budget,
the funding source and the design professional recommended to the Board for approval.

After the Board has granted approval of both the initiation of a project and the appointment of
a design professional, no further Board action or approval is required for the completion of
the project if the following conditions are met:

           1. The detailed description of the work to be accomplished, as specifically
              approved by the Board within the project initiation, has not changed.
           2. The total project budget has not increased beyond the amount specifically
              approved by the Board as part of the project initiation;
           3. The funding source has not changed from that specifically approved by the
              Board as part of the project initiation; and
           4. The design professional previously approved by the Board has not changed.
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If the above four conditions have been met, the Board’s Real Estate and Facilities staff,
through the Commissioner, shall have the authority to approve any and all necessary
documents related to the completion of the subject construction project, including the
approval of construction documents, the advertisement and receipt of bids, the approval of a
bid, the award of a contract and any change orders.

Prior to the commencement of construction, the Board must approve the exterior design of the
major buildings that have aesthetic impact on the overall campus, regardless of the cost of the
project. This requirement applies to all buildings and facilities on an institution’s property
even if the land is leased to an institution’s affiliated entity or a private developer.

Board Policy §905(A), Real Estate Management

Prior Board approval is required for the execution of all leases, easements, oil and mineral
leases, and timber sales. Board approval prior to the execution of a contract for the sale of real
property is required for all land sales, regardless of the sale price. Prior Board approval is
required for the execution of all leases, easements, oil and mineral leases, and timber sales.
Request for approval of land contracts shall include property descriptions, terms of purchase,
lease, or sale and intended use of the property. An institution acquiring or disposing of real
property shall receive two independent appraisals. The purchase price of property to be
acquired shall not exceed the average of the two appraisals. The sale price of real property
shall be no less than the average of the two appraisals.

Board Policy §917, Naming Buildings and Facilities
Board approval must be obtained prior to naming or re-naming any institutional building or
facility. Board approval must also be obtained prior to naming or renaming any building or
facility built on university property leased to a university affiliated entity, a private developer
or any other individual or entity.


Board Policy §919, Pre-requisites for Building Modification or Demolition

Prior to scheduling a building on an institution’s property for restoration, improvement,
construction, repair, renovation, rehabilitation, demolition or similar work, the institution
shall secure an inspection and approval from the Mississippi Department of Environmental
Quality and a permit or written permission from the Mississippi Department of Archives and
History authorizing the requested building action. After obtaining approval from these two
agencies, a request for the building modification or demolition shall be submitted to the Board
for approval. The request to the Board must include documentation evidencing approval by
the Department of Environmental Quality and the Department of Archives and History.
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APPROVAL OF INITIATIONS OF PROJECTS/APPOINTMENTS OF
PROFESSIONALS

IHL PROJECTS
    1. UM – IHL 207-385 – Manning Center – Football Practice Fields Enlargement

       Project Request: The University of Mississippi requests approval to initiate a
       project, Manning Center – Football Practice Fields Enlargement, and to appoint a
       design professional using the “Request for Qualifications” method.

       Proposed Design Professional: TBD through RFQ Method

       Purpose: Prior to the construction of the new multi-level parking structure, the
       university had one full-length football practice field and two that were only sixty-
       yards long. The parking structure is being built on one of the original ‘short’ fields.
       The scope of this project is to increase the length of the remaining short field so that
       the football program has two full-size fields on which to practice. Approximately
       forty yards will be added to the west of the field adjacent to Hill Drive. The scope of
       the project will include grading, irrigation, planting of natural grass, and floodlights.

       The University of Mississippi is seeking to initiate the project and appoint the design
       professional in accordance with Board Policy §904(A), Board Approval, that requires
       each institution to bring all new projects to the Board for the approval of the project
       initiation and the appointment of a design professional, as required in Board Policy
       §902, Initiation of Construction Projects.

       Project Initiation Date: June 19, 2014

       Date of Original Construction: Not applicable

       Date of Last Renovation: Not applicable

       Proposed Project Budget:
                                                             Estimated
          Construction Cost:                             $ 1,778,873.00
          Architectural and Engineering Fees:                137,037.00
          Misc. Project Costs:                               125,000.00
          Contingency:                                       364,890.00

          Total Project Budget                           $ 2,400,000.00
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    Proposed Funding Source(s): Ole Miss Athletic Foundation Funds ($2,400,000)

    Staff Recommendation: Board staff recommends approval of this item.


 2. UM – IHL 207-383 – Gillom Sports Center – New Additions and Renovations

    Project Request: The University of Mississippi requests approval to initiate a
    project, Gillom Sports Center – New Additions and Renovations, and to appoint a
    design professional using the “Request for Qualifications” method.

    Proposed Design Professional: TBD through RFQ Method

    Purpose: The Gillom Center was constructed in 1998. It is a 56,889 sf building used
    by the UM Department of Athletics. The building is located on Hathorn Road on the
    western side of campus. It is adjacent to the ladies’ soccer field and houses some of
    their operations. Interior existing functions are court space for ladies’ volleyball,
    indoor tennis courts, administrative offices, and changing facilities. The scope of this
    project is to repair and restore the exterior of the building, renovate its tired interiors,
    create two new film rooms, build an addition of approximately 8,000 sf housing a
    new weight room, a 5,000 sf athletic training room, and a small exterior training area.

    The design professional will assist the University of Mississippi in determining the
    project budget and produce design/construction documents for the scope determined.
    The university will submit subsequent agenda items to confirm the design
    professional after the selection process and to increase the budget as required to
    reflect the established scope of work.

    The University of Mississippi is seeking to initiate the project and appoint the design
    professional in accordance with Board Policy §904(A), Board Approval, that requires
    each institution to bring all new projects to the Board for the approval of the project
    initiation and the appointment of a design professional, as required in Board Policy
    §902, Initiation of Construction Projects.

    Project Initiation Date: June 19, 2014

    Date of Original Construction: Not applicable

    Date of Last Renovation: Not applicable
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       Proposed Project Budget:
                                                           Estimated
          Construction Cost:                           $         0.00
          Architectural and Engineering Fees:              500,000.00
          Misc. Project Costs:                                   0.00
          Contingency:                                           0.00

          Total Project Budget                         $   500,000.00

       Proposed Funding Source(s): Ole Miss Athletic Foundation Funds ($500,000)

       Staff Recommendation: Board staff recommends approval of this item.


APPROVAL OF BUDGET INCREASES AND/OR CHANGES OF SCOPE/FUNDING
SOURCE(S)

BUREUA OF BUILDING PROJECTS

    3. JSU – GS 103-267 – Alexander Center Renovation Phase I

       Project Request: Jackson State University requests approval to increase the budget
       for the Alexander Center Renovation Phase I project. The budget will increase from
       $7,084,000.00 to $ 7,684,000.00, an increase of $600,000.00. In addition, the
       university request approval to add SB 2913, Laws of 2013 as funding source to allow
       for the budget increase.

       Project Phase: Construction Phase

       Design Professional: Foil-Wyatt Architects & Planners, PLLC

       General Contractor: Coleman Hammons Construction Company, Inc.

       Purpose/Justification: The project is currently in the construction phase. The
       project was initiated with the Board on June 16, 2011. This is the second budget
       escalation request made for this project by the university, the purpose of the first
       budget escalation was to combine the previously approved funding source for Phase I
       of Alexander Center Renovation with funds that became available in SB 3100, L’11
       ($284,000.00) and Bureau of Building Discretionary Funds ($300,000.00).
       The escalation in the project budget will allow the university to complete the entire
       roofing installation on both sides of the building. Phase II of this project has been
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    temporarily placed on hold until 2015. As a result, it is necessary that the roof
    replacement be included in Phase I of the project in order to address the water leakage
    issues on the east and west side of the building. The university is seeking to occupy
    the building during the fall semester of 2014.
    Jackson State University is acting in accordance with Board Policy §904(A), Board
    Approval, that requires each institution to submit all project changes of scope and
    budget increases to the Board for approval.

    Project Initiation Date: June 16, 2011

    Project Budget:

                         Current Budget       Proposed Budget          Amount (+/-)
     Construction                                                  $            0.00
                         $   6,156,452.00     $   6,156,452.00
     Costs
     Architectural and                                             $            0.00
                         $     439,825.93     $     439,825.93
     Engineering Fees
     Commissioning                                                 $            0.00
                         $      89,369.12     $      89,369.12
     Fee
     Miscellaneous                                                 $            0.00
                         $      91,693.40     $      91,693.40
     Project Costs
     Contingency         $     306,659.55     $     906,659.55     $      600,000.00


     Total Project
                         $   7,084,000 .00    $   7,684,000.00     $      600,000.00
     Budget

    Funding Source(s): SB 3100, L’11 ($6,500,000.00); SB 3100, L’11 ($284,000.00);
    Bureau of Building Discretionary Funds ($300,000.00) and SB 2913, L’13
    ($600,000.00).
    Staff Recommendation: Board staff recommends approval of this item.
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APPROVAL OF OTHER REAL ESTATE REQUESTS

    4. ASU – Award of Timber Sales-Loessal Bluff Hardwood Harvest

       Project Request: Alcorn State University requests approval to advertise and award
       the sale to the highest and best bid for timber sale 8011-4-6-10N-1E of the Loessal
       Bluff Hardwood Harvest.

       Timber Sale No. 8011-4-10N-1E2014
       The sale area is approximately 35 acres in size of Loessal Bluff hardwood with small
       amounts of pine and is located in Section 6 , Township 10 North, Range 1 East,
       Jefferson County, Mississippi.

       Timber Sale Process: The timber sale process on the described land begins with the
       identification of the particular timber stand in need of thinning or a final harvest cut.
       This is identified by directions taken from the Forest Management Plan. After the
       stand has been identified, the process of tree marking and sale identification may
       begin. At this point, the sale is computed and a bid prospectus is prepared and
       approved by the Dean of Agriculture, Research, Extension, and Applied Sciences and
       a request is made to the President of the university to advertise the timber sale for bid
       and to award the sale to the highest bidder who also satisfies all additional bid
       requirements. When the Board of Trustees approves that the sale may be advertised
       and awarded appropriately, a prospectus is sent to potential bidders with the vital
       details of the stand. When the bids have been received in the university Purchasing
       Office, a recommendation is made by the Purchasing Office to either accept or reject
       the bids. If the President of the university accepts the bids, a contract is executed
       between the university and the highest and best bidder for that sale. The Purchasing
       Office executes the contract and contacts the high bidder to set the closing date.
       Finally, a meeting is set with the winning bidder to close the sale and to collect the
       remaining funds less the bid deposit amount.

       Alcorn State University is acting in accordance with Board Policy §905(A), Real
       Estate Management, which requires prior Board approval for the execution of all
       leases, easements, oil and mineral leases, and timber sales.

       Staff Recommendation: The Attorney General’s Office has reviewed and
       approved this item contingent upon submission to the Office of Attorney
       General a final executed agreement. Board staff recommends approval of this
       item.
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 5. MSU – Approval of the Exterior Design of Meat Science Laboratory

    Project Request: Mississippi State University requests approval of the exterior
    design of the Meat Science Laboratory. (See Rendering of Building Below)

    Project Phase: Design Phase

    Design Professional: Pryor & Morrow

    General Contractor: TBD

    Purpose: Mississippi State University is seeking Board approval of the exterior
    design for GS #113-136, Meat Science Laboratory. The project was in initiated with
    the Board in October 2013 and is currently in the design phase. The project will
    construct a new building to replace the existing older facility that does not meet
    current USDA standards. The new building will include a harvest area, value added
    areas, demonstration areas, freezer space, and a classroom.

    Mississippi State University is seeking approval of the exterior design of the building
    in accordance with Board Policy §904(A), Board Approval, that requires the Board to
    approve the exterior design of the major buildings that have aesthetic impact on the
    overall campus, regardless of the cost of the project.

    Staff Recommendation: Board staff recommends approval of this item.

    Rendering: View from the Front of Building
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 6. MSU – Delete from Inventory and Demolish Buildings #2183 (Intramural Sports
    Office and Maintenance)

    Project Request: Mississippi State University requests approval to delete Building
    #2183 from inventory and demolish it.

    Purpose: Mississippi State University is seeking approval to delete Building #2183-
    Intramural Sports Office and Maintenance Building. The building is located on the
    south side of the MSU campus and will be demolished as part of the South Entrance
    Road project. The building is currently in the right-of-way for the proposed new
    South Entrance Road project and must be disposed of in order to accommodate the
    road project.

    The approval letter has been received from the Mississippi Department of Archives
    and History. All legal documentation will be kept on file in the Office of Real Estate
    and Facilities. Mississippi State University is acting in accordance with Board Policy
    §919 Prerequisites for Building Modification or Demolition, that requires Board
    approval prior to building modification or demolition.

    Staff Recommendation: Board staff recommends approval of this item.


 7. UM – Naming of Basketball Practice Facility as “Tuohy Basketball Center”

    Project Request: The University of Mississippi requests approval to name the
    Basketball Practice Facility as “Tuohy Basketball Center”.

    Purpose: In honor of their extraordinary contributions to The University of
    Mississippi, Ole Miss Athletics would like to name the basketball practice facility the
    Tuohy Basketball Center. The Tuohy family has made a significant contribution to
    the Forward Together Campaign, the Ole Miss Athletics’ current capital campaign.

    Sean Tuohy played basketball for Ole Miss in the early 1980s and achieved multiple
    SEC accomplishments during those years including an SEC Men’s Basketball
    Tournament championship in 1981. He holds several Ole Miss Basketball records and
    was inducted into the Ole Miss Sports Hall of Fame in 1998.

    Leigh Anne also attended the University of Mississippi and was a cheerleader as well
    as involved in many campus activities and organizations. She received the Legacy
    Award from the Ole Miss Women’s Council for Philanthropy in 2010. The Legacy
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    Award recognizes the contributions of a person who epitomizes the council’s goals of
    philanthropy, leadership and mentorship.

    Sean and Leigh Anne, along with their children, Collins Tuohy, Sean Tuohy and
    Michael Oher, were featured in The Blind Side book and film that told the story of
    their adopted son, Michael, an Ole Miss Football player in 2005 through 2008.

    The Tuohys reside in Memphis, Tennessee, and are continuously supportive of Ole
    Miss Athletics’ programs. The University of Mississippi is acting in accordance with
    Board Policy §917, Naming Buildings and Facilities, that requires Board approval be
    obtained prior to naming or re-naming any institutional building or facility.

    Staff Recommendation: Board staff recommends approval of this item.


 8. UMMC – IHL 209-550 – Wiser Women’s Urgent Care Renovation – Sole Source
    HVAC Controls

    Project Request: The University of Mississippi Medical Center requests approval to
    sole source the HVAC Controls for the Wiser Women’s Urgent Care Renovation
    project.

    Project Phase: Design Phase

    Design Professional: The McCarty Company

    General Contractor: TBD

    Purpose: The purpose of this request is for approval to sole source the HVA C
    Controls portion of this renovation project to Johnson Controls as an extension of the
    existing Wiser Women’s Hospital controls system. Funds for the sole source are
    provided within the existing project budget.

    The project will involve of the complete renovation of an existing out-patient
    Women’s Emergency Unit located on the ground floor within the UMMC Wiser
    Women’s Hospital. The renovation will consists of approximately 4,800 gross square
    feet of the 5 story facility. The project will bring the new treatment area up to current
    standards and trends and will contain a check in/waiting area, 8 Patient Rooms, 2 fast
    track treatment rooms, storage and other ancillary spaces. UMC feels it to be in their
    best interest to extend the existing Johnson Controls System as a sole source to insure
    the operational integrity of the existing building system.
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    The estimated value of the existing Johnson Controls EMCS is approximately
    $565,000. The probable cost of the project EMCS modifications is $65,000 for an
    11.5% modification. According to IHL and Bureau of Building EMCS procurement
    protocol for existing systems, the EMCS can and should be procured by single source
    procurement since the portion of the work related to the new renovation is less than
    25% of the existing system.

    Project Initiation Date: January 16, 2014

    Date of Original Construction: 1999

    Date of Last Renovation: Not applicable

    Proposed Project Budget:
                                               Estimated
       Construction Cost:                    $ 1,279,100.00
       Architectural and Engineering Fees:       153,492.00
       Miscellaneous Project Costs:               97,000.00
       Contingency:                              152,959.00

       Total Project Budget                  $ 1,682,000.00

    Funding Source(s): UMMC SSA (Shared Services Administration) Building
    Improvement ($1,682,000)

    Staff Recommendation: The Attorney General’s Office has reviewed and
    approved this item. Board staff recommends approval of this item.
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 9. USM – Delete from Inventory and Demolish Building #636

    Project Request: The University of Southern Mississippi requests approval to delete
    Building #636 from inventory and demolish it.

    Purpose: The University of Southern Mississippi is seeking approval to delete from
    inventory and demolish Building #636. The building is a dilapidated metal
    warehouse next to the university’s women’s softball complex which is located at
    2313 West 4th Street in Hattiesburg. The warehouse is currently unoccupied due to
    leaking and will be demolished and turned into green space.

    The approval letter has been received from the Mississippi Department of Archives
    and History. All legal documentation will be kept on file in the Office of Real Estate
    and Facilities. The University of Southern Mississippi is acting in accordance with
    Board Policy §919 Prerequisites for Building Modification or Demolition, that
    requires Board approval prior to building modification or demolition.

    Staff Recommendation: Board staff recommends approval of this item.
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1.    ASU – APPROVAL TO CONTRACT WITH WILKERSON & CRAWFORD LLP
      AS OUTSIDE COUNSEL

      Alcorn State University requests retroactive approval of a contr act with Wilkerson &
      Crawford LLP as outside counsel to perform property boundary services for land survey
      purposes at ASU. The contract was for one year. The maximum hourly rate was $200
      with a maximum amount payable under the contract of $1000.00.

      STAFF RECOMMENDATION: The Attorney General has approved this request.
      Board staff recommends approval of this item.

2.    UM – APPROVAL TO RENEW CONTRACT WITH ARMSTRONG TEASDALE
      LLP AS OUTSIDE COUNSEL

      The University of Mississippi requests approval to renew its contract for professional
      services with the law firm of Armstrong Teasdale LLP so that it may continue to assist
      the University with engineering and physical sciences patent applications and related
      intellectual property issues.

      Armstrong Teasdale is based in St. Louis, Missouri, with offices in four other states. Its
      intellectual property practice group includes fifty attorneys. Erin Florek, a graduate of
      the University of Mississippi and a member of the firm’s intellectual property practice
      group, and Adam Wuller, an associate who works with Ms. Florek, will be the primary
      attorneys performing work for the University. Ms. Florek has an hourly rate of $250, and
      Mr. Wuller, a relatively low hourly rate of $175 per hour. The University would like to
      extend its contract for another fiscal year so that the firm may continue its representation
      on matters it is currently handling and to be available should new, similar matters arise.

      As to others in the firm that may perform work under the contact, hourly rates range from
      $250-$450 for principals, from $175-$250 for Associates, and $150 for paralegals. These
      rates are increased for some of the attorneys who may do work under the contract, but at
      least $100/hour below the Firm’s customary rates. The term of the proposed contract is
      from July 1, 2014 to June 30, 2015, and total expenditures will not exceed $100,000.

      BOARD RECOMMENDCATION: The Board staff recommends approval of this
      item pending approval by the Attorney General.
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3.    UM – APPROVAL TO RENEW CONTRACT WITH HERSHKOVITZ &
      ASSOCIATES, LLC AS OUTSIDE COUNSEL

      The University of Mississippi requests approval to renew its contract for professional
      services with the New York law firm of Hershkovitz & Associates, LLC (“Hershkovitz”)
      so that Eugene Rzucidlo, an attorney practicing with Hershkovitz, may continue to assist
      the University with pharmaceutical and natural products patent applications and related
      intellectual property and commercialization issues.

      Mr. Rzucidlo is one of a few patent lawyers in the world who is also a natural products
      chemist, and the University has worked with Mr. Rzucidlo on the most challenging
      natural products patents for many years. Mr. Rzucidlo’s hourly rate is $595 per hour,
      which is the same as the University paid during the last contract period and is comparable
      to similarly qualified and experienced patent counsel. The term of the proposed contract
      is from July 1, 2014 to June 30, 2015, and total expenditures will not exceed $150,000.

      BOARD RECOMMENDCATION: The Board staff recommends approval of this
      item pending approval by the Attorney General.

4.    UM – APPROVAL TO RENEW CONTRACT WITH STITES & HARBISON AS
      OUTSIDE COUNSEL

      The University of Mississippi requests approval to renew its contract with Stites &
      Harbison so that it may continue to assist the University with pharmaceutical patent
      applications and intellectual property issues.

      Stites & Harbison, PLLC, with offices located in Nashville, Tennessee, has an
      Intellectual Property and Technology Group (“IPT Group”) which specializes in all major
      scientific subject areas in the intellectual property field. Richard Myers, an alumnus of
      the University and a member of the IPT Group, will be the primary attorney performing
      work for the University. The University has worked with Stites & Harbison since this
      Board first approved the University’s relationship with Stites & Harbison in September,
      2002.

      Mr. Myers’ hourly rate remains at $320, with other professionals who may work on
      University matters billing between $95 (paralegal) (unchanged) and $320 per hour (an
      increase of less than 5%). These rates are less than the rates of similarly qualified patent
      attorneys, and substantially below the firm’s customary rates. Mr. Myers hourly rate
      remains the same, with the rates of three of the ten professionals increasing, and the
      maximum hourly rate for other professionals increasing from $305 to $320 per hour
      (about 5%). The term of the proposed contract is from July 1, 2014 to June 30, 2015, and
      total expenditures will not exceed $250,000.
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      BOARD RECOMMENDCATION: The Board staff recommends approval of this
      item pending approval by the Attorney General.

5.    UM – APPROVAL TO RENEW CONTRACT WITH EVANS PETREE AS
      OUTSIDE COUNSEL

      The University of Mississippi requests approval to renew its contract for professional
      services with the law firm of Evans Petree, PC to advise and represent the University
      with respect to construction matters, including but not limited to construction and design
      professional contracts, public procurement, potential bid protests, and other matters
      related to design, construction, and project management and related disputes.

      The firm of Evans Petree is based in Memphis, Tennessee and specializes in construction
      law. Joseph T. Getz will be the primary attorney performing work for the University.
      Mr. Getz, a partner with the firm, is a graduate of the University of Mississippi and a
      member of the Mississippi Bar.

      The Board approved this relationship with Evans Petree in March, 2013, and the
      University would like to extend its contract for another fiscal year so that the firm may
      continue its representation on matters it is currently handling and to be available should
      new, similar matters arise.

      The term of the proposed contract will be for one year, with a maximum amount payable
      of $35,000 during the contract term. The proposed fees are unchanged from last year as
      indicated below:

             Partners                               $265 to 295 per hour
             Associates                             $175 to $225 per hour
             Paralegals                             $95 to $110 per hour
             Clerks                                 $50.00 per hour
             Research and copy charges              At cost

      BOARD RECOMMENDCATION: The Board staff recommends approval of this
      item pending approval by the Attorney General.

6.    UM – APPROVAL TO RENEW CONTACT WITH BUTLER, SNOW, O’MARA,
      STEVENS & CANNADA, PLLC AS OUTSIDE COUNSEL

      The University of Mississippi requests approval to renew its contract for professional
      services with the law firm of Butler, Snow, O’Mara, Stevens & Cannada, PLLC (“Butler,
      Snow”) so that it may continue to assist the University with pharmaceutical patent
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      applications, intellectual property issues, commercialization of intellectual property, other
      commercial transactions, tax matters and regulatory compliance.

      Butler, Snow, with its principle office located in the Jackson metro area, has a practice
      group that specializes in intellectual property and patent prosecutions, as well as
      intellectual property management through licensing and commercialization. The
      University would like to extend its contract for another fiscal year so that the firm may
      continue its representation on matters it is currently handling and to be available should
      new, similar matters arise. The University would also like the flexibility to seek
      assistance on regulatory compliance and taxation matters from time-to-time.

      The firm has proposed a blended hourly rate under the contract for most attorneys,
      including patent work, of $250 per hour (less than a 4% increase) and $105 per hour for
      all legal assistants (about a 10% increase). These rates are competitive with or less than
      those charged by similarly qualified attorneys. The term of the proposed contract is from
      July 1, 2014 to June 30, 2015, and total expenditures will not exceed $100,000.

      BOARD RECOMMENDCATION: The Board staff recommends approval of this
      item pending approval by the Attorney General.

7.    USM – APPROVAL TO CONTRACT WITH BUTLER, SNOW, O’MARA,
      STEVENS & CANNADA, PLLC AS OUTSIDE COUNSEL

      The University of Southern Mississippi requests Board approval to contract with Butler,
      Snow, O’Mara, Stevens and Cannada, LLC, as outside counsel to perform services as
      necessary in the practice areas of taxation, intellectual property and commercial matters,
      including trademark, copyright and patent matters. In addition, such representation will
      include providing specific advice and undertaking the representation of the University in
      possible litigation with respect to a legal issue existing between the University of
      Southern Mississippi and the University of Iowa. Finally, the firm will provide legal
      advice and representation to the University in matters relating to issues and disputes with
      the Federal Emergency Management Agency (FEMA). The hourly rate to be charged
      will be $240 per hour for all attorneys in all legal matters and $95 per hour for legal
      assistants. The term of the contract will be from July 1, 2014, through June 30, 2015.
      The total amount payable for attorneys’ fees, pursuant to the arrangement, shall not
      exceed $75,000 for the contractual period.

      BOARD RECOMMENDCATION: The Board staff recommends approval of this
      item pending approval by the Attorney General.
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APPROVAL OF PERSONNEL ACTION REQUESTS

1. Employment

   JSU (Hire with Tenure – also reported under Tenure Section below)

   Ramin Cooper Maysami; Dean of College of Business, Full Professor of Economics; salary
   of $180,000 per annum, pro rata; E&G Funds; hired with tenure; twelve-month contract;
   effective July 1, 2014

   Rehired retirees making more than $20,000 who are on contract during FY2014

   MUW

   Linda Cox; former position: BSN Program Chair and Emerita Professor of Nursing; re-
   employment position: Emerita Professor of Nursing; re-employment period: July 1, 2014 to
   June 30, 2015; annual salary of $37,415

   Bobby Fuller; former position: Assistant Professor of Education; re-employment position:
   Assistant Professor of Education; re-employment period: August 18, 2014 to May 15, 2015;
   annual salary of $37,415

   Joyce Hunt; former position: Interim Dean of the College of Business and Legal Studies, and,
   Professor of Management; re-employment position: Professor of Management; re-
   employment period: August 18, 2014 to May 15, 2015; annual salary of $31,715

2. Change of Status

   ASU

   Emanuel Barnes, from Deputy Provost for Student Affairs; salary of $87,000 per annum, pro
   rata; E&G Funds; to Vice President for Student Affairs; salary of $140,000 per annum, pro
   rata; E&G Funds; effective June 1, 2014

   John Igwebuike, from Associate Professor of Business; salary of $86,860 per annum, pro
   rata; E&G Funds; to Interim Vice President for Academic Affairs; salary of $110,000 per
   annum, pro rata; E&G Funds; effective May 19, 2014

   Donzell Lee, from Vice Provost for Academic Affairs, salary of $141,450 per annum, pro
   rata; E&G Funds; to Interim Provost/ Vice President for Academic Affairs; salary of
   $175,000 per annum, pro rata; E&G Funds; effective May 19, 2014

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   Chris Halliwell, Chief Audit Executive; salary $125,000 per annum, pro rata; E&G Funds;
   effective June 1, 2014


   JSU

   James C. Renick, from Provost, Vice President for Academic Affairs; salary of $185,000 per
   annum, pro rata; E&G Funds; to Provost, Vice President for Academic Affairs and Student
   Life; no salary change; effective May 7, 2014.

   Loretta A. Moore, from Interim Vice President for Research & Federal Relations; salary of
   $165,000 per annum, pro rata; E&G Funds; to Vice President for Research & Federal
   Relations; salary of $175,000, per annum, pro rata; E&G Funds; effective July 1, 2014.

   MUW

   Brian Anderson, from Professor of Political Science and Chair of the Department of History,
   Political Science and Geography; salary of $71,260 per annum, pro rata; E&G Funds; to
   Dean of the College of Arts and Sciences, salary of $115,120 per annum, pro rata; E&G
   Funds; effective July1, 2014.

   USM

   L. Chad Driskell, from Executive Assistant to the President for External Affairs; to Vice
   President for External Affairs, no salary change; effective July1, 2014.

   Frances Lucas, from Vice President for the Gulf Park Campus; to Transition Position;
   effective May 27, 2014; to Professor of Practice, Department of Human Capital
   Development, Gulf Park Campus; effective August 18, 2014

   Steven G. Miller, from Interim Systems Integrator, Office of the Vice President for Research;
   salary of $105,000 per annum, pro rata: Grant Funds; to Interim Vice President for Gulf Park
   Campus; salary of $130,000 per annum, pro rata; E&G Funds; effective June 2, 2014

3. Tenure (and Promotions where noted)

   JSU – Twelve-month contract with an effective date of July 1, 2014

   Ramin Cooper Maysami; Dean of College of Business, Full Professor of Economics; hired
   with tenure

   MVSU - Nine -month contracts with an effective date of August 18, 2014
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   Charles Bland, promotion to Associate Professor of Bioinformatics

   Curressia Brown, Assistant Professor, Department of Business Administration

   Theresa Dumas, Assistant Professor, Department of Education

   Elizabeth Evans, Assistant Professor, Department of Social Sciences

   Jiabo Liu, Assistant Professor, Department of Criminal Justice

   Candace Stevens, Assistant Professor, Department of Mathematics, Computer and
   Information Science

   Claude Wilkinson, Assistant Professor, Department of English & Foreign Languages


   USM – Nine-month contracts with an effective date of August 18, 2014

   Jodi Jawor, promotion to Associate Professor, Department of Biological Sciences

   Jennifer Walker, promotion to Associate Professor, Department of Biological Sciences

   Donald Yee, promotion to Associate Professor, Department of Biological Sciences

4. Sabbatical

   USM

   Christopher Campbell, Professor of Mass Communication and Journalism, from salary of
   $107,784 per annum, pro rata; E&G Funds; to salary of $59,880 for sabbatical period;
   effective January 1, 2015 to May 19, 2015; professional development

   Michael Miles, Professor of Music, from salary of $116,904.99 per annum, pro rata; E&G
   Funds; to salary of $51,958 for sabbatical period; effective August 81, 2014 to December 31,
   2014; professional development

5. Emeritus Status

   UMMC (Effective July 1, 2014)

   Thomas Lohmeier, Ph.D.; Professor Emeritus of Physiology and Biophysics
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1. BELHAVEN UNIVERSITY – APPROVAL OF STAGE II – QUALIFY FOR
   INITIAL ACCREDITATION OF A PROFESSIONAL NURSING PROGRAM
   (Permission to Admit Students)


  In accordance with (a) and (b), Miss. Code (1991 Supp. § 37-129-1, et seq. which ”empowers the
  Board of Trustees of State Institutions of Higher Learning to establish rules and regulations and
  promulgate uniform standards for accreditation of schools of nursing.”

  In accordance with Miss. Code, approval is requested for Stage II Application – qualify for initial
  accreditation of a professional nursing program (permission to admit students) for Belhaven
  University.

  Belhaven University completed the first stage in the process for establishing a registered nursing
  program, which was approved by the Board on August 15, 2013 for a new baccalaureate degree
  program. Belhaven University has completed the second stage in the process and has submitted a
  completed application and supportive evidence to qualify the program for initial accreditation and
  allow admission of students.

  The second stage in the process for establishing a registered nursing program includes hiring a
  qualified nursing education program director, faculty and staff, and developing the philosophy,
  mission, goals, expected program outcomes, curriculum, approved budget, organizational chart,
  admission, promotion, and graduation policies, systematic plan for evaluation, adequate support
  services, approved clinical affiliation agreements and fiscal, physical, technological and learning
  resources. Belhaven University submitted a progress report and an application and self-study
  report that provided evidence of meeting the requirements for Stage II. A state site visit team
  composed of representatives from the Accreditation Review and Evaluation Committee of the
  Mississippi Council of Deans and Directors of Schools of Nursing and Director of Nursing
  Education made a visit on March 25, 2014 to validate the application for initial accreditation and
  all materials pertaining to the proposed nursing program. Following the site visit, additional
  information was requested. The state site visit team met by conference call on May 19, 2014 to
  discuss the results of the site visit report and review of additional information, and agreed that the
  criteria for Stage II (permission to admit students) have been satisfactorily met.

  A recommendation of approval of Stage II allows the school to admit students and to progress to
  the last stage, which is qualifying for full accreditation. Stage III requires that a site visit be
  scheduled with the Board staff during the last semester of the first graduating class (Spring 2016),
  or in conjunction with the initial national nursing accreditation site visit.



  STAFF RECOMMENDATION: Board staff recommends approval of this item.
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1. SYSTEM – APPROVAL OF A CONTRACTUAL SERVICE AGREEMENT

 Agenda Item Request: The Mississippi Institutions of Higher Learning (IHL) requests
 approval to enter into a professional services agreement with Sightlines, LLC.

 Contractor’s Legal Name: Sightlines, LLC.

 History of Contract: At the May 2011 Board meeting, the Board approved a three year
 contract with Sightlines for the purpose of providing analytical processes, databases, and
 comparative metrics for facilities, environmental and student housing data. Sightlines
 provided measurement, benchmarking, and analytics identifying organizational strengths and
 weaknesses, and forecasting implications of changes to resource allocation, project deferral, or
 the physical asset profile. As a result of implementing these processes throughout the IHL
 system and created a web-interface to the IHL System Office, consistent performance data can
 be accessed allowing in-depth comparisons and the creation of reports, charts, tables and
 presentations. The data can also be correlated with other institutional data elements such as
 enrollment. This contract was for $1,204,430 for the three-year period and will expire on June
 30, 2014.

 Specific type of contract: Professional Services Agreement

 Purpose: The purpose of the contract is to obtain Sightlines facilities management services
 for three years. These services includes Sightlines services lines of ROPA+, Capital Renewal,
 Housing Consultation, a System website to house information, 3 presentations to the Board,
 and consulting charges based on an hourly rate.

 Scope of Work: Sightlines is to provide the following scope of work requirements:

 ROPA+ Service Line
  Annually compile operational and capital performance metrics for facilities
  Provide benchmarks and trends for facilities
  Identification of financial and operational opportunities that release savings
  Understand and communicate facility risk
  Identify operating targets for facilities
  Track performance against other institutions
  Track progress towards performance goals
 Capital Renewal Service Line
  Identify the deferred maintenance backlogs at each campus by building
  Identify future life cycle needs at each campus by building
  Provide data and analysis to support future capital planning for all campuses that address
     these needs and accounts for future life cycle risk
  Track implementation of the capital program moving forward to maximize impact
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Housing Consultation
 Compile student housing performance over time
 Provide trend analysis of housing data
 Compare and benchmark housing data within the IHL system
 Compile staffing levels for housing over time
 Compile housing rates to local housing market
 Model impact of future projects
System Website and Presentation
 Maintain system website to deposit facilities information
 Customizable dashboard of facilities performance metrics
 Benchmarks of facilities metrics of over 300 institutions
 Make 3 presentations to the Board of Trustees on facilities each year
Consulting Services on an Hourly Basis
 IHL institutions may request additional consultation services at an hourly rate ranging
    from $60 to $325 subject to annual change in per hour fees

Term of contract: The contract length is three-years – July 1, 2014 through
June 30, 2017.

Termination Options: Either party may terminate the agreement in whole or in part for cause
upon ninety (90) days written notice if the other party fails to comply with any material term
or condition of this agreement and fails to correct such deficiency within a thirty (30) day
period after such written notice from the party seeking to terminate.

Contract Amount: The total cost for the entire contract period is estimated at $2,117,623.
These costs will be billed to the institutions. The estimated contractual cost is shown below by
service line. Hourly charges are estimated at 1 two-day visit at eight institutions each year.
Actual charges for hourly charges and reimbursements are estimates and actual charges may
vary depending on usage by institutions. Hourly rates are subject to change and are for
services beyond those provided by ROPA+, Capital Renewal, and Housing Consultation
service lines and may include assistance with campus master planning. Capital Renewal and
Housing Consultation are new services to IHL’s existing contract with Sightlines expiring on
June 30, 2014. Sightlines estimates that there will be upfront costs in FY 2015 associated with
establishing the data background to provide this service line. USM’s Gulf Park and Gulf Coast
Research Lab facilities were not included in the original contract. These campuses will be
added at an annual cost of $48,000.

                                              FY 2015          FY 2016          FY 2017            Total

ROPA+                                         $293,070         $293,070         $293,070           $879,210
Addition of USM Gulf Park and
Research Lab                                    48,000           48,000           48,000            144,000
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   Capital Renewal                               413,509          124,052         124,052           661,613

   Housing Consultation                           70,000           70,000          70,000           210,000

   System Website & 3 Presentations               26,000           26,000          26,000            78,000

   Subtotal                                      850,579          561,122         561,122          1,972,823

   Hourly Charges (est.)                          41,600           41,600          41,600           124,800

   Reimbursements (est.)                          20,000           20,000          20,000            20,000

   Total                                        $912,179         $622,722        $622,722         $2,117,623


   Funding Source for Contract: Funds earmarked for this objective will be appropriated to the
   institutions in FY 2015 and the campuses will subsequently be billed for the costs.

   Contractor Selection Process: Since IHL institution is currently contracted with Sightlines
   for this service and since services are exempt from the RFP process, the contract was chosen
   to ensure consistent comparability of data analyses.

   Staff Recommendation: Based on Board Policy 707.01, Land, Property, and Service
   Contracts, Board approval prior to execution of all contracts greater than $250,000 is
   required. The Attorney General’s Office recommends approval contingent upon
   obtaining a Certificate of Authority to Transact Business from the Mississippi Secretary
   of State. Board staff recommends approval.

2. SYSTEM-REQUEST FOR APPROVAL OF FISCAL YEAR 2015 OPERATING
   BUDGETS

  Approval is requested for the fiscal year ending 2015 Operating Budgets for the system. These
  proposed budgets will be provided to the Board under separate cover. Included as supplemental
  information as required by the Ayers Settlement Agreement, Board Policy 704.02, and Board
  Policy703.04 E. are the following:

  Fiscal Year 2014-2015 Ayers Budgets,
  Fiscal Year 2014-2015 Athletic Budgets, and
  Fiscal Year 2014-2015 E&G Scholarships, Fellowships & Tuition Waivers.

  STAFF RECOMMENDATION: Based on Board Policy 701.05 - Budgets, 703.04 E.
  Policy Guidelines, and 704.02 – Athletic Budget Approval and Reporting, the
  Commissioner, after consultation with the Institutional Executive Officers, shall prepare
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  and submit for approval by the Board annual budgets for the several institutions and
  separately budgeted units. Board staff recommends approval of these items.

3. SYSTEM –REQUEST FOR APPROVAL OF FY 2016 PROPOSED FUNDING
   PRIORITIES

  Proposed funding priorities are required for the 2015 Legislative Budget Request (LBR). The
  proposed funding priorities will be presented under a separate cover.

  STAFF RECOMMENDATION: Based on Board Policy 701.03, Budget and Planning
  Priorities, the Commissioner, after consultation with the Institutional Executive Officers,
  shall prepare and submit an annual statement of system planning and budget priorities
  for consideration and approval by the Board. Board staff recommends approval of this
  item.

4. SYSTEM –FINAL APPROVAL OF NEW BOARD POLICY TO AUTHORIIZE
   PREPAYMENT OF EXPENSES UNDER CERTAIN CONDITIONS


  Agenda Item Request: During the 2014 Legislative Session, the Legislature approved House
  Bill 433 which authorizes the Board of Trustees to permit prepayment of expenditures
  provided the Board adopts rules and regulations consistent with those established by the
  Mississippi Department of Finance and Administration.

  This policy was presented for first reading at the May 2014 Board meeting. This version has
  been amended to reflect changes to clarify the need for Board of Trustees approval for
  prepayment for contracts which otherwise require Board approval. The additional amendments
  are shown in red. The proposed new policy will be added, as amended, as Section 707.03 under
  Policy Section 707 Contracts.

  707.03 APPROVAL OF PREPAYMENT FOR GOODS OR SERVICES

  Pursuant to Miss. Code Ann. § 7-7-27 (1972), as amended, the Board of Trustees of State
  Institutions of Higher Learning (IHL) may permit prepayment for goods or services not yet
  received. The procedures regarding obtaining a waiver to permit payment in advance such
  waivers applicable to the IHL Executive Office and the various state universities are as
  follows:


  1)    The Commissioner is delegated the authority to approve such prepayment/waivers on
        behalf of the Board. However, if any other Board policy requires IHL Board approval in
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      order to contract for, lease or purchase the subject goods, services, equipment, property
      or facility, approval of a prepayment/waiver must be sought from the IHL Board, instead
      of the Commissioner, at the same time permission is sought from the Board in order to
      contract, lease or purchase.

2)    Written permission from the Commissioner or Board must be obtained prior to making
      prepayment or contracting to make prepayment of goods or services before such goods or
      services are received.

3)    The requestor must submit a written request to the Commissioner, or an agenda item for
      consideration by the Board, explaining the circumstances or reasons why the waiver is
      being sought. A copy of the invoice or proposed contract showing the prepayment terms
      must be attached to the request.

4)    Registration fees for conventions and conferences and deposits for hotel fees may be paid
      in advance and do not require permission/waiver by the Commissioner or Board.

5)    If federal funds are to be used to prepay multi-year services or licensing, the requestor
      must ensure that the prepayment conforms to the federal grant regulations and
      requirements. The requestor must provide documentation to the Commissioner or Board,
      as part of the written request for a waiver, indicating that the prepayment conforms to the
      federal grant regulations and requirements.

6)    A waiver from the Commissioner is not required in order to pre-pay a single payment
      within a fiscal year for the rental of a post office box, membership dues, subscriptions
      and software maintenance fees. However, if Board approval is required within another
      policy in order to contract for or purchase same, the Board’s approval to contract or
      purchase must still be sought as required by the applicable policy.

7)    A waiver from the Commissioner is not required in order to pre-pay up to twelve monthly
      payments in a fiscal year for rent (i.e., land, buildings, office space, office equipment,
      etc.), maintenance fees, operating fees, (i.e., application service provider [ASP] fees) and
      leases (i.e., vehicle or equipment).

8)    All multi-year prepayments require a waiver granted by the Commissioner or Board.

Based on Board Policy 201.0302, Procedures for Changing Board Policies and Adopting
New Policies, “no new policies nor policy revisions introduced for the first time shall be
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  adopted until a subsequent meeting.” Board staff recommends approval of this item for
  FINAL approval.

5. SYSTEM REQUEST FOR APPROVAL TO WAIVE THE REQUIREMENT FOR
   FIRST READING OF PROPOSED AMENDMENT TO BOARD POLICY 704.01
   “ATHLETIC REVENUES AND EXPENDITURES” AND TO GRANT FINAL
   APPROVAL OF SAME

  The Board is requested to vote to waive the requirement for a first reading of the below
  proposed change to Policy 704.01 Athletic Revenues and Expenditures and to grant final
  approval of same.

  As part of the proposed policy change, the Board is being asked to consider approval of a
  change to the base allocation and a change to allow automatic annual indexing according to the
  Consumer Price Index (CPI) of the student FTE allowance. The current policy requires review
  and automatic indexing of the FTE allowance every three years.

  704.01 ATHLETIC REVENUES AND EXPENDITURES

  Institutional Executive Officers are authorized to transfer or use up to the following amounts
  from Unrestricted Educational and General (E&G) funds for athletic expenditures:
        UM, MSU, USM                          $1,000,000
        DSU, JSU, ASU, MVSU                   $1,300,000

  Institutional Executive Officers are authorized to transfer or use up to $1,500,000 annually
  from Unrestricted Educational and General (E&G) funds for athletic expenditures.

  Over and above the sums shown above, each school is authorized to expend a limited amount
  per student FTE from Unrestricted Education and General Funds. The additional maximum
  amount per student FTE per semester (summer, fall and spring) which may be expended for
  each institution is $198.

  Every three Each years beginning after July 1, 2014, FY2005 the athletic allocation will be
  reviewed and automatically indexed to the Consumer Price Index.

   All other revenue for athletic expenditures must 1) be generated directly by the institution
   through athletic department receipts, 2) income from available athletic fund balances, or 3) for
   those institutions operating athletics as an auxiliary enterprise, come from available auxiliary
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 fund balances. Under no circumstances shall an institution conclude a fiscal year with a
 deficit.

 STAFF RECOMMENDATION: Board staff recommends approval of this item.

6. MUW- REQUEST FOR APPROVAL OF THE RESIDENCY AND OUT-OF-STATE
   TUITION WAIVER POLICY

 Purpose: The purpose of this Policy is to authorize and define the criteria for granting
 waivers of out-of-state tuition to Mississippi University for Women students. More
 specifically, this policy is implemented to include out-of-state tuition waivers as recently
 authorized, effective July 1, 2012, through the amendment to Miss. Code Ann. § 37-103-
 25 (3).

 Authority and Effective Date: This Policy reflects, and shall be construed in conformity
 with, the Policies and Bylaws of the Board of Trustees of State Institutions of Higher
 Learning and with Mississippi statutory law, including Miss. Code Ann. § 37-103-25, as
 amended. This Policy shall be effective upon approval by IHL and MUW, with
 individual waivers becoming applicable as of the date approved by the MUW President,
 unless a later time is indicated below.

 New Categories of Out-of-State Waivers: The following out-of-state waiver categories
 are authorized, in addition to those in existence by virtue of prior statutory law and IHL
 Board Policy. All waivers are contingent upon the student’s submission to MUW of
 timely and adequate proof of having met the applicable criteria.

 a. Contiguous States - Residents of Alabama, Arkansas, Louisiana, and Tennessee
 meeting admissions requirements and maintaining satisfactory academic progress for
 continued eligibility.

 b. Military - All students who have active or veteran military status, including spouses and
 dependent children. Students must maintain satisfactory academic progress for continued
 eligibility.

 d. Students Near Completion of a Degree - All students who have earned a total of 90 or
 more credit hours as verified by the Office of the Registrar. Students must have been out of
 school for a minimum of 2 years. Students must maintain satisfactory academic progress for
 continued eligibility.

 f. Children and Grandchildren of Alumni - Undergraduate non-resident students who are
 children and/or grandchildren of active members of MUW Alumni Association. Students
 must meet admissions requirements for initial award and maintain satisfactory academic
 progress for continued eligibility.
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 g. Academic Programs - Mission specific programs specifically identified by MUW.
 Students must maintain satisfactory academic progress for continued eligibility.

 The university estimates that the financial impact to the university could be as much as
 $700,000 of additional tuition revenue generated over a five-year period.

 STAFF RECOMMENDATION: In accordance with House Bill 1095                         amending
 Miss. Code Ann. Section 37-103-25, the Board of Trustees is authorized to allow
 institutions to waive out-of-state tuition when a waiver policy is requested by the President
 or Chancellor and determined to be fiscally responsible by the Board. The Attorney
 General’s Office reviewed the proposed policy and recommends no changes. Board staff
 also reviewed the proposed policy and financial projections provided by MUW. Board
 staff recommends approval of this item.

7. MVSU- REQUEST FOR APPROVAL TO ENTER INTO A LEASE AGREEMENT

  Agenda Item Request: Mississippi Valley State University (MVSU) requests approval to
  enter into a lease agreement for the rental of temporary dormitory rooms to house students
  during the academic years 2014/2015 and 2015/2016 located on a tract of land on MVSU’s
  campus.

  Contractor’s Legal Name: TBD

  History of Contract: MVSU has experienced an on-campus housing shortage since last
  year partly due to the number of dormitories off-line. While College Hall I is being
  renovated, it will not be available for occupancy for the 2014/2015 academic year; therefore,
  a contract for temporary on-campus student housing was sought after determining that there
  would be a shortage of student housing for the academic years of 2014/2015 and 2015/2016.

  Specific Type of Contract: Lease agreement.

  Purpose: The purpose of the agreement is for the provision of temporary dormitory rooms
  to house students for the academic years of 2014/2015 and 2015/2016. The housing units
  will be located on a tract of land on the MVSU campus.

  Scope of Work: Contractor will provide lease of modular housing units for 50 to 150 beds.

  Term of Contract: The term of the agreement is anticipated to be 6 months to 2 years,
  beginning on or about August 15, 2014.
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Termination Options: TBD

Contract Amount: TBD

Funding Source of Contract: The current agreement will be funded by auxiliary funds
revenue.

Contractor Selection Process: Pending additional due diligence

Staff Recommendation: Based on Board Policy 707.01, Land, Property and Service
Contracts, Board approval is required prior to execution of the contract for all other land,
personal property, and service contracts that require an aggregate total expenditure of
more than $250,000. Based on Board Policy 707.03, Approval of Prepayment for Goods
and Services, Board approval of a prepayment/waiver is required at the same time
permission is sought from the Board under Board Policy 707.01 . The agreement review
and approval by the Attorney General’s Office is pending. Board staff recommends
delegation of authority to approve the final contract to the Commissioner, pending
Attorney General’s review and additional due diligence by Board Staff.
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1.    USM – APPROVAL TO SETTLE IHL SELF-INSURED WORKERS’
      COMPENSATION CLAIMS

      The IHL Self-Insured Workers’ Compensation Program is seeking Board approval for a
      settlement of Claims No. 55-34859 and 55-34237-1 at the University of Southern
      Mississippi.

      STAFF RECOMMENDATION: Board staff recommends approval of this item.
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JSU – SELECTION OF PROFESSIONAL SERVICES FOR PROPOSED
EDUCATIONAL BUILDING CORPORATION STUDENT HOUSING PROJECT
Project Background: At its March 20, 2014 meeting, the Board approved the initiation of this
project through the Jackson State University Educational Building Corporation (“JSU/EBC”),
to be comprised of a new student housing facility for students, a dining facility, and a conference
and event center. The project is time sensitive due to the needs described in the previous agenda
item that sought project approval. This information item relates to the appointment of additional
professionals to work on the project. The proposed project is IHL 203-156.
Proposed Team of Key Professionals: JSU and JSU/EBC propose to retain the following
professionals to assist with the financing and development of the project:
     Edward Norwood Jr. of Comer Capital Group, LLC (Jackson, MS) as the financial
        advisor to represent the interests of the Board, JSU/EBC and JSU as described in
        Section 906 of Board Policies & Bylaws,
     Morgan Stanley & Co. LLC as the underwriter; and
     Butler Snow LLP (Ridgeland, MS) as bond counsel.

Board Policy 906 requires that the Financial Adviser submit a financial report to the Board prior
to consideration of debt “to verify that proposed revenue stream(s) are sufficient to repay debt
service and to recommend the project’s viability.” At this time, the Financial Advisor has not
prepared a report but intends to do so at a future meeting. Final approval of project professionals
is pending receipt of report but is brought forward as information at time. Bond counsel must be
approved by the Attorney General’s office.
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SYSTEM: REAL ESTATE ITEMS APPROVED SUBSEQUENT TO THE
May 15, 2014 BOARD MEETING SUBMISSION DEADLINE

NOTE: THE FOLLOWING ITEMS WERE APPROVED BY THE BOARD'S REAL
ESTATE AND FACILITIES STAFF ACCORDING TO BOARD POLICY §904 (A)
BOARD APPROVAL WHICH STATES:

Board Policy §904(A), Board Approval

When funding has been secured from whatever source, each institution shall bring all new
projects to the Board for the approval of the project initiation and the appointment of a design
professional, as required in Board Policy §902, Initiation of Construction Projects. This
request shall include a detailed description of the work to be accomplished, the total budget,
the funding source and the design professional recommended to the Board for approval.

After the Board has granted approval of both the initiation of a project and the appointment of
a design professional, no further Board action or approval is required for the completion of
the project if the following conditions are met:

           1. The detailed description of the work to be accomplished, as specifically
              approved by the Board within the project initiation, has not changed.
           2. The total project budget has not increased beyond the amount specifically
              approved by the Board as part of the project initiation;
           3. The funding source has not changed from that specifically approved by the
              Board as part of the project initiation; and
           4. The design professional previously approved by the Board has not changed.

If the above four conditions have been met, the Board’s Real Estate and Facilities staff,
through the Commissioner, shall have the authority to approve any and all necessary
documents related to the completion of the subject construction project, including the
approval of construction documents, the advertisement and receipt of bids, the approval of a
bid, the award of a contract and any change orders.

Change Order Approval Note: No change orders approved by Board staff, as reflected
within any of the following informational agenda items, increase the Board approved total
project budget. The total project budget as approved by the Board provides for a
contingency fund, which allows for an increase in the construction budget of between five
and ten percent. Any increase in the total project budget caused by a change order, would
require Board approval and could not be approved by Board staff until the budget increase
is approved by the Board.
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ALCORN STATE UNIVERSITY
 1. ASU– GS 101-278 – Lanier Hall Renovations

    Approval Request #1: Change Order #2

    Board staff approved Change Order #2 in the amount of $20,497.68 and three hundred
    fifty-four (354) additional days to the contract of Barnard & Sons Construction, LLC.
    Approval is requested from the Bureau of Building, Grounds, and Real Property
    Management.

    Approval Status & Date: APPROVED, May 14, 2014

    Change Order Justification: Change Order #2 is necessary to level the first floor, to
    deduct for concrete benches, to add a wheelchair lift and time extensions due to delay of
    material being delivered, rain and the wheelchair lift installation.

    Total Project Change Orders and Amount: Two (2) change orders for a total amount
    of $117,152.78.

    Project Initiation Date: May 14, 2009
    Design Professional: Waycaster and Associates
    General Contractor: Barnard & Sons Construction
    Project Budget: $1,800,000.00


JACKSON STATE UNIVERSITY
 2. JSU– GS 103-267 – Alexander Center Renovation Phase I

    Approval Request #1: Change Order #1

    Board staff approved Change Order #1 in the amount of $102,811.65 and fourteen (14)
    additional days to the contract of Coleman Hammons Construction Company, Inc.
    Approval is requested from the Bureau of Building, Grounds, and Real Property
    Management.

    Approval Status & Date: APPROVED, May 22, 2014

    Change Order Justification: Change Order #1 is necessary to add security cameras, to
    replace the fire pump control panel with one that has an automatic transfer switch for
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   emergency power, replace four (4) existing 2-pipe fan coil units in IT rooms and to
   provide subfloor filling & patching in the community bathrooms.

   Total Project Change Orders and Amount: One (1) change order for a total amount of
   $102,811.65.

   Project Initiation Date: April 18, 2013
   Design Professional: Foil Wyatt Architects & Planners, PLLC
   General Contractor: Coleman Hammons Construction Company, Inc.
   Project Budget: $7,084,000.00


3. JSU– GS 103-268 – Capitol Centre Improvement

   Approval Request #1: Award of Construction Contract

   Board staff approved the Award of Contract to the apparent low bidder, M.A.C.
   Construction of Mississippi, LLC. Approval is requested from the Bureau of Building,
   Grounds, and Real Property Management.

   Approval Status & Date: APPROVED, May 22, 2014

   Project Initiation Date: September 17, 2009
   Design Professional: M3A/McElroy & Associates, Architecture, PLLC
   General Contractor: M.A.C. Construction of Mississippi, LLC
   Project Budget: $3,065,842.00


4. JSU– GS 105-275 – Administration Tower Exterior Waterproofing

   Approval Request #1: Change Order #1

   Board staff approved Change Order #1 in the amount of $68,760.00 and zero (0)
   additional days to the contract of Coleman Hammons Construction Company, Inc.
   Approval is requested from the Bureau of Building, Grounds, and Real Property
   Management.

   Approval Status & Date: APPROVED, May 14, 2014

   Change Order Justification: Change Order #1 is necessary to remove, store, and relocate
   the using agency’s furniture during the course of the project.
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    Total Project Change Orders and Amount: One (1) change order for a total amount of
    $68,760.00.

    Project Initiation Date: April 18, 2013
    Design Professional: Burris/Wagnon Architects, P.A.
    General Contractor: Coleman Hammons Construction Company, Inc.
    Project Budget: $2,804,452.00


MISSISSIPPI STATE UNIVERSITY
 5. MSU– GS 105-343 – Lee Hall Renovation

    Approval Request #1: Change Order #9

    Board staff approved Change Order #9 in the amount of $46,475.34 and eighty-three (83)
    additional days to the contract of West Brothers Construction, Inc. Approval is requested
    from the Bureau of Building, Grounds, and Real Property Management.

    Approval Status & Date: APPROVED, May 15, 2014

    Change Order Justification: Change Order #9 is necessary to extend the wood flooring
    from the Provost’s reception area down the corridor to provide a more durable floor
    surface, omit the carpet infill areas in conference rooms 1702 & 1703, install etched film
    to the all-glass entrance, add water lines to the coffee makers, add wireless panic devices
    at two locations on the fourth floor, add power to an existing irrigation controller, add a
    concrete slab in the basement mechanical room where the existing slab was missing,
    install a floor patch to smooth out the existing floor slab in the basement corridor to
    receive the new tile flooring, install a floor patch to level out the slab in the English
    department office, and add additional days for weather delays and work as indicated
    herein.

    Total Project Change Orders and Amount: Nine (9) change orders for a total amount
    of $752,381.52.

    Project Initiation Date: June 16, 2011
    Design Professional: Dale and Associates Architects, P.A.
    General Contractor: West Brothers Construction, Inc.
    Project Budget: $20,700,000.0
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6. MSU– GS 113-130 – Necropsy Renovation

   Approval Request #1: Change Order #13

   Board staff approved Change Order #13 in the amount of $10,223.06 and twenty-one
   (21) additional days to the contract of T.L. Wallace Construction, Inc. Approval is
   requested from the Bureau of Building, Grounds, and Real Property Management.

   Approval Status & Date: APPROVED, April 18, 2014

   Change Order Justification: Change Order #13 is necessary to correct CO #12, to remove
   & replace the block at the hose reel boxes, provide additional electrical work for the
   condensing units, provide & install additional sprinklers in the Necropsy room, add
   additional days for weather delays and work as indicated herein.

   Total Project Change Orders and Amount: Thirteen (13) change orders for a total amount
   of $845,857.69.

   Project Initiation Date: October 21, 2010
   Design Professional: Pryor & Morrow Architects and Engineers, P.A.
   General Contractor: T.L. Wallace Construction, Inc.
   Project Budget: $12,197,791.22


7. MSU – GS 113-130 – Necropsy Renovation (Cooling Tower)
   (Note: Although this work is part of the Necropsy Renovation project, the Cooling Tower work will be bid
   as a separate construction contract.)

   Approval Request #1: Schematic Design Documents

   Board staff approved the Schematic Design Documents as submitted by Pryor & Morrow
   Architects and Engineers, P.A. Approval is requested from the Bureau of Building,
   Grounds, and Real Property Management.

   Staff Approval Date: APPROVED, May 15, 2014

   Approval Request #2: Waiver of Design Development Phase

   Board Approval, Board staff approved the Waiver of the Design Development Phase.
   Approval is requested from the Bureau of Building, Grounds, and Real Property.

   Staff Approval Date: APPROVED, May 15, 2014
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    Project Initiation Date: November 17, 2011
    Design Professional: Pryor & Morrow Architects and Engineers, P.A.
    General Contractor: TBD
    Project Budget: $12,197,791.22


 8. MSU – GS 113-136 – Meat Science Laboratory

    Approval Request #1: Schematic Design Documents

    Board staff approved the Schematic Design Documents as submitted by Pryor & Morrow
    Architects and Engineers, P.A. Approval is requested from the Bureau of Building,
    Grounds, and Real Property Management.

    Approval Status & Date: APPROVED, May 8, 2014

    Project Initiation Date: October 17, 2013
    Design Professional: Pryor & Morrow Architects and Engineers, P.A.
    General Contractor: TBD
    Project Budget: $7,700,000.00


UNIVERSITY OF MISSISSIPPI
 9. UM– IHL 207-353 – Coulter Hall Addition and Renovation

    Approval Request #1: Change Order #2R

    Board staff approved Change Order #2R in the amount of $26,772.00 and twenty-four
    (24) additional days to the contract of Carothers Construction, Inc.

    Approval Status & Date: APPROVED, May 7, 2014

    Change Order Justification: Change Order #2R is necessary to add larger
    communications pull boxes in corridor 205, pile driving delayed two days due to exam
    week, electrical gear revisions concerning Starbucks design drawings, undercut required
    to remove poor soil where old chilled water lines were removed, added motorized damper
    at the air intake, install new EMT conduits from the basement to the roof along the
    existing chimney, and add additional days for weather delays and work as indicated
    herein.
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   Total Project Change Orders and Amount: Two (2) change orders for a total amount
   of $52,508.00.

   Project Initiation Date: February 16, 2012
   Design Professional: BarlowEddyJenkins/CDFL – A Professional Association
   General Contractor: Carothers Construction, Inc.
   Project Budget: $18,000,000.00


10. UM– IHL 207-363 – Library Cooling Tower Replacement

   Approval Request #1: Change Order #1

   In accordance with Board Policy §904 (A) Board Approval, Board staff did not approve
   Change Order #1 in the amount of $7,411.90 and zero (0) additional days to the contract
   of Shackelford Plumbing Corporation. This Change Order was executed in error by UM
   without Board Staff Approval.

   Approval Status & Date: NOT APPROVED, May 7, 2014

   Change Order Justification: Change Order #1 is necessary to lengthen the new cooling
   tower loop from 6’ to 7’, and including all associated insulated piping, to allow better
   connections from the towers to condenser water pumps.

   Approval Request #2: Change Order #2

   In accordance with Board Policy §904 (A) Board Approval, Board staff did not approve
   Change Order #2 in the amount of $1,164.96 and zero (0) additional days to the contract
   of Shackelford Plumbing Corporation. This Change Order was executed in error by UM
   without Board Staff Approval.

   Approval Status & Date: NOT APPROVED, May 7, 2014

   Change Order Justification: Change Order #2 is necessary to install conduit for data
   cables necessary for cooling tower controls.

   Total Project Change Orders and Amount: Two (2) change orders for a total amount of
   $8,576.86.
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   Project Initiation Date: October 18, 2012
   Design Professional: Cooke-Douglass-Farr-Lemons/Eley-Guild-Hardy, A Joint Venture
   General Contractor: TBD
   Project Budget: $18,000,000.00


11. UM – IHL 207-378 – New Student Housing at Northgate

   Approval Request #1: Contract Documents

   Board staff did not approve the Contract Documents as submitted by Cooke-Douglass
   Farr-Lemons/Eley-Guild-Hardy – A Joint Venture. UM did not submit this request in the
   correct approval sequence as per Board Policy.

   Approval Status & Date: NOT APPROVED, May 7, 2014

   Approval Request #2: Advertise & Receive Bids

   Board staff did not approve this request to advertise for receipt of bids. UM did not
   submit this request in the correct approval sequence as per Board Policy.


   Approval Status & Date: NOT APPROVED, May 7, 2014

   Project Initiation Date: February 20, 2014
   Design Professional: Foil Wyatt Architects and Planners
   General Contractor: TBD
   Project Budget: $20,500,000.00

   Approval Request #3 (Interim Approval): Increase in Budget

   In accordance with Board Policy §904 (B) Board Approval, Interim Chair Approval was
   granted by C.D. Smith, Chair of the Real Estate and Facilities Committee on May 13,
   2014, approving a budget increase for the Student Housing at Northgate project. The
   project budget was increased from $18,000,000.00 to $20,500,000.00 for an increase in
   the amount of $2,500,000.00.

   Budget Increase Justification: The increase in the project budget is necessary in order to
   award the construction contract to the apparent low bidder in a timely manner.
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    Interim Approval Status & Date: APPROVED, May 13, 2014

    Project Initiation Date: February 20, 2014
    Design Professional: Cooke-Douglass-Farr-Lemons/Eley-Guild-Hardy, A Joint Venture
    General Contractor: TBD
    Project Budget: $20,500,000.00


    Approval Request #4: Award of Construction Contract

    Board staff approved the award of contract to the apparent low bidder, Roy Anderson
    Corporation.

    Approval Status & Date: APPROVED, May 13, 2014

    Project Initiation Date: February 20, 2014
    Design Professional: Cooke-Douglass-Farr-Lemons/Eley-Guild-Hardy, A Joint Venture
    General Contractor: Roy Anderson Corporation
    Project Budget: $20,500,000.00


UNIVERSITY OF MISSISSIPPI MEDICAL CENTER
 12. UMMC – GS 109-195 – AED (Adult Emergency Department Renovations)

    Approval Request #1: Change Order #10

    Board staff approved Change Order #10 in the amount of $118,578.68 and forty-three
    (43) additional days to the contract of Flagstar Construction Company, Inc. Approval is
    requested from the Bureau of Building, Grounds, and Real Property Management.

    Approval Status & Date: APPROVED, May 7, 2014

    Change Order Justification: Change Order #10 is necessary to widen the roll-up door to
    the trash collection area, relocate the triage door, close existing door opening between the
    waiting room & the trash room, disconnect & remove the electrical supply to the air
    curtain, remove a fire hose cabinet, cap piping above the ceiling, close the wall opening
    near the northwest corner of the waiting room, install the CT equipment, renovate the
    existing temporary exam areas, install a new access control panel & equipment to replace
    existing panels, and add additional days for work as indicated herein.
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   Total Project Change Orders and Amount: Ten (10) change orders for a total amount of
   $1,066,354.62.

   Project Initiation Date: November 14, 2007
   Design Professional: Dale/Morris Architects, PLLC
   General Contractor: Flagstar Construction Company, Inc.
   Project Budget: $11,755,000.00


13. UMMC – IHL 209-532 – Cardiovascular Renovations

   Approval Request #1: Change Order #14R2

   Board staff approved Change Order #14R2 in the amount of $158,657.00 and zero (0)
   additional days to the contract of Fountain Construction Company, Inc.

   Approval Status & Date: APPROVED, May 14, 2014

   Change Order Justification: Change Order #14R2 is necessary for 2nd & 3rd floor changes
   and additions to infrastructure, removal of existing abandoned wires that were penetrating
   a fire rated wall and replace the holes with proper rated assemblies, additional
   infrastructure in the prep recovery area, rerouting of the conduit and terminations for the
   recording/editing functions for the labs, credit for lead glass installed in entry doors, five
   additional light fixtures, additional data cabling, installation of various medical
   equipment and associated electrical feeds, credit for two additional dampers on the 3rd
   floor, and additional wood panels required to cover the lighting installed and terminate
   the millwork.

   Total Project Change Orders and Amount: Fourteen (14) change orders for a total
   amount of $708,640.84.

   Project Initiation Date: February 16, 2012
   Design Professional: Cooke Douglass Farr Lemons Architects and Engineers, P.A
   General Contractor: Fountain Construction Company, Inc.
   Project Budget: $20,182,526.00
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1.     SYSTEM - REPORT OF PAYMENTS TO OUTSIDE COUNSEL

Legal fees approved for payment to outside counsel in relation to litigation and other
matters:

Payment of legal fees for professional services rendered by Evans Petree (statements dated
3/5/14 and 4/11/14) from the funds of the University of Mississippi. (These statements, in the
amounts of $1,162.50 and $2,286.25, respectively, represent services and expenses in
connection with legal advice relating to construction defects at the Inn at Ole Miss.)

       TOTAL DUE……………………………….…….………………$                                         3,448.75

Payment of legal fees for professional services rendered by Mayo Mallette (statement dated
5/7/14) from the funds of the University of Southern Mississippi. (This statement, in the
amount of $940.50, represents services and expenses in connection with legal advice.)

       TOTAL DUE……………………………….…….………………$                                           940.50

Legal fees approved for payment to outside counsel in relation to patent and other
matters:

Payment of legal fees for professional services rendered by Butler, Snow, O’Mara, Stevens &
Cannada (statements dated 4/9/14) from the funds of Mississippi State University. (These
statements represent services and expenses in connection with the following patents: “Water
Repellant Solids Non-Prov.” - $384.00; “Alcohol Esterification (Condensor Train)” - $533.10;
“Pelvic Floor Strength Assessment Device” - $2,114.00; “Synthesis Methods of Graphene from
Lignin” - $408.00 and “Device that Interacts with Target Applications” - $3,700.00.)

       TOTAL DUE……………………………….…….………………$                                         7,139.10

Payment of legal fees for professional services rendered by Stites & Harbison (statements dated
3/17/14, 3/17/14 and 4/18/14) from the funds of Mississippi State University. (These statements
represent services and expenses in connection with the following patents: “Nematode Resistance
Genes and Methods of Their Use” - $109.50; “Noval Catalysts and Process for Liquid
Hydrocarbon Fuel Production” - $388.50 and “Noval Catalysts and Process for Liquid
Hydrocarbon Fuel Production” - $472.50, respectively.)

       TOTAL DUE……………………………….…….………………$                                           970.50
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Payment of legal fees for professional services rendered by Valauskas Corder (statements dated
4/2/14) from the funds of Mississippi State University. (These statements represent services and
expenses in connection with the following patents: “Bio-Oil Pretreatment” - $297.50 and “Blus
Stain System” - $442.50.)

       TOTAL DUE……………………………….…….………………$                                           740.00

Payment of legal fees for professional services rendered by Armstrong Teasdale (statements
dated 4/4/14, 4/4/14, 4/4/14 and 5/12/14) from the funds of the University of Mississippi. (These
statements represent services and expenses in connection with the following patents: “Systems
and Methods for Underwater Reconnaissance” - $140.14; “New Application of Hot Melt
Extrusion Technology” - $2,144.62; “Microphone Array for Reducing the Effect of Atmospheric
Turbulence on Acoustic Measurements” - $55.58 and “Systems and Methods for Underwater
Reconnaissance” - $1,030.47, respectively.)

       TOTAL DUE……………………………….…….………………$                                         3,370.81

Payment of legal fees for professional services rendered by Butler, Snow, O’Mara, Stevens &
Cannada (statements dated 3/14/14, 3/14/14, 3/31/14, 4/10/14, /4/15/14 and 4/18/14) from the
funds of the University of Mississippi. (These statements represent services and expenses in
connection with the following patents: “Stuttering Inhibition Device” - $3,672.00; “Device for
Demonstrating Components of a Vector” - $47.50; “Animal Model of Anxiety and Depression”
- $3,815.00; “Preparation of the Pre-Coated RP-Rotors and Universal Chromatorotors,
Chromatographic Separation Devices and Methods for Centrifugal Preparative Chromatography”
- $2,500.00; “Animal Model of Anxiety and Depression” - $480.00 and “Stuttering Inhibition
Device Patent” - $744.00, respectively.)

       TOTAL DUE……………………………….…….………………$                                        11,258.50

Payment of legal fees for professional services rendered by Hershkovitz & Associates
(statements dated 4/21/14, 4/22/14, 4/23/14, 5/13/14, 5/14/14 and 5/16/14) from the funds of the
University of Mississippi. (These statements represent services and expenses in connection with
the following patents: “Novel Selective Inhibitors of Prolylcarboxypeptidase” - $350.00; “8-
Aminoquinolones” - $1,547.00; “Compositions for Prevention/Prophylactic Treatment of Poison
Ivy Dermatitis” - $724.66; “Compositions for Prevention/Prophylactic Treatment of Poison Ivy
Dermatitis” - $200.00; “Compositions for Prevention/Prophylactic Treatment of Poison Ivy
Dermatitis” - $500.00 and “Compositions for Prevention/Prophylactic Treatment of Poison Ivy
Dermatitis” - $885.00, respectively.)

       TOTAL DUE……………………………….…….………………$                                         4,206.66
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Payment of legal fees for professional services rendered by Stites & Harbison (statements dated
1/14/14, 1/14/14, 1/14/14, 1/14/14, 1/14/14, 1/14/14, 4/18/14, 4/18/14, 4/18/14, 4/18/14 and
4/18/14) from the funds of the University of Mississippi. (These statements represent services
and expenses in connection with the following patents: “Highly Purified Amphotericin-B” -
$172.00; “Highly Purified Amphotericin-B” - $101.00; “Stabilized Formulation of
Triamcinolone Acetonide” - $614.00; “Stabilized Formulation of Triamcinolone Acetonide” -
$256.00; “Methods for Detecting Humans” - $748.00; “Highly Purified Amphotericin-B” -
$85.50; “Methods for Detecting Humans” - $360.00; “Methods for Detecting Humans” -
$256.00; “Methods for Detecting Humans” - $203.98; “Highly Purified Amphotericin-B” -
$166.56 and “Gas Separating Membranes” - $92.00, respectively.)

       TOTAL DUE……………………………….…….………………$                                         3,055.04

2.     UMMC – REQUEST FOR OFFICIAL OPINION FROM THE ATTORNEY
       GENERAL

Pursuant to IHL Board Policy 1103, the IHL Board Legal Committee Chair granted permission
to request an official opinion from the Attorney General regarding the UMMC graves issues, as
reflected in the opinion request letter set out below. Board Policy 1103 requires that all such
requests approved by the Legal Committee Chair be reported to the full Board as an information
item at its next meeting.

                                       June __, 2014
                                  VIA: HAND DELIVERY

The Honorable Jim Hood
Attorney General
550 High Street
Jackson, MS 39201

       Re: Request for Official Opinion

Dear General Hood:

       As Commissioner of Higher Education, appointed pursuant to Miss. Code Ann. § 37-101-
7, and in accordance with Miss. Code Ann. § 7-5-25, I request your official opinion on the
following matters:

                                       BACKGROUND

       Recently, unmarked graves were discovered in the course of a road construction project
on the campus of the University of Mississippi Medical Center (“UMMC”). Although the
discovery of unmarked graves during the road construction project was unexpected, it is not
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unprecedented. Unmarked graves were discovered during construction projects on the UMMC
campus in the early 1970’s and 1990’s.

        The previous discoveries of unmarked graves, however, were relatively small in number
compared to recent discoveries. From November 2012 to March 2013, 66 human burials
discovered during the road construction project were excavated by archeologists from
Mississippi State University, at a cost of approximately $3,000 per burial. Since November
2012, over 1,000 unmarked graves located on undeveloped UMMC property have been
identified. The actual number of unmarked graves is likely much higher.

       The existence of a “potter’s field” or pauper’s cemetery on UMMC property has been
known for decades. In order to permit UMMC to develop the property where the cemetery is
located, on March 27, 1973, the Mississippi Legislature passed Chapter 846 of the Local and
Private Laws of the State of Mississippi, 1973 (the “1973 Act”). The 1973 Act was later
amended by Chapter 854 of the Local and Private Laws of the State of Mississippi (the “1974
Act”). Section 2 of the 1973 and 1974 Acts apply to UMMC and authorize:

       The governing authorities of the University Medical Center . . . in their discretion,
       to rearrange or disinter, remove and reinter human remains reposing in the potter's
       field on the University Medical Center property to a different location on the
       University Medical Center's potter's field when such disinterment, removal and
       reinterment is necessary for proper and efficient maintenance and management.

In the past, UMMC disinterred human remains discovered during construction projects pursuant
to its discretionary authority granted under the 1973 and 1974 Acts, and reinterred the remains in
a cemetery plot on UMMC property set aside for that purpose.

        UMMC interprets the discretionary authority granted to it under the 1974 Act to include
the authority to cremate disinterred human remains and to reinter the cremated remains in the
UMMC cemetery plot. This interpretation is supported by the fact that Section 1 of the 1974 Act
grants the same discretionary authority granted to UMMC to the board of supervisors of any
county with a population of more than two hundred thousand (200,000), and the Office of the
Attorney General previously opined that a board of supervisors has the authority to cremate the
remains of a pauper, and burial of the cremated remains constituted a decent burial under Miss.
Code Ann. § 41-39-5. See Op. Atty. Gen. No. 97-0765, Meadows, December 5, 1997.

        In contrast to the authority granted to UMMC under the 1973 and 1974 Acts, in 1970, the
Mississippi Legislature granted the Board of Trustees of the Mississippi Department of Archives
and History (“MDAH”) authority to the administer the Antiquities Law of Mississippi in
furtherance of the stated public policy of the State of Mississippi “to protect and preserve all
sites, objects, buildings, shipwrecks, and locations of historical, archaeological, or architectural
significance, including . . . archaeological sites of every character . . . within the jurisdiction of
the State of Mississippi.” Miss. Code Ann. § 39-7-3. The Antiquities Law provides that, “[a]ll
locations of archeological significance . . . as well as archeological sites of every character that
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are located in, on or under the surface of any lands belonging to the State of Mississippi or to any
county, city, or political subdivision of the state . . . are declared to be Mississippi landmarks . . .
.” Id. at § 39-7-11(1). The law further provides that Mississippi landmarks, “may not be taken,
altered, destroyed, salvaged or excavated without a permit from the board or in violation of the
terms of such permit.” Id.

         Regarding public construction, the Antiquities Law requires that the MDAH be notified
of planned public construction prior to the letting of bids, and if the MDAH determines that
“significant historic, architectural, or archaeological sites, buildings, structures, locations, or
remains will be adversely affected by the public construction or improvement . . . the proposed
public construction or improvement may not be commenced” without a permit. Id. at § 39-7-
22(1)-(2). Ultimately, the Antiquities Law grants the MDAH authority to prohibit construction,
if the MDAH Board determines that “the site possesses unusual significance, and is unique to
such a degree that the landmark is, or is likely to be, the sole representative of a type or period . .
. .” Id. at § 39-7-22(3).

        Recently, archeologists approved by the MDAH and retained by UMMC to survey the
undeveloped UMMC property concluded that the “potter’s field” located on the property was of
“archeological significance,” as defined by the Antiquities Law. In addition, the MDAH has
previously taken the position that “potter’s field” property may not be developed without a
permit issued by the MDAH Board.

       In summary, it appears that both the 1974 Act and the Antiquities Law potentially apply
to the disposition of the unmarked graves. The 1974 Act grants the governing authorities of
UMMC discretion, within the bounds of the statute, in determining when and how to disinter,
remove and reinter human remains buried in the “potter’s field” in order efficiently manage its
property. On the other hand, the Antiquities Law requires UMMC to obtain a permit from the
MDAH before altering or excavating the property, and grants authority to the MDAH to
determine how the excavation or construction must be performed, or to deny a construction
permit altogether.

                                            QUESTIONS

       The specific questions for your consideration are as follows:

 1.    Notwithstanding the authority granted to the MDAH under the Antiquities Law of
       Mississippi, does UMMC have discretionary authority under the 1974 Act to determine
       when and the manner in which human remains may be disinterred, removed and
       reinterred on UMMC property?

 2.    Assuming the answer to the previous question is yes, does the 1974 Act permit UMMC to
       cremate disinterred human remains before reinterment in the UMMC cemetery plot set
       aside for that purpose?
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       Thank you in advance for your opinion on these important matters. Rest assured that no
matter what course of action is determined to be appropriate, the remains of the individuals
buried on UMMC property will be afforded the utmost respect and dignity.

                                   Sincerely,



                                   Dr. Hank M. Bounds
                                   Commissioner of Higher Education

Enclosures

cc: James E. Keeton, M.D.
    Vice Chancellor for Health Affairs
    Dean, School of Medicine

    Jeffrey A. Walker
    General Counsel/Chief Legal Officer
    University of Mississippi Medical Center
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1. SYSTEM – COMMISSIONER’S NOTIFICATION OF APPROVAL

  The following items have been approved by the Commissioner on behalf of the Board
  and are available for inspection in the Board Office.
     a. MSU - In accordance with Board Policy 707.01 Land, Property, and Service
         Contracts, “The Commissioner is authorized and empowered to approve renewal
         of service expenditure contracts if the original contract was previously approved
         by the Board of Trustees, and the contract amount does not exceed 110% of the
         current contract.” On May 9, 2014, the Commissioner approved the request to
         renew a lease agreement with the United States of America (USA) acting by and
         through the USDA Agricultural Research Service. This agreement is for the lease
         of 1.61 acres of land at the MSU Delta Branch Experiment Station in Stoneville,
         MS. The property also serves as the site for the USDA Mechanization Unit
         building. The building is used as storage space for USDA owned mechanical
         equipment. The lease renewal will run for an additional twelve (12) month period
         and may be extended for an additional twelve (12) month period upon mutual
         agreement of the parties and subsequent approval of the Commissioner. This is
         Year 4 of a total (10) year lease term. The USA will pay MSU a nominal rent fee
         of $1 yearly. The Executive Office legal staff have reviewed and approved the
         contract documents.
     b. MSU - In accordance with Board Policy 707.01 Land, Property, and Service
         Contracts, “The Commissioner is authorized and empowered to approve renewal
         of service expenditure contracts if the original contract was previously approved
         by the Board of Trustees, and the contract amount does not exceed 110% of the
         current contract.” On May 4, 2014, the Commissioner approved the request to
         renew a lease agreement with the United States of America (USA) acting by and
         through the Agricultural Research Service. This agreement is for the lease of
         approximately 12.37 acres of land on MSU’s South Mississippi Branch
         Experiment Station, Coastal Research and Extension Center in Pearl River
         County, MS. The acreage will be used by the USA for cultivation and
         agricultural research purposes. The lease renewal will run for an additional
         twelve (12) month period may be extended for an additional twelve (12) month
         period upon ninety (90) days notice to the Lessor and subsequent approval of the
         Commissioner. This is Year 4 of a total ten (10) year lease term. In lieu of an
         annual rent payment, government personnel will maintain the leased acreage. The
         Executive Office legal staff have reviewed and approved the contract documents.
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    c. MSU – In accordance with Board Policy 707.01 Land, Property, and Service
       Contracts, “The Commissioner is authorized and empowered to approve non-oil,
       gas and mineral leases in an amount equal to or less than $100,000.” On June 2,
       2014, the Commissioner approved the request to renew a lease agreement with the
       United States of America (USA) acting by and through the USDA Agricultural
       Research Service. This agreement is for the lease of 4,164 square feet of
       greenhouse space at the MSU Delta Branch Experiment Station in Stoneville, MS.
       The space will be used by the USA for soybean breeding research in support of its
       ARS (Agricultural Research Service) mission. The lease renewal will run for an
       additional twelve (12) month period and may be extended for an additional twelve
       (12) month period upon mutual agreement of the parties and subsequent approval
       of the Commissioner. This is Year 4 of a total ten (10) year lease term. In lieu of
       a payment of rent, government personnel will provide all necessary renovations,
       repairs and upkeep of the greenhouse space. The Executive Office legal staff
       have reviewed and approved the contract documents.
    d. UM – In accordance with Board Policy 1107 Enactment of Traffic Rules and
       Regulations, “the Board hereby delegates to the Commissioner of Higher
       Education the power to approve and authorize the enactment of such university
       traffic rules and regulations, which shall include university parking and traffic
       fines and fees, on behalf of the Board.” On May 27, 2014, the Commissioner
       approved the 2014-2015 Parking and Traffic Rules and Regulations.
    e. UM – In accordance Board Policy 707.01 Land, Property, and Service Contracts,
       “The Commissioner is authorized and empowered to approve non-oil, gas and
       mineral leases in an amount equal to or less than $100,000.” On June 2, 2014, the
       Commissioner approved the request to enter into a lease agreement with Alpha
       Delta Pi International Housing, Inc. for the construction and maintenance of a
       sorority house for a new chapter of the Alpha Delta Pi Sorority on the University
       of Mississippi campus. The term shall be for a period of thirty years commencing
       on June 1, 2014 and continuing through May 31, 2044. A legal description of the
       property is on file in the Board Office. The Executive Office legal staff have
       reviewed and approved the contract documents.
    f. USM – In accordance with Board Policy 707.01 Land, Property, and Service
       Contracts, “The Commissioner is authorized and empowered to approve non-oil,
       gas and mineral leases in an amount equal to or less than $100,000.” On May 26,
       2014, the Commissioner approved the request to amend its current revenue
       generating lease agreement with SciGenesis, LLC. Under the amendment,
       SciGenesis will increase their lease space in USM’s Accelerator Building by 452
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       square feet for a total rental of 912 square feet of laboratory space. The amount
       of rent received by USM will increase by $11,250 yearly for a total annual rent
       payment of $22,800. This is a one year agreement which renews automatically
       for additional one year terms unless terminated by either party upon sixty (60)
       days written notice. The university, as Lessor, will provide utilities, janitorial
       services and routine maintenance services for the premises. The Executive Office
       legal staff have reviewed and approved the contract documents.
    g. USM - In accordance with Board Policy 707.01 Land, Property, and Service
       Contracts, “The Commissioner is authorized and empowered to approve renewal
       of service expenditure contracts if the original contract was previously approved
       by the Board of Trustees, and the contract amount does not exceed 110% of the
       current contract.” On May 28, 2014, the Commissioner approved the request
       approval to extend its services agreement with David H. Lee Enterprises, Inc.
       d/b/a ServiceMaster Cleaning Alternatives (ServiceMaster). The purpose of this
       agreement is for the continued provision of complete custodial services for the
       Union complex on the Hattiesburg campus. The original agreement approved by
       the Board in June, 2011 was for a two-year period for a cost of $550,192
       (including $100,000 contingency for possible additional services). The agreement
       also included an option to renew the contract for two (2) additional one-year
       periods. This renewal agreement will be effective for a twelve month period, July
       1, 2014 through June 30, 2015 for a total cost of $231,840 for the twelve (12)
       month period. The Executive Office legal staff have reviewed and approved the
       contract documents.
    h. USM - In accordance with Board Policy 707.01 Land, Property, and Service
       Contracts, “The Commissioner is authorized and empowered to approve non-oil,
       gas and mineral leases in an amount equal to or less than $100,000.” On May 28,
       2014, the Commissioner approved the request to enter into revenue generating
       lease agreement with Superior Peek, LLC (Superior Peek). This agreement is for
       the lease of approximately 765 square feet of office and laboratory space in
       USM’s Accelerator Building. The proposed lease space includes spaces 133 and
       134 which will be used by Superior Peek’s scientists and professional support
       personnel for the formulation and production of new polymer materials. The
       lease term will run for an initial twelve (12) month period and will automatically
       renew for up to four (4) one-year renewal periods unless terminated by either
       party not later than sixty (60) days before the end of the then current lease term.
       USM is requesting approval of the total five (5) year term. In return for the lease
       of the designated space, USM will receive a payment of $750 for an initial two-
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       week transition period plus an annual rent payment of $18,370, or, a total of
       $92,600 for the entire term. The university, as Lessor, will provide utilities,
       janitorial services and routine maintenance services for the premises. The
       Executive Office legal staff have reviewed and approved the contract documents.
    i. System - In accordance with Board Policy 613 (c) Athletics, each institution is
       required to submit a summary of their most recent annual Complimentary Athletic
       Ticket activity. Each institution is obligated to keep accurate records of
       complimentary tickets distributed by number of tickets and category of recipients
       and then shall file an annual report with the Commissioner. On May 16, the
       Commissioner approved the 2014 Complimentary Athletic Tickets Report. The
       Executive Office financial staff has reviewed and approved the institutions’
       submissions.
